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                                                                                                 Apr 11, 2019
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                               IN THE U N ITED STATES DISTRICT COU RT
                              FOR THE            DISTM CT OF
                                               ,
                                                '  DIVISION
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'
                                  thecourtinwhkh'thecomplaintishled)
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Case 0:19-cv-60953-KMM Document 1 Entered on FLSD Docket 04/11/2019 Page 2 of 347




    African Am ericans United Alliance
            Plaintif'
                    f




    M ailing Address:

    4051 NW 34TH W ay

    Lauderdale Lakes,Florida 33309



             VS.



    United States Governm ent

       Departm entofJustice
            Defendant



    M ailing Address:

    U.S.Departm ent ofJustice

    950 Pennsylvania Avenue,NW

    W ashington,DC 20530-0001
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     G reetingsyourHonor,

         Ihope thatyou are in greatharm ony as you read this Ietter,as itw as
     so em otionally overw helm ing form e to w rite.As you read this letteraIlI
     askofyou Judge isto place yourselfin ourshoesforjusta m om entto see
     justhow high thiswallisstacked up againstusandjustw hy w e want
      reparations,freedom ,and lndependence asa Nation.

     Ifyou w ere an African Am erican and this w asyoursituation w hatw ould
     you do?




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       Slavery began in 1619 and becam e legalin 1641.Slaves help
     build the econom icfoundation ofAm erica.Slavery w as abolished
     in 1865 butthe results ofslavery have been detrim ental.African
     Am ericanstoday are stillexperiencing m odern day slavery
     through system s and institutionalracism .

        African A m ericans have suffered and endured unim aginable
      hardships because ofthe United States Governm ent,a Nation that
     see us as property and not as hum an beings.

     The dam ages are asfollow s:

        Cruelty and injustice,Iynchings,terrorism ,police harassm ent,
      police brutality,racialprofiling,prison labor(forced slavery),mass
      incarceration,false im prisonm ent,racism ,extrem e discrim ination,
      oppression,posttraum atic stress sym ptom s,m entalhealth,pain
      and suffering,econom ic inequality,unpaid labor,extrem e
      poverty,redlining,suppression,excessive dam ages and being
      forcibly resettled in bondage forapproxim ately 400 years until
      present.Thiscase isaboutIong overduejustice forAfrican
      A m ericans.
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    African Am ericans United Alliance
             Plaintiff




              VS.



     United States Governm ent

       Departm ent ofJustice
             Defendant




     This case inform ation and the requestforsovereign im m unity has been
     subm itted to the United Nations and the InternationalCourtofJustice.
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     Greetings YourHonor,



     Blessingsto you,M y nam e is Shaquanna M arie Gary,ofthe
     Kingdom ofJudah.Iam ofthe Tribe ofJudah and the Tribe ofGad.
     Iam a Hebrew Israelite also know n as an African-Am erican and
     Native lndian-Am erican.M y history and experience w ith the
     United States Governm ent has not been pleasant,Asthe head of
     State of the African Am ericans U nited Alliance.lam w riting this
     Ietterto you to requestfullsovereign im m unity from the United
     States Governm ent and alILocal,State,and FederalGoverning
     Authorities.Please respond to this Ietterby June 1,2019.Your
     assistance is greatly appreciated.



     Thank you.



     African Am ericans United Alliance

     President,

      Shaquanna M arie Gary
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     G reetingsYourHonor,



     Blessingsto you,M y nam e is Shaquanna M arie Gary,ofthe
     Kingdom ofJudah.Iam ofthe Tribe ofJudah and the Tribe ofGad.
     Iam a Hebrew Israelite also know n as an African-Am erican and
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     United States Governm enthas not been pleasant.As the head of
     State of the African Am ericans United Alliance.Iam w riting this
     Ietterto you to requestfullsovereign im m unity from the United
     States Governm entand alILocal,State,and FederalGoverning
     Authorities.Please respond to this Ietter by June 1,2019.Your
     assistance is greatly appreciated.



     Thank you.



     African Am ericans United Alliance

     President,

     Shaquanna M arie Gary




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                              KINGDO M O F JUDAH
                                 DECLA RATIO N
                                     OF
                                IN DEPEN DENCE



       The Kingdom OfJudah is a Sovereign State and a Theocracy
      subjectto GOD,Queen Shaquanna M arie Gary isthe Head ofState
      and the highest authority ofThe Kingdom OfJudah.

       1,Q ueen Shaquanna M arie Gary,ofthe Tribe ofJudah ofthe
      Nation ofIsraeland the Kingdom OfJudah hereby declare,
      Hebrew lsraelites(A.K.A African Americans)oftheTribe ofJudah
      ofthe Nation ofIsraeland The Kingdom ofJudah a Nation
      independentofthe U.S.Governm ent.

       Hebrew Israelites(A.K.A)AfricanAm ericanswillno Iongerbe
     subjectto the U.s'Government.Hebrew Israeliteswillno longer
     pay taxesto the U.S Governm ent.Hebrew Israelites w illpay taxes
     to theirGoverning AuthoritiesThe Kingdom OfJudah Treasury.AII
     Hebrew israelitesare granted fullim m unity from the U .S
     Governm entand willbe subjectto ourGoverning Authorities.
      As a Nation w e w illdo Business as a Nation Produce,Invest,and
     Trade as a Nation.W e w illreside on U.S Territory.AIIIand and
     territoriesthat belong to usw illbe know n as Kingdom OfJudah
     Territories.
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                 Separation of Church and State
      ''Separation ofchurch and state''is a phrase used by Thom as
      Jefferson and others expressing an understanding ofthe intent
      and function ofthe Establishm entClause and Free Exercise Clause
      ofthe First Am endm entto the Constitution ofthe United States
      w hich reads:''Congress shallm ake no Iaw respecting an
      establishm ent ofreligion,orprohibiting the free exercise
      thereof...''

      The intentofthis clause w asto Iim itthe pow erofthe Federal
      Governm ent in regard to religion thus ensuring freedom of
      religion in the U nited States ofAm erica.

      The phrase ''separation ofchurch and state''isgenerally traced to
      a January 1,1802 Ietterby Thom asJefferson,addressed to the
      Danbury BaptistAssociation in Connecticut,and published in a
      M assachusetts new spaper.Jefferson w rote,

      ''    ''lcontem plate w ith sovereign reverence that actofthe
      w hole Am erican people w hich declared thattheirIegislature
      should 'm ake no Iaw respecting an establishm entof religion,or
      prohibiting the free exercise thereot'thus building a wallof
      separation betw een Church & State.

      The firstam endm entto the US Constitution states ''Congress shall
      m ake no Iaw respecting an establishm entofreligion,or
      prohibiting the free exercise thereof''The tw o parts,know n asthe
      ''establishm ent clause''and the ''free exercise clause''respectively,
     form the textualbasis forthe Suprem e Court's interpretations of
     the ''separation ofchurch and state''doctrine.Three central
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      concepts w ere derived from the 1stAm endm entw hich becam e
      Am erica's doctrine forchurch-state separation:no coercion in
      religious m atters,no expectation to support a religion against
      one's w ill,and religious liberty encom passes aIIreligions.In sum ,
      citizensare free to embrace orrejecta faith,any supportfor
      religion -financialor physical- m ust be voluntary,and aIIreligions
      are equalin the eyes ofthe Iaw w ith no specialpreference or
      favoritism .

      An August 15,1789 entry in M adison's papers indicates he
      intended forthe establishm ent clause to preventthe governm ent
      im position of religious beliefs on individuals.The entry says:''M r.


      M adison said he apprehended the m eaning ofthe w ordsto be,
      that Congress should not establish a religion,and enforce the Iegal
      observation ofit by Iaw ,norcom pelm en to w orship God in any
      m annercontrary to theirconscience.

      The First Congress'deliberations show that its understanding of
      the separation ofchurch and state differed sharply from thatof
      theircontem poraries in Europe.

      The Am erican separation ofchurch and state rests upon respect
      forthechurch;the IEuropeananticlerical)separation,on
      indifference and hatred ofthe church,and ofreligion itself The
                                                                   ....


      constitution did notcreate a nation,norits religion and
      institutions.ltfound them already existing,and w as fram ed for
      the purpose of protecting them undera republican form of
      governm ent,in a rule ofthe people,by the people,and forthe
      people.
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      The rightto choosea religion (orno religion)withoutinterference
      by the governm ent.Freedom ofreligion isguaranteed by the First
      Am endm entto the Constitution

      The principle thatgovernm entm ust m aintain an attitude of
      neutrality tow ard religion.M any view separation ofchurch and
      state as required by the FirstA m endm ent.The FirstAm endm ent
      not only allow s citizensthe freedom to practice any religion of
      theirchoice,but also prevents the governm entfrom officially
      recognizing orfavoring any religion.
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                      PE TITIO N TO TH E SUPR EM E C O UR TS
          THE DE CLARATION OF INDEPEN DEN CE IN CON GR ESS JULY 4, l776

                                     THE P#FWAO IF
      Sometimesinhistorypeoplehavetofreethemselvesfrom controlby otherpeople.They
      havetomaketheirplacewith thenationsoftheworl4 IN KEEPING WITH THE LAWS
      OF GOD AND THE LA WS OF NAFJ#E Whenpeopledo thisitisonly rightthatthey
                                              .


      give their reasons.

                            A STA TEM EN T OF OF SJCW FUV
      Izrzr
          c believethesetruths..Peoplearecreated equal. GOD GIVESPEOPLE CERTAIN
      W GSFS FSWFCANNOTBE TAKEN AWAY Among thesearetherighttolfe,theright
      to liberty and the rightto /ry to be happy.
      Governmentshouldhelppeoplekeep theserights. Governmentsgettheirpowerkom the
      people they govern. I
                          zIzr
                             /lca governm entdoes notprotectpeople'
                                                                  s rights, thepeople m ust
      changethegovernmentorgetridofit.They thenmuststartapcw governmentbasedon
      theserights.Itisonly wisethata change in governmentnotbemadelightly. ltis such a
      seriousmatterthatmostpeoplewouldratherlxf/c
                                                'rthanchangegovernments.
      HOWEVER WHEN PEOPLES W G//FS ARE TAKEN A Ir'W F O VER AND O VER AGAIN.
      ITIS THEIR RIGHTAND DLC/Y FO GETRID OF THE OLD GO VEIW M ENTAND
      STARTA NEW ONE IN SUPPORT OF THIS DECLAM TION . WITH GOD N
      PROTECTION.WE PLEDGE TO EACH OTHER O UR LIVES. O UR WEALTH .AND
      OUR HONOR.

                        CHANGING THE CONSTITUTION
      1hencw constitution included a wly to make changes, calledAmendments.lfthingsdid
      notwork0//,orftheunitedstatesgrew orchangeJ THE CONSTITUTION COULD BE
      AM ENDED WITH OUTBEING ENTIRELYCHANGED . THIS WAS TO PROVE
      HELPFUL VERYSOON (TODAY)
                                    BILL OF SJGS FS
      Oncetheacw governmentwJxstartedM adison wrotemany amendmentsthatwould
      makerightslikeFREEDOM OF THE ##F,S,% SPEECH . AND W OR SH IP PART OF THE
      CONSTITUTION

                                     ##1WA/#fE
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                      REASONS FOR CONSTITUTION
       lhepeopleofthe UnitedStatesmadethisconstitutionandputitintopracticeforthe
      followingreasons
            Tohaveabettergovernmentthan underthearticlesofconfederation
            Togiveeveryonefairtreatment
         3. To keep peacewithin the country

            Tode# ndthecountryfkom enemies
         5. To Iiveconfortablyandwell
            Tokeeppeopleh'eenow and inthefuture
                                 lstAM EN D M EN T
      CONGRESS MWFNOFM WA'F RULES TO CHANGE FREED OM OF RELIGION .
      FREEDOM OF SPEECH,FREEDOM OF THE PSFSS. OR THE W GS T OF PEOPLE
      TO COA?F TOGETHER 1N A PEACEFUL ITQ F OR TO SEND PETITIONS TO THEIR
      GOPWIW M FXTLFO FOLLOW THE LAWS THAT THIS NATION WJWX FOUNDED
      LW CW FSf M M OFGOD.
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      African Am ericans United Alliance
               Plaintiff

                VS.

      United States Governm ent

        Departm ent ofJustice
              Defendant



          Quote:''No Iegacv isasrich ashonestv''Bv W illiam Shakesphere.

            Today we m ustbe honestand face thetruth ofthe historyand the
      horrors ofthe United States ofAm erica.A nation stolen and builtby the
      blood,sw eat and tearsofhum an beings,hum an beingsreferred to as
      slaves.

           These hum an beingstoday are know n asAfrican Am ericans.A people
      thatw ere treated Iike property and stillto this day as a com m odity by a
      governm entthey w illneverbe accepted by as hum an beings.

             The truth ishum an beings neverneed acceptance from other
      hum ans to be hum an as itis a God given right,assure asa m an is born it is
      his rightto Iive in liberty,a rightthathas forcenturies been stripped aw ay
      from these hum an beings.Hum an beingsthatdeserve the rightto be
      hum an w ithoutanyone's perm ission.

      Itisan evilfora m anto rule overanotherm an unjustly.
      Is itrightfora Chinese m an to representa M exican m an?
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       Is it rightforan African m an to representa European m an?

       No.

      W hy then are the African Am ericans represented by Europeans?

      This is an evilthat m ust be undone.

            These human beingsknow n asAfrican Am ericansare in facthum an
       beings.A people,a nation,a culturethatdoesnotneed,a people,a nation,
      a culture that hatesthem ,do not understand them ,and cannotrelate to
      them in any form to representthem .

      Today isa new day and itistim e forjustice,itistim e forAfrican Americans
      to com e outfrom underthisgovernm entand representthem selvesas a
      nation.It is tim e forAfrican Am ericans to take theirrightfulplace as a
       nation.




                                             2
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     African Am ericans United Alliance
             Plaintiff




               VS.



     United States Governm ent

        Departm entofJustice
             Defendant




     The follow ing inform ation are excerpts from the H.R.40 BILLcom pleted by
     Shaquanna M arie Gary.




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     Reparations ForSlaverv Case Exibits




     Exibit 1.Slavery in the United States



     Exibit II.Lynchings



     Exibit 111.M assIncarceration


     Exibit IV.Econom ic lnequality



     EgibitV.Redlining



     ExibitVI.The History ofAfrican-Am ericans


     ExibitVII.CivilRightsM ovement
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     ExibitVlII.Police Brutality



     Exibit IX.RacialDiscrim ination



     ExibitX.Cruelty and lnjustice


     ExibitXI.ReparationsforSlavery



     ExibiyXII. H.R.40 BillSum m ary




                                        2
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     Exibit 1.




                 Slpvery in the U nited Syates

    Slavery in the United Statesw as the Iegalinstitution ofhum an chattel
    enslavem ent,prim arily ofAfricans and African Am ericans, thatexisted in
    the United StatesofAm erica in the 18th and 19th centuries. Slavery had
    been practiced in British Am erica from early colonialdays, and w as Iegalin
    aIlThirteen Colonies atthe tim e ofthe Declaration ofIndependence in
    1776.ltlasted in abouthalfthe statesuntil1865,w hen itw asprohibited
    nationally by the ThirteenthAmendment.Asan econom icsystem , slavery
    w as Iargely replaced by sharecropping.



    BythetimeoftheAmerican Revolution (1775-1783),thestatusofslaves
    had been institutionalized asa racialcaste associated w ith African ancestw .
    W hen the United StatesConstitution w as ratified in 1789, a relatively sm all
    num beroffreepeopleofcolorwereamongthevotingcitizens(m ale
    propertyowners).During and immediatelyfollowingthe Revolutionary
    W ar,abolitionistIaw sw ere passed in m ost Northern states and a
    m ovem entdeveloped to abolish slavery.Northern states depended on free
    Iaborand aIIhad abolished slavew by 1805. The rapid expansion ofthe
    cotton industry in the Deep South afterthe invention ofthe cotton gin
    greatly increased dem and forslave Iaborto pickcotton w hen itaIIripened
    atonce,and the Southern states continued as slave societies. Those states
    attem pted to extend slavery into the new W estern territoriesto keep their
                                          1
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     share ofpoliticalpow erin the nation.Southern Ieadersalso w anted to
     annex Cuba as a slave territow .The United States becam e polarized over
     the issue ofslavery,splitinto slave and free states, in effectdivided bythe
     Mason-Dixon Iine whichdelineated (free)Pennsylvaniafrom (slave)
     M aryland and Delaw are.



     During the Jefferson adm inistration,Congressprohibited the im portation of
     slaves,effective1808,although sm uggling (illegalimporting)viaSpanish
     Florida w as not unusual.Dom estic slave trading, how ever,continued at a
     rapid pace,driven by Iabordem andsfrom the developm entofcotton
     plantations in the Deep South.M ore than one m illion slavesw ere sold from
     the UpperSouth,w hich had a surplus ofIabor, and taken to the Deep South
     in a forced m igration,splitting up m any fam ilies.New com m unitiesof
     African-Am erican culture w ere developed in the Deep South, and the total
     slave population in the South eventually reached 4 m illion before
     Iiberation.



     As the W estw asdeveloped forsettlem ent,the Southern state
     governm entsw anted to keep a balance betw een the num berofslave and
     free statesto m aintain a politicalbalance ofpow erin Congress. The new
     territoriesacquired from Britain,France,and M exico were the subjectof
     m ajorpoliticalcom prom ises.By 1850,the new ly rich cotton-grow ing South
     w as threatening to secede from the Union,and tensions continued to rise.
     M any w hite Southern Christians,including church m inisters,attem pted to
     justify theirsupportforslavery asm odified by Christian paternalism .The
     Iargest denom inations- the Baptist,M ethodist, and Presbyterian
     churches- splitoverthe slavery issue into regionalorganizations ofthe
     North and South.W hen Abraham Lincoln w on the 1860 election on a
     platform ofhalting the expansion ofslavery, seven states broke aw ay to
     form the Confederacy.The firstsix statesto secede held the greatest
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     num berofslavesin the South.Shortly after,the CivilW arbegan w hen
     Confederate forces attacked the US Arm y's FortSum ter.Fouradditional
     slave statesthen seceded.Due to Union m easures such asthe Confiscation
     Acts and Em ancipation Proclam ation in 1863,the w areffectively ended
     slavery,even before ratification ofthe Thirteenth Am endm entin Decem ber
     1865 form ally ended the Iegalinstitution throughoutthe United States.

     In the early yearsofthe Chesapeake Bay settlem ents,colonialofficials
     found itdifficultto attractand retain Iaborers underthe harsh frontier
     conditions,and there w asa high m ortality rate.M ost Iaborers cam e from
     Britain asindentured Iaborers,signing contractsofindenture to payw ith
     w ork fortheirpassage,theirupkeep and training,usually on a farm .The
     colonies had agriculturaleconom ies.These indentured Iaborers w ere often
     young people w ho intended to becom e perm anentresidents.In som e
     cases,convicted crim inalsw ere transported to the colonies as indentured
     laborers,ratherthan being im prisoned.The indentured laborers w ere not
     slaves,butw ere required to w ork forfourto seven years in Virginia to pay
     the costoftheirpassage and m aintenance.M any Germ ans,Scots-lrish,and
     Irish cam e to the colonies in the 18th century,settling in the backcountry of
     Pennsylvania and furthersouth.

     Destinationofenslaved Africans(1519-1867)(Destination           Percentage

     British m ainland North Am erica        3.7%

     British Leew ard Islands 3.2%

     BritishW indward Islandsand Trinidad (British 1797-1867)        3.896

     Jamaica(Spanish1519-1655,British 1655-1867) 11,2%
     Barbados(British)5.1%
     TheGuianas(British,Dutch,French) 4.2%
     French W indw ard Islands       3.196
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     Saint-Domingue (French)        8.2%
     Spanish m ainland North and South Am erica 4.4%

     Spanish Caribbean islands      8.29$

     Dutch Caribbean islands 1.3%

     NortheastBrazil(Portuguese) 9.3%
     Bahia,Brazil(Portuguese)       10.7%

     SoutheastBrazil(Portuguese) 21.1%
     Elsew here in the Am ericas    1.1%

     Africa      1.4%



     The first 19 orso Africansto reach the English colonies arrived in
     Jamestown,Virginia in 1619,broughtby Dutch tradersw ho had seized
     them from a captured Spanish slave ship.The Spanish usually baptized
     slaves in Africa before em barking them .As English custom then considered
     baptized Christiansexem ptfrom slavery,colonists treated these Africans as
     indentured servants,and theyjoined about1,000 English indentured
     servantsalready in the colony.The Africanswere freed aftera prescribed
     period and giventhe use ofland and suppliesbytheirform erm asters.The
     historian Ira Berlin noted thatw hat he called the ''chartergeneration''in
     thecolonieswassometimesmade up ofmixed-race men (AtlanticCreoles)
     w ho were indentured servants,and w hose ancestry wasAfrican and
     Iberian.They w ere descendants ofAfrican w om en and Portuguese or
     Spanish m en w ho w orked in African portsastraders orfacilitators in the
     slave trade.Forexam ple,Anthony Johnson arrived in Virginia in 1621 from
     Angola asan indentured servant;he becam e free and a property ow ner,
     eventually buying and owning slaveshim self.The transform ation ofthe
     socialstatusofAfricans,from indentured servitude to slaves in a racial
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     caste w hich they could notIeave orescape,happened gradually.



     There w ere no Iaw s regarding slavery early in Virginia's history.But,in
     1640,a Virginia courtsentenced John Punch,an African,to slavery afterhe
     attem pted to flee his service.The tw o w hitesw ith w hom he fled w ere
     sentenced only to an additionalyearoftheirindenture,and three years'
     service to the colony.This m arked the first Iegalsanctioning ofslavery in
     the English coloniesand w as one ofthe first legaldistinctions m ade
     betw een Europeansand Africans.

     Slavesprocessing tobacco in l7th-century Virginia

     Slaves shipped to those regionsthat are partofthe present-day United
     States Date Slaves

     1620-1650 824

     1651-1675 0

     1676-1700 3,327

     1701-1725 3,277

     1726-1750 34,004

     1751-1775 84,580

     1776-1800 67,443

     1801-1825 109,545

     1826-1850 1,850

     1851-1866 476

     Total 305,326
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     In 1641,M assachusetts becam e the firstcolony to authorize slavery
     through enacted Iaw .M assachusettspassed the Body ofLiberties, w hich
     prohibited slavery in m any instances, but did allow forthree legalbases of
     slavery.Slavescould be held ifthey were captivesofwar, ifthey sold
     them selves into slavery orw ere purchased from elsew here, orifthey w ere
     sentenced to slavery as punishm ent by the governing authority. The Body
     ofLibertiesused the word ''strangers''to referto people boughtand sold as
     slaves;they were generally notEnglish subjects.Colonistscame to equate
     thisterm w ith Native Am ericansand Africans.



      In 1654,John Casor,a black indentured servant in colonialVirginia, w asthe
     first m an to be declared a slave in a civilcase. He had claim ed to an officer
     that his m aster,Anthony Johnson,him selfa free black, had held him past
     hisindenture term .A neighbor,RobertParkertold Johnsonthatifhe did
     notrelease Casor,Parkerw ould testify in courtto thisfact. Underlocal
     Iaw s,Johnson w as atrisk forlosing som e of his headright Iandsforviolating
     the term s ofindenture.Underduress,Johnson freed Casor. Casorentered
     into a seven years'indenture w ith Parker.Feeling cheated, Johnson sued
     Parkerto repossess Casor.A Northam pton County, Virginia courtruled for
     Johnson,declaring thatParkerillegally w as detaining Casorfrom his rightful
     m asterw ho Iegally held him ''forthe duration ofhis Iife''.



     During the colonialperiod,thestatusofslavesw asaffected by
     interpretationsrelated to the statusofforeignersin England England had
                                                                  .


     no system ofnaturalizing im m igrants to its island oritscolonies. Since
     personsofAfrican originswere notEnglish subjectsby birth,they w ere
    am ong those peoplesconsidered foreigners and generally outside English
    com m on Iaw .The coloniesstruggled with how to classify people bornto

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     foreignersand subjects.In 1656Virginia,Elizabeth Key Grinstead,a mixed-
     race w om an,successfully gained herfreedom and thatofherson in a
     challenge to herstatus by m aking hercase as the baptized Christian
     daughterofthe free EnglishmanThom asKey.Herattorney wasan English
     subject,which mayhavehelped hercase.(Hewasalso thefatherofher
     mixed-raceson,andthecouple marriedafterKeywasfreed.)


     Slaveson a South Carolina plantation (The OId Plantation.c.
     1790)


     Shortly afterthe Elizabeth Key trialand sim ilarchallenges,in 1662 the
     Virginia royalcolony approved a Iaw adopting the principle ofpartus
     sequiturventrem (called partus,forshort),statingthatanychildren born in
     the colony w ould take the status ofthe m other.A child ofan enslaved
     m otherw ould be born into slavery,regardless ifthe fatherw ere a freeborn
     Englishm an orChristian.Thisw as a reversalofcom m on Iaw practice in
     England,which ruledthatchildren ofEnglishsubjectstookthe statusofthe
     father.The change institutionalized the skew ed pow er relationships
     betw een slaveow nersand slave w om en,freed the w hite m en from the
     legalresponsibility to acknow ledge orfinancially supporttheirm ixed-race
     children,and som ew hatconfined the open scandalofm ixed-race children
     and m iscegenation to w ithin the slave quarters.



     The Virginia Slave codes of1705 furtherdefined as slaves those people
     im ported from nationsthatw ere notChristian.Native Am ericans w ho w ere
     soldto colonistsbyotherNative Americans(from rivaltribes),orcaptured
     by Europeansduring village raids,were also defined asslaves.Thiscodified
     the earlierprinciple ofnon-christian foreignerenslavem ent.
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     Ledgerofsale of118 slaves,Charlestop,South Carolina, c.$754


     ln 1735,the GeorgiaTrusteesenacted a law to prohibitslavery in the new
     colony,which had been established in 1733 to enable the ''worthy poor''as
     w ellas persecuted European Protestantsto have a new start. Slavery w as
     then legalin the othertw elve English colonies Neighboring South Carolina
                                                   .


     had an economy based on the use ofenslaved Iabor. The Georgia Trustees
     w anted to elim inate the risk ofslave rebellionsand m ake Georgia better
     able to defend againstattacksfrom the Spanish to the south, w ho offered
     freedom to escaped slaves.Jam es Edw ard Oglethorpe w asthe driving force
     behind the colony,and the only trustee to reside in Georgia. He opposed
     slavery on m oralgrounds asw ellasforpragm atic reasons, and vigorously
     defended the ban on slavery againstfierce opposition from Carolina slave
     m erchants and land speculators.



     The Protestant Scottish highlanders w ho settled w hatis now Darien,
     Georgia added a m oralanti-slavery argum ent,w hich becam e increasingly
     rare in the South,in their1739 ''Petition ofthe InhabitantsofNew
     Inverness''.By 1750 Georgia authorized slavery in the state because they
     had been unable to secure enough indentured servants as Iaborers. As
     econom ic conditions in England began to im prove in the first halfofthe
     18th century,w orkershad no reason to leave,especially to face the risks in
     the colonies.



     During m ostofthe British colonialperiod,slavery existed in aIIthe colonies.
     People enslaved in the North typically w orked as house servants, artisans,
     Iaborersand craftsmen,w ith the greaternum berin cities. M any m en
     w orked on the docks and in shipping.In 1703,m ore than 42 percentof
     New YorkCity householdsheld slaves,the second-highestproportion of
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     any city in the coloniesafterCharleston,South Carolina.But slaves w ere
     also used as agriculturalw orkers in farm com m unities,including in areasof
     upstate New York and Long Island,Connecticut,and New Jersey.



     The South developed an agriculturaleconom y dependenton com m odity
     crops.Itsplantersrapidly acquired a significantly highernum berand
     proportion ofslaves in the population overall,as its com m odity cropsw ere
     Iabor-intensive.Early on,enslaved people in the South w orked prim arily in
     agriculture,on farm s and plantations grow ing indigo,rice,and tobacco;
     cotton did notbecom e a m ajorcrop untilafterthe Am erican Revolution
     and afterthe 1790s.Beforethen long-staple cotton wascultivated prim arily
     on the Sea Islands ofGeorgia and South Carolina.



     The invention ofthe cotton gin in 1793 enabled the cultivation ofshort-
     staple cotton in a w ide variety ofm ainland areas,Ieading in the 19th
     century to the developm entofIarge areas ofthe Deep South as cotton
     country.Tobacco wasvery Iabor-intensive,aswasrice cultivation.ln South
     Carolina in 1720,about65% ofthe population consisted ofenslaved
     people.Planters(defined byhistoriansintheUpperSouthasthosewho
     held 20enslavedpeopleorm ore)used enslaved workerstocultivate
     com m odity crops.They also w orked in the artisanaltrades on Iarge
     plantations and in m any southern port cities.Backw oods subsistence
     farm ers,the laterw ave ofsettlers in the 18th century w ho settled along the
     Appalachian M ountainsand backcountry,seldom held enslaved people.



     Som e ofthe British colonies attem pted to abolish the internationalslave
     trade,fearing thatthe im portation ofnew Africanswould be disruptive.
     Virginia billsto thateffectw ere vetoed by the British Privy Council.Rhode
     lsland forbade the im portofenslaved people in 1774.AIlofthe colonies
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     exceptGeorgia had banned orlim ited the African slave trade by 1786;
     Georgia did so in 1798.Som e ofthese Iaw s w ere Iaterrepealed.




     Few erthan 350,000 enslaved people w ere im ported into the Thirteen
     Colonies and the U.S,constituting lessthan 5% ofthe tw elve m illion
     enslaved people broughtfrom Africa to the Am ericas. The greatmajority of
     enslaved Africanswere transported to sugarcoloniesin the Caribbean and
     to Brazil.AsIife expectancy wasshort,theirnum bershad to be continually
     replenished.Life expectancy w as m uch higherin the U .S.,and the enslaved
     population w as successfulin reproduction.The num berofenslaved people
     in the US grew rapidly,reaching 4 m illion by the 1860 Census. From 1770
     until1860,the rate ofnaturalgrow th of North Am erican enslaved people
     w as m uch greaterthan forthe population ofany nation in Europe, and it
     w as nearly tw ice as rapid asthatofEngland.

     Louisiana



     Louisiana w asfounded as a French colony.Colonialofficials in 1724
     im plem ented LouisXIV ofFrance's Code Noir,w hich regulated the slave
     trade and the institution ofslavery in New France and French Caribbean
     colonies.This resulted in a different pattern ofslavery in Louisiana,
     purchased in 1803,com pared to the restofthe United States. As w ritten,
     the Code Noirgave som e rightsto slaves, including the rightto m arry.
     Although itauthorized and codified cruelcorporalpunishm ent against
     slavesundercertain conditions,itforbade slave ownersto torture them or
     toseparate marriedcouples(orto separateyoungchildrenfrom their
     mothers).ltalso requiredtheownersto instructslavesinthe Catholicfaith.


     Togetherw ith a m ore perm eable historic French system thatallow ed

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     certain rightsto gensdecouleurIibres(freepeopleofcolor),oftenbornto
     w hite fathers and theirm ixed-race concubines,a farhigherpercentage of
     AfricanAmericansin Louisianawerefree asofthe 1830census(13.2% in
     Louisiana com pared to 0.8% in M ississippi,w hose population w as
     dom inated by w hite Anglo-Am ericans.M ostof Louisiana's ''third class''of
     free people ofcolor,situated betw een the native-born French and m assof
     African slaves,Iived in New Orleans).The Louisianafree people ofcolor
     w ere often Iiterate,had gained education,and a significant num berow ned
     businesses,properties,and even slaves.The Code Noirforbade interracial
     m arriages.How ever,interracialunionsw ere w idespread underthe system
     knownasplaçage.The mixed-race offspring(creolesofcolor)from such
     unionsw ere am ong those in the interm ediate socialcaste offree people of
     color.The English colonies insisted on a binary system ,in w hich m ulatto
     and blackslavesw ere treated equally underthe Iaw,and discrim inated
     against equally iffree.But m any free people ofAfrican descentw ere m ixed
     r3Ce.




     W hen the UStook overLouisiana,Am ericansfrom the ProtestantSouth
     entered the territow and began to im pose theirnorm s.They officially
     discouraged interracialrelationships(althoughwhite mencontinuedto
     haveunionswith blackwomen,bothenslaved andfree.)The
     Am ericanization of Louisiana gradually resulted in a binary system of race,
     causing free people ofcolorto lose status asthey w ere grouped w ith the
     slaves.They lost certain rights asthey becam e classified by Am erican
     w hites as officially ''black''.



     W hile a sm allernum berofAfrican slavesw ere keptand sold in England,
     slavery in GreatBritain had notbeen authorized by statutethere.In 1772, it
     w as m ade unenforceable atcom m on Iaw in England and W ales by a Iegal
     decision.The Iarge British role in the internationalslave trade continued
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     until1807.Slavery flourished in m ostof Britain's colonies, w ith m any
     w ealthy slave ownersliving in England and holding considerable power.



     ln early 1775 Lord Dunm ore,royalgovernorofVirginia, w rote to Lord
     Dartm outh ofhis intentto free slaves ow ned by Patriots in case of
     rebellion.On Novem ber7,1775,Lord Dunmore issued Lord Dunmore's
     Proclam ation w hich declared m artiallaw and prom ised freedom forany
     slavesofAm erican patriotswho would Ieave theirm astersandjoin the
     royalforces.Slaves ow ned by Loyalist m asters,how ever, w ere unaffected
     by Dunm ore's Proclam ation.About 1500 slaves ow ned by Patriots escaped
     and joined Dunm ore'sforces.M ostdied ofdisease beforetheycould do
     any fighting.Three hundred ofthese freed slavesm ade itto freedom in
     Britain.



     M any slavesused the very disruption ofw arto escapetheirplantationsand
     fade into citiesorw oods.Forinstance, in South Carolina,nearly 25,000
     slaves(30% ofthetotalenslaved population)fled,migrated,ordied during
     the w ar.Throughoutthe South,Iossesofslaves w ere high, w ith m any due
     to escapes.Slaves also escaped throughout New England and the m id-
     Atlantic,joining the British who had occupied New York.


     In the closing m onths ofthe w ar,the British evacuated 20,000 freedm en
     from m ajorcoastalcities,transporting morethan 3,000 forresettlem entin
     Nova Scotia,where they were registered asBlackLoyalistsand eventually
     granted Iand.They transported others to the Caribbean islands, and som e
     to England.



     Atthe sam e tim e,the British w ere transporting Loyalists and theirslaves,
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     prim arily to the Caribbean,but som e to Nova Scotia.Forexam ple,over
     5,000 enslaved Africansow ned by Loyalistsw ere transported in 1782 w ith
     theirownersfrom SavannahtoJamaica andSt.Augustine,Florida(then
     controlled by Britain).Similarly,overhalfoftheblackpeople evacuated in
     1782 from Charleston by the British to the W est Indies and Florida w ere
     slaves ow ned by w hite Loyalists.



     Slaves and free blacksalso foughton the side ofrebels during the
     Revolutionary W ar.W ashington authorized slavesto be freed w ho fought
     w ith the Am erican ContinentalArm y.Rhode Island started enlisting slaves
     in 1778,and prom ised com pensation to ow ners w hose slaves enlisted and
     survived to gain freedom .During the course ofthe w ar,aboutone fifth of
     the northern arm y w as black.In 1781,Baron Closen,a Germ an officerin
     the French RoyalDeux-ponts Regim entatthe Battle ofYorktow n,
     estim ated the Am erican arm y to be aboutone-quarterblack.These m en
     included both form erslaves and free blacks.



     In the 18th century,Britain becam e the w orld's Iargest slave trader.Starting
     in 1777,the Patriotsoutlaw ed the im portation ofslaves state by state.They
     aIIacted to end the internationaltrade butitw as Iaterreopened in South
     Carolina and Georgia.ln 1807 Congressacted on PresidentJefferson's
     advice and m ade im porting slavesfrom abroad a federalcrim e,asthe
     Constitution perm itted,starting January 1,1808.



     Constitution ofthe U nited States


     The Constitution ofthe United Statestook effect in 1789 and included
     severalprovisions regarding slavery.Section 9 ofArticle Iforbade the
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     Federalgovernm entfrom preventing statesfrom im porting slaves before
     January 1,1808.As a protection forslavery,the delegates approved Section
     2 ofArticle IV,w hich prohibited statesfrom freeing slavesw ho fled to them
     from anotherstate,and required the return ofchattelproperty to ow ners.



     ln a section negotiated by Jam esM adison ofVirginia,Section 2 ofArticle l
     designated ''otherpersons''(slaves)to beaddedtothetotalofthestate's
     free population,atthe rate ofthree-fifths oftheirtotalnum ber, to
     establish the state'sofficialpopulation forthe purposes ofapportionm ent
     ofCongressionalrepresentation and federaltaxation.The protections
     afforded slavery in the Constitution disproportionately strengthened the
     politicalpowerofSouthern representatives,asthree-fifthsofthe(non-
     voting)slavepopulationwascountedforCongressionalapportionment.


     In addition,m any partsofthe country w ere tied to the Southern econom y.
     Asthe historian Jam esOliverHorton noted,prom inentslaveholder
     politiciansand the com m odity cropsofthe South had astrong influence on
     United States politics and econom y.



     Horton said,in the 72 years betw een the election ofGeorge W ashington
     and the election ofAbraham Lincoln,50 ofthose years had a slaveholderas
     presidentofthe United States,and,forthatw hole period oftim e,there
     w as nevera person elected to a second term w ho w as nota slaveholder.



     Thisincreased the pow erofsouthern states in Congressfordecades,
     affecting nationalpolicies and Iegislation.The planterelite dom inated the
     southern Congressionaldelegationsand the United Statespresidency for


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      nearly 50 years.

      1790 to 1860



     Slave trade


     The U.S.Constitution barred the federalgovernm entfrom prohibiting the
     im portation ofslavesfor20 years.Variousstates passed different
     restrictions on the internationalslave trade during that period;by 1808,the
     only state stillallow ing the im portation ofAfrican slavesw as South
     Carolina.After 1808,Iegalim portation ofslavesceased,although there w as
     sm uggling via Iaw less Spanish Florida and the disputed GulfCoastto the
     w est.This route aIIbutended afterFlorida becam e a U.S.territory in 1821.



     The replacem entforthe im portation ofslavesfrom abroad w as increased
     dom estic production.Virginia and M aryland had Iittle new agricultural
     developm ent,and theirneed forslaves w as m ostly forreplacem ents for
     decedents.Norm alreproduction m ore than supplied these:Virginia and
     M aw land had surpluses ofslaves.Theirtobacco farm s w ere ''w orn out''
     and the clim ate w as notsuitable forcotton orsugarcane.The surplus w as
     evengreaterbecauseslaveswere encouraged to reproduce (thoughthey
     could notmarry).ThewhitesupremacistVirginianThomasRoderickDew
     w rote in 1832 thatVirginia w as a ''negro-raising state'';i-e.Virginia
     ''produced''slaves.



     W here dem and forslavesw asthe strongestw as in w hatw asthen the
     southw estofthe country:Alabam a,M ississippi,and Louisiana,and later
     Texas,Arkansas,and M issouri.Here there w asabundantIand suitable for

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     plantation agriculture,w hich young m en w ith som e capitalestablished.
     Thiswasexpansion ofthe white,m onied population:youngerm en seeking
     theirfortune.



     The m ostvaluable crop thatcould be grow n on a plantation in thatclim ate
     w ascotton.Thatcrop waslabor-intensive,and the least-costly laborers
     w ere slaves.Dem and forslaves exceeded the supply in the southw est;
     therefore slaves,nevercheap ifthey w ere productive, w entfora higher
     price.Asportrayed inUncleTom'sCabin (the''original''cabinwasin
     M aryland),''sellingSouth''wasgreatlyfeared.A recently(2018)publicized
     exam ple ofthe practice of''selling South''isthe 1838 sale by Jesuits of272
     slavesfrom M aryland,to plantations in Louisiana, to benefitGeorgetow n
     University,w hich ''ow es its existence''to thistransaction.



     Traders responded to the dem and,including John Arm field and his uncle
     lsaac Franklin,w ho w ere ''reputed to have m ade overhalfa m illion dollars
     (in lgth-centuryvaluel''intheslavetrade.(Theydid nothandletheJesuit
     transactionjustmentioned.)Setting upanofficeinwhatwasthenthe
     DistrictofColum bia,regionalcenterofthe slavetrade,in Alexandria, ''a
     m ajorslave trading portform ore than a century'',the tw o m en wentinto
     businessin 1828 buying slavesin the North and selling them in the South:



       Cash in M arket


       The subscribers having Ieased fora term ofyearsthe large three story
     brick house on Duke Street,in the tow n ofAlexandria, D.C.form erly
     occupied by Gen.Young,we wish to purchase one hundred and fifty likely
     young negroes ofboth sexes,betw een the ages of8 and 25 years.Persons
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     w ho w ish to sellwilldo wellto give usa call,aswe are determ ined to give
     m ore than any otherpurchasersthatare in m arket, orthat m ay hereafter
     com e into m arket.



       Any lettersaddressed to the subscribersthrough the PostOffice at
     Alexandria,w illbe prom ptly attended to.Forinform ation, enquire atthe
     above described house,aswe can atalItim esbe found there.



        FRANKLIN & ARM FIELD
       -
           advertisem entin the Alexandria Phoenix Gazette, M ay 17,1828



     This house on Duke Streethousesthe Freedom House M useum , w ith
     exhibitson the slave trade and the Iivesofslaves.



     M r.Arm field rem ained in Alexandria doing the purchasing, w ith agents in
     Richm ond and W arrenton,Virginia,and Baltim ore, Frederick,and Easton,
     Maryland (onM aryland'sEasternShore,nearDelaware).Mr.Franklin
     handled the selling outof New Orleans and Natchez, M ississippi,w ith
     offices in St.Francisville and Vidalia, Louisiana.Theirpartnership grew to
     the pointthatw hen the partnership w asdissolved in 1836 and the business
     sold,they ow ned six shipsforthe sole purpose oftransporting slaves, w ith
     monthlyandthenbiweeklysailings.(Theshipscarried m iscellaneouscargo
     onthe return tripsa)Oneofthem,the IsaacFranklin,wasbuiltforthem          .




     Franklin and Arm field'sAlexandria site w asvisited by various abolitionists,
     w ho have Ieftdetailed descriptionsofit. They concurin that M r.A rm field,

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     in contrastw ith Robert Lum pkin am ong others,w as the m ostscrupulousof
     the m ajorslave traders,w ho would notknowingly purchase kidnapped
     slavesorfreedm en,and w hose slavesw ere reasonably w elltreated w hile
     he ow ned them ,at Ieastatthe Duke Streetfacility.Slaves appeared to
     concurin this relatively positive picture,asking that ifthey w ere to be sold,
     thatthey be sold to M r.Arm field.How ever,Arm field frequently took
     children from theirparents,and sold them South.

     A Iittle-discussed butim portantaspectofslavery in the United States isthat
     ow nersoffemale slavescould freely and legally use them assexualobjects.
     Thisfollow sfree use offem ale slaves on slaving vessels by the crew s.
     ''Fancy''w as a code w ord that indicated the girloryoung w om an w as
     suitable forortrained forsexualuse.ln som e cases,children w ere also
     abused in this m anner.The sale ofa l3yearold ''nearly a fancy''is
     docum ented,Zephaniah Kingsley,Jr.boughthisw ife w hen she w as 13.



     Furtherm ore,fem alesof breeding age w ere supposed to be keptpregnant,
     producing m ore slaves to sell.The variations in skin colorfound in the
     United States m ake it obvious how often black fem ales w ere im pregnated
     by w hites.Forexam ple,in the 1850 Census,75.4% of''free negros''in
     Florida w ere described as m ulattos,of m ixed race.Nevertheless,it is only
     very recently,w ith DNA studies,thatany sortofreliable num bercan be
     provided,and the research has only begun.Light-skinned girls,w ho
     contrasted w ith the black field w orkers,w ere preferred.



     The sexualuse ofblack slaves by w hite m en,eitherslave ow ners orthose
     w ho could purchase the tem poraw services ofa slave,took various form s.
     A slaveow ner,or histeenage sons,could go to the slave quartersarea of
     the plantation and do w hat he w anted,usually in front ofthe restofthe
     slaves,orw ith m inim alprivacy.Itw as notunusualfora ''house''fem ale -

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      a housekeeper,m aid,cook,Iaundress, ornanny - to be used by one or
      more white malesofthe household fortheirsexualenjoyment.Housesof
     prostitution throughoutthe slave states w ere largely staffed by fem ale
     slaves providing sexualservices, to theirow ners'profit.There w ere a sm all
     num beroffree black fem alesengaged in prostitution, orconcubinage,
     especially in New Orleans.



     Light-skinned young girls w ere sold openly forsexualuse;theirprice w as
     much higherthanthatofafield hand.I66)(59):38,55Specialmarketsfor
     thefancygirltradeexisted inNew Orleans(59):55and Lexington,Kentucky           .

     Historian Philip Shaw describes an occasion w hen Abraham Lincoln and
     Allen Gentry w itnessed such sales in New O rleans in 1828.



        Gentw vividly rem em bered a day in New O rleans w hen he and the
     nineteen-year-old Lincoln cam e upon a slave m arket.Pausing to w atch,
     Gentry recalled Iooking dow n at Lincoln's handsand seeing thathe
     ''doubled his fists tightly;his knuckles w entw hite. ''M en w earing black
     coatsandwhitehatsbuyfieldhands,''blackand uglw''for$500to800 And         .

     then the realhorrorbegins:''W hen the sale of''fancygirls''began, Lincoln,
     ''unable to stand itany Ionger,''m uttered to Gentry ''AlIen that's a disgrace.
     IfIevergeta Iick atthatthing 1'11hitithardo ''



     Those ''considered educated and refined,were purchased by the w ealthiest
     clients,usually plantation ow ners,to becom e personalsexualcom panionsa''
     ''There w asa greatdem and in New Orleans for'fancy girls'. ''



     The terrifying issue w hich did com e up frequently w as the exaggerated
     threatofsexualintercourse between blackm ale and white fem ale. Justas
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     the blackgirlsw ere perceived ashaving ''atrace ofAfrica,thatsupposedly
     incited passion and sexualw antonness'',the m en w ere perceived as
     savages,unable to controltheirlust,given an opportunity.



     A colorfulbutunique approach to the question wasoffered by Quakerand
     Florida planterZephaniah Kingsley,Jr.He advocated,and personally
     practiced,deliberate racialm ixing through m arriage,as partof his
     proposed solution to the slavery issue:racialintegration.In an 1829
     Treatise,he stated thatm ixed-race people w ere healthierand often m ore
     beautiful,thatinterracialsex w as hygienic,and thatslavery m ade it
     convenient.Because ofthese view s,tolerated in Spanish Florida,he feltit
     im possible to rem ain Iong in TerritorialFlorida,and m oved w ith his slaves
     andm ultiplewivesto aplantation in Haiti(now inthe Dominican Republic).
     There w ere m any othersw ho Iess flagrantly practiced interracial,com m on-
     Iaw m arriagesw ith slaves.



     Justification in the South


     ''A necessary evil''

     ln the 19th century,proponents ofslavery often defended the institution as
     a ''necessary evil''.W hite people ofthattim e feared thatem ancipation of
     black slavesw ould have m ore harm fulsocialand econom ic consequences
     than the continuation ofslavery.In 1820,Thom asJefferson,one ofthe
     Founding Fathers ofthe United States,w rote in a letterthatw ith slavery:

        W e have the w olf by the ear,and w e can neitherhold him ,norsafely Iet
     him go.Justice is in one scale,and self-preservation in the other.



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     The French w riterand travelerAlexis de Tocqueville, in his influential
     DemocracyinAmerica(1835),expressedoppositionto slaverywhile
     observing itseffects on Am erican society.He feltthata m ultiracialsociety
     withoutslavery wasuntenable,ashe believed thatprejudice againstblacks
     increased astheyweregranted morerights(forexam ple,in northern
     states).He believedthatthe attitudesofwhiteSoutherners,andthe
     concentration ofthe blackpopulation in the South,were bringingthe w hite
     and black populationsto a state ofequilibrium,and were a dangerto both
     races.Because ofthe racialdifferencesbetween m asterand slave,he
     believed thatthe Iattercould not be em ancipated.



     RobertE.Lee w rote in 1856:

        There are few ,Ibelieve,in this enlightened age,w ho w illnot
     acknow ledge that slavery asan institution is a m oraland politicalevil. Itis
     idle to expatiate on its disadvantages.Ithink it isa greaterevilto the w hite
     than to the colored race.W hile m y feelings are strongly enlisted in behalf
     ofthe Iatter,m y sym pathies are m ore deeply engaged forthe form er. The
     blacksare im m easurably betteroff here than in Africa, m orally,physically,
     and socially.The painfuldiscipline they are undergoing is necessary for
     theirfurtherinstruction as a race,and w illprepare them ,Ihope, forbetter
     things.How Iongtheirservitude m ay be necessaw isknow n and ordered by
     a m ercifulProvided.



     ''A positivq good''
                .




     How ever,asthe abolitionistm ovem ent's agitation increased and the area
     developed forplantationsexpanded,apologiesforslavery becam e m ore
     faint in the South.Leadersthen described slavery asa beneficialschem e of

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     Iaborcontrol.John C.Calhoun,in a fam ousspeech in the Senate in 1837,
     declared thatslavery w as ''instead ofan evil,a good- a positive good''.
     Calhoun supported hisview w ith the follow ing reasoning:in every civilized
     society one portion ofthe com m unity m ustIive on the Iaborofanother;
     Iearning,science,and the artsare built upon Ieisure;the African slave,
     kindly treated by hism asterand m istress and Iooked afterin his oId age, is
     betteroffthan thefree IaborersofEurope;and underthe slave system
     conflictsbetween capitaland Iaborare avoided.The advantagesofslavew
     in this respect,he concluded,''w illbecom e m ore and m ore m anifest,ifleft
     undisturbed by interference from w ithout,as the country advances in
     w ealth and num bers''.



     OtherSouthern w ritersw ho also began to portray slavery as a positive
     good w ere Jam es Henry Ham m ond and George Fitzhugh.They presented
     severalargum entsto defend the actofslavew in the South.Ham m ond,like
     Calhoun,believed thatslavery w as needed to build the restofsociety.In a
     speech to the Senate on M arch 4,1858,Ham m ond developed his''M udsill
     Theory,''defending hisview on slavery stating,''Such a class you m ust have,
     oryou w ould nothave thatotherclass w hich Ieads progress,civilization,
     and refinem ent.It constitutesthe very m ud-sillofsociety and ofpolitical
     governm ent;and you m ightaswellattem ptto build a house inthe air,as
     to build eitherthe one orthe other,excepton thism ud-sill.''Ham m ond
     believed thatin every class one group m ustaccom plish allthe m enial
     duties,because w ithoutthem the Ieaders in society could not progress. He
     argued thatthe hired Iaborersofthe North were slavestoo:''The
     difference...is,thatourslaves are hired forlife and w ellcom pensated;
     there isno starvation,no begging,no w antofem ployment''whilethose in
     the North had to search forem ploym ent.



     George Fitzhugh used assum ptionsaboutwhite superiority to justify
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     slavery,w riting that,''the Negro is buta grow n up child,and m ustbe
     governed as a child.''In The UniversalLaw ofSlavery,Fitzhugh arguesthat
     slavery provides everything necessary for Iife and thatthe slave is unable to
     survive in a free w orld because he is Iazy,and cannot com pete w ith the
     intelligentEuropean w hite race.He statesthat ''The negro slavesofthe
     South are the happiest,and in som e sense,the freestpeople in the w orld.''
     W ithouttheSouth,''the (slave)would becomean insufferableburden to
     society''and ''Society hasthe rightto preventthis,and can only do so by
     subjecting him to domesticslavery.''


     On M arch 21,1861,Vice PresidentAlexanderStephens ofthe Confederacy
     delivered his Cornerstone Speech.He explained the differences betw een
     the constitution ofthe Confederate Republic and that ofthe United States,
     and laid outthe cause forthe Am erican CivilW ar,and a defense ofslavery.



       The new Constitution has put at restforeveralIthe agitating questions
     relating to ourpeculiarinstitutions- African slavery as it existsam ong us-
     the properstatus ofthe negro in ourform ofcivilization.Thisw asthe
     im m ediate cause ofthe Iate rupture and present revolution.Jefferson,in
     hisforecast,had anticipated this,asthe ''rock upon w hich the oId Union
     would split.''He wasright.W hatwasconjecture with him,isnow a realized
     fact.Butw hetherhe fully com prehended the greattruth upon w hich that
     rock stood and stands,m ay be doubted.The prevailing ideas entertained
     by him and m ostofthe leading statesm en atthe tim e ofthe form ation of
     the oId Constitution w ere,thatthe enslavem entofthe African w as in
     violation ofthe Iaw s ofnature;that itw as w rong in principle,socially,
     m orally and politically.Itw asan evilthey knew notw ellhow to dealw ith;
     butthe generalopinion ofthe m en ofthatday w as,that,som ehow or
     other,in the orderofProvidence,the institution w ould be evanescentand
     passaw ay...Those ideas,how ever,w ere fundam entally w rong.They rested
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      upon the assum ption ofthe equality ofraces.This w asan error. Itw asa
      sandy foundation,and the idea ofa Governm ent built upon it- w hen the
      ''storm came and the wind blew,itfeII. ''



       O urnew Governm entis founded upon exactly the opposite ideas;its
     foundations are Iaid,its cornerstone rests, upon thegreattruth thatthe
     negro isnotequalto thew hite m an;thatslavery,subordination to the
     superiorrace,is hisnaturaland m oralcondition.



     Claim sagainstslaveswere allegedly backed by contem porary research. The
     Ieading researcherw as Dr.Sam uelA Cartw right,inventorofthe m ental
                                          .


     illness ofdrapetom ania - the desire ofa slave to run aw ay. The M edical
     Association ofLouisiana set up a com m ittee, ofw hich he w as chair,to
     investigate ''The Diseases and PhysicalPeculiarities ofthe Negro Race''.

     Theirreport,firstdelivered to the M edicalAssociation in an address, w as
     published in theirjournal,and then reprinted in partin the widely
     circulated DeBow 's Review .



     Abqlifippism ip yhq Nprth


     Beginning during the revolution and in the firsttw o decadesofthe postw ar
     era,everystate in the North abolished slavery,ending w ith New Jersey in
     1804,although in som e cases existing slaves w ere not Iiberated
     im mediately.These werethe firstabolitionistIaw sin the AtlanticW orld.



     In M assachusetts,slavery w assuccessfully challenged in court in 1783 in a
     freedom suitby QuockW alker;he said thatslavery wasin contradiction to
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      the state'snew constitution of1780 providing forequality ofm en. Freed
      slaveswere subjectto racialsegregation and discrim ination in the North,
      and ittookdecadesforsom e statesto extend the franchise to them   .




      M ostnorthern states passed Iegislation forgradualabolition,firstfreeing
      children borntoslave mothers(and requiringthem toserve Iengthy
      indenturestotheirmother'smasters,often intotheir20sasyoungadults).
     As a resultofthis gradualistapproach,New York did notfully free its Iast
     ex-slavesuntil1827,Rhode Island had seven slavesstilllisted in the 1840
     census.Pennsylvania's Iastex-slavesw ere freed in 1847,Connecticut's in
     1848,and New Ham pshire and New Jersey in 1865.



     None ofthe Southern statesabolished slavery,butitw as com m on for
     individualslaveholders in the South to free num erousslaves,often citing
     revolutionaw ideals,in theirwills.M ethodist,Quakerand Baptistpreachers
     traveled in the South,appealing to slaveholdersto m anum ittheirslaves.By
     1810,the num berand proportion offree blacks in the population ofthe
     United Stateshad risen dram atically.M ostfree blacksresided inthe North,
     buteven in the UpperSouth,the proportion offree blacksw entfrom Iess
     than one percent ofaIIblacksto m ore than 10 percent,even asthe total
     num berofslavesw as increasing through im portation.



     ThroughtheNorthwestOrdinanceof1.787underthe Congressofthe
     Confederation,slaveryw asprohibited in the territoriesnorthwestofthe
     Ohio River;existing slaveswere notfreed foryears,although they could no
     Iongerbe sold.This w asa com prom ise.Thom asJefferson proposed in 1784
     to end slavery in aI1the territories,buthisbilllostinthe Congressby one
     vote.Theterritoriessouthofthe Ohio River(and M issouri)hadauthorized
     slavery.Northerners predom inated in the w estw ard m ovem entinto the
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     M idw estern territory afterthe Am erican Revolution;asthe statesw ere
     organized,they voted to prohibitslavery in theirconstitutionsw hen they
     achieved statehood:O hio in 1803,Indiana in 1816,and Illinois in 1818.
     W hatdeveloped wasa Northern block offree statesunited into one
     contiguous geographic area thatgenerally shared an anti-slavery culture.
     The exceptionsw ere the areasalong the Ohio Riversettled by Southerners,
     the southern portions ofstates such as lndiana,O hio and Illinois.Residents
     ofthose areasgenerally shared in Southern culture and attitudes.In
     addition,these areaswere devoted to agriculture longerthan the
     industrializing northern parts ofthese states,and som e farm ers used slave
     Iabor.The em ancipation ofslaves in the North led to the grow th in the
     population ofnorthern free blacks,from severalhundred in the 1770sto
     nearly 50,000 by 1810.



     Agiyatiop againstslaverv


      Throughoutthe first halfofthe 19th century,abolitionism ,a m ovem entto
      end slavew ,grew in strength;m ostabolitionist societiesand supporters
      w ere in the North.They w orked to raise aw areness aboutthe evilsof
      slavery,and to build supportforabolition.



      This struggle took place am id strong supportforslavery am ong w hite
      Southerners,w ho profited greatly from the system ofenslaved Iabor.But
      slavery w as entw ined w ith the nationaleconom y;forinstance,the banking,
      shipping and m anufacturing industries ofNew York City aIIhad strong
      economic interestsin slavery,asdid similarindustriesin othermajorport
      cities in the North.The northern textile m ills in New York and New England
      processed Southern cotton and m anufactured clothesto outfitslaves.By

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     1822 halfofNew York City's exportsw ere related to cotton.



     Slaveholders began to referto slavery asthe ''peculiarinstitution''to
     differentiate itfrom otherexam plesofforced labor.Theyjustified itasIess
     cruelthan the free Iaborofthe North.

     HenryClay (1777-1852),one ofthreefoundersottheAmerican
     Colonization Society,intended to relocate free blacksfrom the US to Africa,
     founding Liberia.



     The principalorganized bodiesto advocate abolition and anti-slavery
     reform s in the north w ere the Pennsylvania Abolition Society and the New
     York M anum ission Society.Before the 1830sthe antislavery groups called
     forgradualemancipation.lgo)BytheIate 1820s,underthe impulse of
     religious evangelicals,the sense em erged that ow ning slavesw as a sin and
     the ow nerhad to im m ediately free him selffrom thisgrave sin by
     em ancipation.



     Colonizatiqp M pvqm ent


     In the early partofthe 19th century,otherorganizationsw ere founded to
     take action on the future ofblack Am ericans.Som e advocated rem oving
     free black people from the United Statesto placeswhere they would enjoy
     greaterfreedom ;som e endorsed colonization in Africa,w hile others
     advocated em igration.During the 1820s and 1830s,the Am erican
     Colonization Society(ACS)wasthe primaw organizationto implem entthe
     ''return''ofblack Am ericans to Africa.The ACS w as m ade up m ostly of
     Quakersand slaveholders,who found uneasy com mon ground in support

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      of''repatriation''.But,by thistim e, m ostblackAm ericanswere native-born
      and did notw antto em igrate;rather,they w anted fullrights in the United
      States,where theirpeople had Iived and worked forgenerations.



      In 1822 the ACS established the colony ofLiberia in W estAfrica. The ACS
     assistedthousandsoffreedmenandfree blacks(with Iegislated Iimits)to
     em igrate there from the United States.M any w hite people considered this
     preferable to em ancipation in the United States. Henry Clay,one ofthe
     foundersand a prom inentslaveholderpolitician from Kentucky, said that
     blacksfaced unconquerable prejudice resulting from theircolor,they never
     could am algam ate with the free whitesofthiscountry ltwasdesirable,
                                                           .

     therefore,asit respected them ,and the residue ofthe population ofthe
     country,to drain them off.



     After1830,abolitionistand m inisterW illiam Lloyd Garrison prom oted
     em ancipation,characterizing slaveholding as a personalsin. He dem anded
     thatslaveow nersrepentand startthe processofem ancipation. His position
     increased defensivenesson the partofsom e southerners, w ho noted the
     Iong history ofslavery am ong m any cultures. A few abolitionists,such as
     John Brow n,favored the use ofarm ed force to fom entuprisingsam ong the
     slaves,ashe did atHarper's Ferry.M ostabolitioniststried to raise public
     supportto change Iaw s and to challenge slave law s.Abolitionistsw ere
     active on the Iecture circuitin the North,and often featured escaped slaves
     in theirpresentations.The eloquentFrederick Douglassbecam e an
     im portantabolitionistleaderafterescaping from slavery. Harriet Beecher
     Stowe'snovelUncleTom 'sCabin (1852)wasaninternationalbestsellerand
     aroused popularsentim entagainst slavery.Italso provoked the publication
     ofnumerousanti-Tom novelsW Southernersintheyearsbeforethe
     Am erican CivilW ar.


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     Prohibiting InternationalTrade


     W hile underthe Constitution,Congress could not prohibitthe im portslave
     trade until1808,the third Congressregulated itin the Slave Trade Actof
     1794,w hich prohibited shipbuilding and outfitting forthe trade.
     Subsequentactsin 1800 and 1803 soughtto discourage the trade by
     Iim iting investm entin im porttrading and prohibiting im portation into
     statesthathad abolished slavery,w hich m ost in the North had by that
     time.(94)ThefinalActProhibiting ImportationofSlaveswasadopted in
     1807,effective in 1808.How ever,illegalim portation ofAfrican slaves
     (sm uggling)wascommon.


     AfterG reatBritain and the United States outlaw ed the internationalslave
     trade in 1807,British slave trade suppression activities began in 1808
     through diplom atic efforts and form ation ofthe RoyalNavy'sW estAfrica
     Squadron.From 1819,they w ere assisted by forcesfrom the United States
     Navy.W iththe W ebster-Ashburton Treaty of1842,the relationship w ith
     Britain wasform alized,and the two countriesjointly ran the Blockade of
     Africa w ith theirnavies.



     Post-revolqfion Southern m anum issions


     Although Virginia,M aryland,and Delaw are w ere slave states,the lattertw o
     already had a high proportion offree blacks by the outbreak ofw ar.
     Follow ing the Revolution,the three Iegislatures m ade m anum ission easier,
     allowed by deed orwill.Quakerand M ethodistm inistersparticularly urged
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     slaveholdersto free theirslaves.The num berand proportion offreed
     slaves in these states rose dram atically until1810.M ore than halfofthe
     num beroffree blacks in the United Statesw ere concentrated in the Upper
     South.The proportion offree blacksam ongthe black population in the
     UpperSouth rose from Iess than one percent in 1792 to m ore than 10
     percentby 1810.In Delaw are,nearly 75 percent ofblacks w ere free by
     1810.



     ln the US as a w hole,by 1810 the num beroffree blacks reached 186,446,
     or13.5 percentofaIIblacks.Afterthatperiod few slavesw ere freed,asthe
     developm entofcotton plantationsfeaturing short-staple cotton in the
     Deep South drove up the internaldem and forslaves in the dom estic slave
     trade and high pricesw ere paid.



     Dom estic slave trade and forced m igratiop

     M ovem entofslavesbetween 1790 and 1860.

     The grow ing internationaldem and forcotton led m any plantation ow ners
     furtherw est in search ofsuitable land.In addition,the invention ofthe
     cotton gin in 1793 enabled profitable processing ofshort-staple cotton,
     w hich could readily be grow n in the uplands.The invention revolutionized
     the cotton industry by increasing fifty-fold the quantity ofcotton thatcould
     be processed in a day.Atthe end ofthe W arof1812,few erthan 300,000
     balesofcotton w ere produced nationally.By 1820 the am ountofcotton
     produced had increased to 600,000 bales,and by 1850 ithad reached
     4,000,000.There w as an explosive grow th ofcotton cultivation throughout
     the Deep South and greatly increased demand forslave Iaborto supportit.
     As a result,m anum issions decreased dram atically in the South.

     SlavesW aiting forSale:Richm ond,Virginia.Painted upon the sketch of

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     1853.M ostofthe slavessold from the UpperSouth w ere from M aryland,
     Virginia,and the Carolinas,w here changes in agriculture decreased the
     need fortheirlaborand the demand forslaves.Before 1810,prim ary
     destinationsforthe slavesw ho w ere sold w ere Kentucky and Tennessee,
     butafter1810 Georgia,Alabama,M ississippi,Louisiana and Texasofthe
     Deep South received the m ost slaves.This isw here cotton becam e king.
     KentuckyandTennesseejoined theslaveexportingstates.


     By 1815,the domesticslave trade had become a majoreconomicactivity in
     the United States;it Iasted untilthe 1860s.Betw een 1830 and 1840 nearly
     250,000 slavesw ere taken across state Iines.In the 1850sm ore than
     193,000 w ere transported,and historiansestim ate nearly one m illion in
     totaltook partin the forced m igration ofthis new M iddle Passage.By 1860
     the slave population in the United States had reached 4 m illion.OfaII
     1,515,605 free fam iliesin the fifteen slave states in 1860,nearly 400,000
     held slaves(roughlyone infour,or25%),amountingto 8% ofalIAmerican
     fam ilies.

     Ashley'sSack isa c10th that recounts a slave sale separating a m otherand
     herdaughter.The sack belonged to a nine-year-old girlAshley w hich w asa
     parting giftfrom herm other,Rose,afterAshley had been sold.Rose filled
     the sack w ith a dress,braid ofher hair,pecans,and ''m y Iove alw ays''



     The historian Ira Berlin called thisforced m igration ofslavesthe ''Second
     M iddle Passage'',because itreproduced m any ofthe sam e horrorsasthe
     M iddle Passage (the namegiventothetransportationofslavesfrom Africa
     to NorthAmerica).These salesofslavesbroke up manyfamiliesand caused
     m uch hardship.Characterizing it asthe ''centralevent''in the Iife ofa slave
     betw een the Am erican Revolution and the CivilW ar,Berlin w rote that
     w hetherslaves w ere directly uprooted orlived in fearthatthey ortheir

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     fam iliesw ould be involuntarily m oved,''the m assive deportation
     traum atized black people,both slave and free.''Individuals Iosttheir
     connection to fam iliesand clans.Added to the earliercolonists com bining
     slaves from differenttribes,m any ethnic Africans losttheirknow ledge of
     varying tribalorigins in Africa.M ostw ere descended from fam ilies w ho had
     been in the United Statesform any generations.



     In the 1840s,almost300,000 slaveswere transported,with Alabam a and
     M ississippireceiving 100,000 each.During each decade betw een 1810 and
     1860,atleast 100,000 slavesw ere m oved from theirstate oforigin.ln the
     finaldecade before the CivilW ar,250,000 were m oved.M ichaelTadm an
     w rote in Speculators and Slaves:M asters,Traders,and Slaves in the O Id
     South (1989)that60-70% ofinter-regionalmigrationswere the resultof
      the sale ofslaves.In 1820 a child in the UpperSouth had a 30% chance of
      being sold south by 1860.The death rateforthe slaveson theirw ay to their
      new destination acrossthe Am erican South w aslessthan thatsuffered by
      captives shipped acrossthe Atlantic Ocean,butm ortality w as higherthan
      the norm aldeath rate.

      Slave trader's business in Atlanta,Georgia,1864


      Slave traders transported tw o-thirdsofthe slaves w ho m oved w est.Only a
      m inority m oved w ith theirfam iliesand existing m aster.Slave tradershad
      Iittle interest in purchasing ortransporting intact slave fam ilies;in the early
      years,planters dem anded only the young m ale slaves needed for heavy
      Iabor.Later,in the interestofcreating a ''self-reproducing Iaborforce'',
      planters purchased nearly equalnum bers ofm en and w om en.Berlin
      w rote:
      The internalslave trade becam e the largest enterprise in the South outside
      the plantation itself,and probably the m ostadvanced in itsem ploym entof
                                             32
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     m odern transportation,finance,and publicity.The slave trade industry
     developed itsow n unique language,w ith term ssuch as ''prim e hands,
     bucks,breeding wenches,and ''fancy girls''com ing into com mon use.



     The expansion ofthe interstate slave trade contributed to the ''econom ic
     revivalofonce depressed seaboard states''asdem and accelerated the
     value ofslaveswho were subjectto sale.


     Som e traders m oved their''chattels''by sea,w ith Norfolk to New Orleans
     being the m ostcom m on route,butm ost slavesw ere forced to w alk
     overland.Othersw ere shipped dow nriverfrom such m arkets as Louisville
     on the O hio River,and Natchez on the M ississippi.Traderscreated regular
     m igration routes served by a netw ork ofslave pens,yards,and w arehouses
     needed as tem poraw housing forthe slaves.In addition,othervendors
     provided clothes,food,and supplies forslaves.Asthe trek advanced,som e
     slavesw ere sold and new ones purchased.Berlin concluded,''In all,the
     slave trade,w ith its hubsand regionalcenters,itsspurs and circuits,
     reached into every cranny ofsouthern society.Few southerners,black or
     w hite,w ere untouched.''



     O nce the trip ended,slavesfaced a life on the frontiersignificantly different
     from m ost Iaborin the UpperSouth.Clearing trees and starting crops on
     virgin fields w as harsh and backbreaking w ork.A com bination of
     inadequate nutrition,bad water,and exhaustion from both the journey and
     the w ork w eakened the new ly arrived slaves and produced casualties.New
     plantations w ere Iocated at rivers'edges forease oftransportation and
     travel.M osquitoes and otherenvironm entalchallenges spread disease,
     w hich took the lives ofm any slaves.They had acquired only Iim ited
     im m unitiesto Iow land diseases in theirprevious hom es.The death rate
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      w asso high that,in the firstfew years ofhew ing a plantation outofthe
      w ilderness,som e planters preferred w heneverpossible to use rented
      slaves ratherthan theirow n.



      The harsh conditions on the frontierincreased slave resistance and led
      ow ners and overseersto rely on violence forcontrol.M any ofthe slaves
      w ere new to cotton fields and unaccustom ed to the ''sunrise-to-sunset
      gang Iabor''required by theirnew Iife.Slaves w ere driven m uch harder
      than w hen they had been in grow ing tobacco orw heat back east.Slaves
      had Iesstim e and opportunity to im prove the quality oftheirIives by
      raising theirow n livestock ortending vegetable gardens,foreithertheir
      ow n consum ption ortrade,as they could in the east.



      In Louisiana,French colonists had established sugarcane plantations and
      exported sugaras the chiefcom m odity crop.Afterthe Louisiana Purchase
      in 1803,Am ericansentered the state and joined the sugarcultivation.
      Betw een 1810 and 1830,plantersboughtslaves from the North and the
      num berofslaves increased from Iessthan 10,000 to m ore than 42,000.
      Planterspreferred young m ales,w ho represented tw o-thirdsofthe slave
      purchases.Dealing w ith sugarcane w as even m ore physically dem anding
      than grow ing cotton.The Iargely young,unm arried m ale slave force m ade
      the reliance on violence by the ow ners ''especially savage''.



      New Orleans becam e nationally im portantas a slave m arketand port,as
      slaves w ere shipped from there upriverby steam boatto plantationson the
      M ississippiRiver;italso sold slavesw ho had been shipped dow nriverfrom
      m arketssuch as Louisville.By 1840,ithad the Iargestslave m arketin North
      Am erica.Itbecam e the wealthiestand the fourth-largestcity in the nation,
      based chiefly on the slave trade and associated businesses.The trading
                                          M
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      season w asfrom Septem berto M ay,afterthe harvest.



     Slave tradersw ere m en oflow reputation,even in the South.In the 1828
     presidentialelection,candidate Andrew Jackson wasstrongly criticized by
     opponents asa slave traderw ho transacted in slaves in defiance ofm odern
     standardsorm orality.



     Treatm ent ofslaves in the United States


     The treatm ent ofslaves in the United States varied w idely depending on
     conditions,tim esand places.The pow errelationships ofslavery corrupted
     m any w hitesw ho had authority overslaves,w ith children show ing their
     ow n cruelty.M asters and overseers resorted to physicalpunishm entsto
     im pose theirw ills.Slaves w ere punished by w hipping,shackling,hanging,
     beating,burning,m utilation,branding and im prisonm ent.Punishm entw as
     m ostoften m eted outin response to disobedience orperceived infractions,
     butsom etim esabuse w as carried outto re-assertthe dom inance ofthe
     m asteroroverseerofthe slave.Treatm entw as usually harsheron Iarge
     plantations,which were often m anaged by overseersand ow ned by
     absentee slaveholders,conditions perm itting abuses.



     W illiam W ellsBrow n,w ho escaped to freedom ,reported thaton one
     plantation,slave m en w ere required to pick 80 pounds perday ofcotton,
     w hile w om en w ere required to pick 70 pounds;ifany slave failed in hisor
     herquota,they were subjectto w hip Iashesforeach pound theyw ere
     short.The w hipping poststood nextto the cotton scales.A New York m an
     w ho attended a slave auction in the m id-19th century reported thatat Ieast
     three-quarters ofthe m ale slaves he saw at sale had scars on theirbacks
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      from w hipping.By contrast,sm allslave-ow ning fam ilies had closer
      relationships betw een the ow ners and slaves;this som etim es resulted in a
      m ore hum ane environm entbutw as not a given.



      Historian Law rence M .Friedm an w rote:''Ten Southern codes m ade ita
      crimeto mistreataslave....Underthe LouisianaCivilCodeof1825 (art.
      192),ifa masterwas''convictedofcrueltreatment''thejudge couldorder
     the sale ofthe m istreated slave,presum ably to a betterm aster. ''M asters
     and overseerswere seldom prosecuted underthese law s.



     According to Adalberto Aguirre,there w ere 1,161 slaves executed in the
     U.S.between the 1790sand 1850s.Quickexecutionsofinnocentslavesas
     w ellas suspectstypically follow ed any attem pted slave rebellions, asw hite
     m ilitias overreacted w ith w idespread killingsthatexpressed theirfears of
     rebellions,orsuspected rebellions.



     Although m ost slaves had Iives that w ere very restricted in term s oftheir
     m ovem ents and agency,exceptions existed to virtually every
     generalization;forinstance,there w ere also slaves w ho had considerable
     freedom intheirdaily Iives:slavesallowed to rentouttheirIaborand w ho
     m ight Iive independently oftheirm asterin cities,slavesw ho em ployed
     w hite w orkers,and slave doctorsw ho treated upper-classw hite patients.
     After1820,in response to the inability to im port new slavesfrom Africa
     and in partto abolitionistcriticism ,som e slaveholders im proved the living
     conditionsoftheirslaves,to encourage them to be productive and to try to
     preventescapes.ltwaspartofa paternalisticapproach in the antebellum
     era thatw asencouraged by m inisterstrying to use Christianity to im prove
     the treatm entofslaves.Slaveholderspublished articlesin southern
     agriculturaljournalsto share bestpracticesin treatm entand m anagem ent
                                          36
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      ofslaves;they intended to show thattheirsystem wasbetterthanthe
      Iiving conditionsofnorthern industrialw orkers   .




     M edicalcare forslaves w aslim ited in term s ofthe m edicalknow ledge
     available to anyone.Itw as generally provided by otherslavesorby
     slaveholders'fam ily m em bers.M any slavespossessed m edicalskills needed
     to tend to each other,and used folk rem edies broughtfrom Africa. They
     also developed new rem edies based on Am erican plants and herbs.



     According to Andrew Fede,a m astercould be held crim inally Iiable for
     killing a slave only ifthe slave he killed was''com pletely subm issive and
     underthe m aster's absolute control''.Forexam ple,in 1791 the North
     Carolina Iegislature defined the w illfulkilling ofa slave as crim inalm urder,
     unlessdone inresistingorundermoderate correction (thatis,corporal
     punishment).


     Because ofthe pow er relationships atw ork,slave w om en in the United
     Statesw ere athigh risk forrape and sexualabuse.M any slavesfought back
     againstsexualattacks,and som e died resisting.Others carried
     psychologicaland physicalscarsfrom the attacks.Sexualabuse ofslaves
     w as partially rooted in a patriarchalSouthern culture w hich treated black
     w om en as property orchattel.Southern culture strongly policed against
     sexualrelationsbetween w hite wom en and black m en on the purported
     groundsof racialpurity but,by the late 18th century,the m any m ixed-race
     slaves and slave children show ed thatw hite m en had often taken
     advantage ofslave w om en.W ealthy planterw idow ers, notably such as
     John W aylesand his son-in-law Thom asJefferson, took slave w om en as
     concubines;each had six children w ith his partner:Elizabeth Hem ingsand
     herdaughterSally Hemings(thehalf-sisterofJefferson'slatewife),
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      respectively.Both M ary Chesnutand Fanny Kem ble,w ives ofplanters,
      w rote aboutthis issue in the antebellum South in the decades before the
      CivilW ar.Som etim es planters used m ixed-race slavesas house servantsor
      favored artisansbecause they were theirchildren orotherrelatives. As a
      resultofcenturiesofslavery and such relationships,DNA studies have
      show nthatthevastm ajority ofAfrican Am ericansalso have historic
      European ancestry,generally through paternalIines.



     Slave Sale,Charleston,1856


     W hile slaves'living conditionsw ere poorby m odern standards,Robert
     Fogelargued that aIIw orkers,free orslave,during the firsthalfofthe 19th
     centurywere subjectto hardship.


     Slave Codes


     To help regulate the relationship betw een slave and ow ner,including Iegal
     supportforkeeping the slave as property,statesestablished slave codes,
     m ost based on Iaw s existing since the colonialera.The code forthe District
     ofColum bia defined a slave as ''a hum an being,w ho is by Iaw deprived of
     his orherliberty forlife,and isthe property ofanother''.



     W hile each state had its ow n slave code,m any concepts w ere shared
     throughoutthe slave states.According to the slave codes,som e ofw hich
     w ere passed in reaction to slave rebellions,teaching a slave to read or
     w rite w as illegal.Thisprohibition w as unique to Am erican slavery,believed
     to reduce slaves form ing aspirationsthatcould Iead to escape orrebellion.
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      Inform aleducation occurred w hen w hite children taught slave com panions
      w hatthey w ere Iearning;in othercases,adultslaves Iearned from free
      artisan w orkers,especially ifIocated in cities,w here there w as m ore
      freedom ofm ovem ent.



      In Alabama,slaveswere notallowed to Ieave theirm aster'sprem ises
      w ithoutw ritten consentorpasses.Thisw as a com m on requirem ent in
      otherstatesaswell,andIocallyrun patrols(knownto slavesaspater
      rollers)often checked the passesofslaveswho appearedto beawayfrom
     theirplantations.In Alabam a slaves w ere prohibited from trading goods
     am ong them selves.In Virginia,a slave w asnot perm itted to drink in public
     w ithin one m ile ofhis m asterorduring public gatherings.Slavesw ere not
     perm itted to carry firearm s in any ofthe slave states.



     Slavesw ere generally prohibited by Iaw from associating in groups,w ith
     the exceptionofworshipservices(areasonwhythe Blackchurchissucha
     notableinstitution in blackcom munitiestoday).FollowingNatTurner's
     rebellion in 1831,w hich raised w hite fearsthroughoutthe South,som e
     statesalso prohibited orrestricted religiousgatheringsofslaves,or
     required thatthey be officiated by w hite m en.Planters feared thatgroup
     m eetings w ould facilitate com m unication am ong slavesthatcould Iead to
     rebellion.Slaves held private,secret ''brush m eetings''in the w oods.



     In O hio,an em ancipated slave w as prohibited from returning to the state in
     w hich he orshe had been enslaved.Othernorthern statesdiscouraged the
     settling offree blacksw ithin theirboundaries.Fearing the influence offree
     blacks,Virginia and othersouthern states passed Iaw sto require blacks
     who had beenfreedto Ieavethestatewithinayear(orsometimesIess

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     time)unlessgranted astaybyan actofthe legislature.


     High Dem and @p# Sm uggling


     The United States Constitution,adopted in 1787,prevented Congress from
     com pletely banning the im portation ofslaves until1808,although Congress
     regulated it in the Slave Trade Actof 1794,and in subsequentActs in 1800
     and 1803.Afterthe Revolution,num erous states individually passed Iaw s
     against im porting slaves.By contrast,the statesofGeorgia and South
     Carolina reopened theirtrade due to dem and by theirupland planters,w ho
     w ere developing new cotton plantations:Georgia from 1800 until
     Decem ber31,1807,and South Carolina from 1804.In thatperiod,
     Charleston traders im ported about 75,000 slaves,m ore than w ere brought
     to South Carolina in the 75 years before the Revolution.Approxim ately
     30,000 w ere im ported to Georgia.



     By January 1,1808,w hen Congress banned furtherim ports,South Carolina
     w asthe only state thatstillallow ed im portation ofslaves.Congressallow ed
     continued trade only in slavesw ho w ere descendants ofthose currently in
     the United States.In addition,US citizens could participate financially in the
     internationalslave trade and the outfitting ofships forthattrade.The
     dom estic slave trade becam e extrem ely profitable as dem and rose w ith the
     expansion ofcultivation in the Deep South forcotton and sugarcane crops.
     Slavew in the United States becam e,m ore orIess,self-sustaining by natural
     increase am ong the currentslavesand theirdescendants.



     Despite the ban,slave im ports continued through sm ugglers bringing in
     slaves pastthe U.S.Navy'sAfrican Slave Trade Patrolto South Carolina,and
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      overland from Texasand Florida,both underSpanish control.Congress
      increased the punishm entassociated w ith im porting slaves,classifying it in
      1820 asan actofpiracy,with smugglerssubjectto harsh penalties,
      including death ifcaught.Afterthat,''it is unlikely that m ore than 10,000
     (slaves)were successfullyIanded inthe UnitedStates.''But,some
     sm uggling ofslavesinto the United Statescontinued untiljustbefore the
     startofthe CivilW ar.



     W arof 1812


     During the W arof1812,British RoyalNavy com m andersofthe blockading
     fleet,based atthe Berm uda dockyard,were instructed to offerfreedom to
     defecting Am erican slaves,asthe Crow n had during the Revolutionary W ar.
     Thousandsofescaped slaves w entoverto the Crow n w ith theirfam ilies.
     M en w ere recruited into the Corps ofColonialM arines on occupied Tangier
     lsland,in the Chesapeake Bay.



     The freedm en foughtforBritain throughoutthe Atlantic cam paign,
     including the attack on W ashington D.C.and the Louisiana Cam paign.
     Sevenhundred oftheseex-marinesweregranted land(theyreportedly
     organised them selves in villages along the lines oftheirm ilitary
     companieslalcitation needed)ManyotherfreedAmerican slaveswere
     recruited directly into existing W estlndian regim ents,ornew ly created
     British Army unitslcitation needed)The British Iaterresettled a few
     thousand freed slaves at Nova Scotia,asthey had forfreedm en afterthe
     Revolution.Som e ofthe earlierfreedm en had m igrated to Sierra Leone in
     the Iate 18th century,w hen itw asestablished as a British colony.
     Descendants have established the Black Loyalist Heritage M useum and

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     w ebsite.



     Slaveholders,prim arily in the South,had considerable ''Ioss ofproperty''as
     thousands ofslavesescaped to British Iines orshipsforfreedom ,despite
     the difficulties.The planters'com placency aboutslave ''contentm ent''w as
     shocked by seeing thatslaves w ould risk so m uch to be free.Afterw ard,
     w hen som e freed slaves had been settled at Berm uda,slaveholders such as
     MajorPierce ButlerofSouth Carolina tried to persuade them to return to
     the United States,to no avail.



     The A m ericans protested thatBritain'sfailure to return aIIslavesviolated
     the Treaty ofG hent.Afterarbitration by the Tsarof Russia,the British paid
     $1,204,960 in damages(about$26.7m illionintoday'smoney)to
     W ashington,w hich reim bursed the slaveow ners.



     Relilion


     Priorto the Am erican Revolution,m asters and revivalistsspread
     Christianity to slave com m unities,supported by the Society forthe
     Propagation ofthe Gospel.ln the FirstGreatAw akening ofthe m id-18th
     centuw ,Baptistsand M ethodists from New England preached a m essage
     against slavew ,encouraged m astersto free theirslaves,converted both
     slavesand free blacks,and gave them active roles in new congregations.
     The first independentblack congregationsw ere started in the South before
     the Revolution,in South Carolina and Georgia.



     Overthe decadesand w ith the grow th ofslavery throughoutthe South,
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      Baptist and M ethodistm inistersgradually changed theirm essagesto
      accom m odate the institution.After1830,w hite Southerners argued forthe
      com patibility ofChristianity and slavery,w ith a m ultitude ofboth Old and
      New Testam ent citations.They prom oted Christianity as encouraging better
      treatm entofslaves and argued fora paternalistic approach. In the 1840s
      and 1850s,the issue ofaccepting slavery splitthe nation's Iargestreligious
      denom inations(the Methodist,Baptistand Presbyterian churches)into
     separate Northern and Southern organizations see M ethodist Episcopal
     Church,South,Southern BaptistConvention,and Presbyterian Church in
     theConfederateStatesofAmerica).


     Southern slavesgenerally attended theirm asters'w hite churches, w here
     they often outnum bered the w hite congregants.They w ere usually
     perm itted to sitonly in the back orin the balcony.They Iistened to w hite
     preachers,who em phasized the obligation ofslavesto keep in theirplace,
     and acknow ledged the slave'sidentity as both person and property.
     Preachers taughtthe m asters responsibility and the conceptofappropriate
     paternaltreatm ent,using Christianity to im prove conditionsforslaves, and
     to treatthem ''justlyand fairly''(CoI.4:1).Thisincluded mastershavingself-
     control,notdisciplining underanger,notthreatening,and ultim ately
     fostering Christianity am ong theirslaves by exam ple.




     Slavesalso created theirown religiousobservances,m eeting alone without
     the supervision oftheirw hite m asters orm inisters The Iargerplantations
                                                      .


     w ith groupsofslaves num bering tw enty,orm ore,tended to be centers of
     nighttime m eetingsofone orseveralplantation slave populationsoThese
     congregations revolved around a singularpreacher,often illiterate w ith
     Iim ited know ledge oftheology,w ho w as m arked by hispersonalpiety and
     ability to fostera spiritualenvironm ent.African Am ericansdeveloped a
     theology related to Biblicalstories having the m ost m eaning forthem ,
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     including the hope fordeliverance from slavery by theirow n Exodus. O ne
     Iasting influence ofthese secret congregations isthe African-A m erican
     spiritual.

     Slave Rebellions


     According to HerbertAptheker,''there w ere few phases ofante-bellum
     Southern Iife and history thatw ere notin som e w ay influenced by the fear
     of,orthe actualoutbreak of,m ilitantconcerted slave action.''



     Historians in the 20th century identified 250 to 311 slave uprisings in U.S.
     and colonialhistory.Those after1776,include:



       Gabriel'sconspiracy(1800)
       Igbo Landingslaveescape (1803)
       Chatham ManorRebellion (1805)
       l8llGerman CoastUprising,(1811)
       GeorgeBoxleyRebellion (1815)
       DenmarkVesey'sconspiracy (1822)
       NatTurner'sslave rebellion(1831)
       BlackSem inoleSlaveRebellion (1835-1838)
       Amistadseizure(1839)
       Creolecase (1841)
       1842 Slave Revolt in the Cherokee Nation
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     In 1831,NatTurner,a Iiterate slave w ho claim ed to have spiritualvisions,
     organized ? slave rebellion in Southam pton County,Virginia;itwas
     som etim escalled the Southam pton Insurrection.Turnerand hisfollow ers
     killed nearly 60 w hite inhabitants,m ostly w om en and children.M any ofthe
     m en in the area w ere attending a religiouseventin North Carolina.
     Eventually Turnerw as captured w ith 17 otherrebels,w ho w ere subdued by
     the m ilitia.Turnerand hisfollow ersw ere hanged,and Turner's body w as
     flayed.In a frenzy offearand retaliation,the m ilitia killed m ore than 100
     slavesw ho had notbeen involved inthe rebellion.Plantersw hipped
     hundreds ofinnocentslavesto ensure resistance w as quelled.



     This rebellion prom pted Virginia and otherslave states to pass m ore
     restrictionson slaves and free people ofcolor,controlling theirm ovem ent
     and requiring m ore w hite supervision ofgatherings.ln 1835 North Carolina
     w ithdrew the franchise forfree people ofcolor,and they Iosttheirvote.



     Anti-literacv


     Acrossthe South,w hite Iegislaturesenacted harsh new Iaw sto curtailthe
     already Iim ited rightsofAfrican Am ericans.Virginia prohibited blacks,free
     orslave,from practicing preaching,prohibited blacksfrom ow ning
     firearm s,and forbade anyone to teach slaves orfree blackshow to read.lt
     specified heavy penaltiesforboth student and teacherifslavesw ere
     educated,includingwhippingsorjail.


       Every assem blage ofnegroesforthe purpose of instruction in reading or

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     w riting,orin the nighttim e forany purpose,shallbe an unlaw fulassem bly.
     Anyjustice may issue hiswarrantto any office orotherperson,requiring
      him to enterany place w here such assem blage m ay be,and seize any
      negro therein;and he,orany otherjustice,m ay ordersuch negro to be
      punished w ith stripes.



     Unlike in the South,slave ow ners in Utah w ere required to send theirslaves
     to school.Black slavesdid not have to spend as m uch tim e in schoolas
     Indian slaves.



      Econom ics



      E1iW hitney's invention ofthe cotton gin in 1793,m ade processing ofshort-
      staple cotton profitable,and itw ascultivated throughoutthe South to
      satisfy US and internationaldem and.Statisticaldata show sthat 7% ofthe
      slaves(680,000totalin 1790of720,000 blacks)wereintheNorth,
      population of2 m illion.There had been approxim ately 15,0Q0 slavesin
      New England in 1770 of650,000 inhabitants.35,000 slaves Iive in the M id-
      Atlantic States of600,000 inhabitants ofw hom 19,000 Iived in New York
      w here they m ade up 11% ofthe population.By 1790 Virginia held 44%
      (315,000in atotalpopulationof750,000 theState).Itwascom mon in
      agriculture,w ith a m ore m assive presence in the South - the region w here
      clim ate w as m ore propitiousforw idescale agriculturalactivity.By 1790
      slavery in the New England States w asabolished in M assachusetts,New
      Ham pshire and Verm ontand phased out in Rhode Island and Connecticut.
      New Yorkintroducedgradualemancipation in 1799 (completed in1827).
      Pennsylvania abolished slavery during the W arforIndependence.Som e
      econom ists and historiansw ho regard slavery as a profitable system .They
      do notfully accountforthe governm ent costs necessary to m aintain the
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      institution,norforhum an suffering.The transition from indentured
      servantsto slaves is cited to show that slavesoffered greaterprofits to their
      ow ners.Thus,it isthe near-universalconsensusam ong econom ic historians
      and econom iststhatslavery w as not ''a system irrationally kept in existence
      by plantation ow nersw ho failed to perceive orw ere indifferentto their
      best econom ic interests''.The relative price ofslavesand indentured
      servantsin the antebellum period did decrease.Indentured servants
      becam e m ore costly w ith the increase in the dem and ofskilled Iaborin
      England.Atthe sam e tim e,slavesw ere m ostly supplied from w ithin the
      United Statesand thuslanguage w as not a barrier,and the costof
      transporting slavesfrom one state to anotherw as relatively Iow .In the
      decades preceding the civilw ar,the United States experienced a rapid
      naturalincrease ofblack population.The slave population m ultiplied nearly
      fourfold between 1810 and 1860,although the internationalslave trade
      w as banned in 1808.Thus,itis also the universalconsensusam ong m odern
      econom ic historiansand econom iststhatslavery in the United States w as
      not ''econom ically m oribund on the eve ofthe CivilW ar''.



      RobertFogeland Stanley Engerm an,in their1974 book Tim e on the Cross,
      argued thatthe rate ofreturn ofslavew atthe m arketprice w as close to 10
      percent,a num berclose to investm entin otherassets.Fogel's 1989 work,
      W ithoutConsentorContract:The Rise and FallofAm erican Slavery,
      elaborated on the m oralindictm entofslavery w hich ultim ately led to its
      abolition.



      Efficiencv ofSlaves


      Scholars disagree on how to quantify efficiency ofslavew .In Tim e on the
      Cross,Fogeland Engerm an equate efficiency to totalfactorproductivity
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     (TFP)- the outputperaverageunitofinputonafarm .Usingthis
     m easurem ent,southern farm sthatenslaved black people using the Gang
     System w ere 35% m ore efficientthan Northern farm s w hich used free
     Iabor.Underthe GangSystem ,groupsofslaves perform synchronized tasks
     underthe constantvigilance ofan overseer.Each group w as like a partofa
     m achine.Ifperceived to be w orking below his capacity,a slave could be
     punished.Fogelarguesthatthiskind ofnegative enforcem entwasnot
     frequentand thatslavesand free Iaborershad sim ilarquality ofIife;
     however,thereiscontroversyonthislastpoint.(166)A critique ofFogel
     and Engerm an'sview w as published by PaulA.David in 1976.In 1995,a
     random survey of178 m em bersofthe Econom ic History Association sought
     to study the view s ofeconom ists and econom ic historians on the debate.
     The study found that72 percentofeconom istsand 65 percentofeconom ic
     historiansw ould generally agree that ''Slave agriculture w as efficient
     com pared w ith free agriculture.Econom ies ofscale,effective m anagem ent,
     and intensive utilization ofIaborand capitalm ade southern slave
     agriculture considerably m ore efficientthan nonslave southern farm ing.''
     48 percentofthe econom ists agreed w ithoutprovisos,w hile 24 percent
     agreed w hen provisosw ere included in the statem ent.O n the otherhand,
     58 percentofeconom ic historiansand 42 percentofeconom ists disagreed
     with Fogeland Engerman's''propositionthatthematerial(not
     psychological)conditionsofthe Iivesofslavescomparedfavorablywith
     those offree industrialw orkers in the decades before the CivilW ar''.



     Prices ofslaves


     Controlling for inflation,pricesofslaves rose dram atically in the six decades
     priorto CivilW ar,reflecting dem and due to com m odity cotton,asw ellas
     use ofslaves in shipping and industw .Although the pricesofslaves relative
     to indentured servants declined,both gotm ore expensive.Cotton
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      production w as rising and relied on the use ofslavesto yield high profits.
      Fogeland Engem an initially argued thatifthe CivilW arhad not happened,
      the slave pricesw ould have increased even m ore,an average ofm ore than
      50 percentby 1890.



      Prices reflected the characteristics ofthe slave- such factors assex,age,
      nature,and heightw ere alItaken into accountto determ ine the price ofa
      slave.Overthe life-cycle,the price ofenslaved w om en w as higherthan
      theirm ale counterparts up to puberty age,asthey w ould Iikely bear
      children and produce m ore slaves,in addition to serving as Iaborers.M en
      around the age of25 w ere the m ostvalued,as they w ere atthe highest
      Ievelofproductivity and stillhad a considerable Iife-span.Ifslaves had a
      history offights orescapes,theirprice w as low ered reflecting w hatplanters
      believed w as risk ofrepeating such behavior.Slave tradersand buyers
      w ould exam ine a slave's backforw hipping scars- a Iarge num berof
      injurieswould be seen asevidence ofIazinessorrebelliousness,ratherthan
      the previous m aster's brutality,and w ould Iow erthe slave's price.Taller
      m ale slaves w ere priced at a higherIevel,as heightw asview ed as a proxy
      forfitness and productivity.



      The conditions ofthe m arket led to shocks in the supply and dem and of
      slaves,w hich in turn changed prices.Forinstance,slaves becam e m ore
      expensive afterthe decrease in supply caused by the ban on im portation of
      slaves in 1808.The m arketforthe productsoftheirw ork also affected
      slaves'econom ic value:dem and forslaves fellw ith the price ofcotton in
      1840.Anticipation ofchangesalso had a huge influence on prices.Asthe
      civilw arprogressed,there w asgreat doubtthatslavew w ould continue to
      be Iegal,andprimemalesin New Orleansweresold at$1,116by1862as
      opposed to $1,381in 1861.

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      Esects on Southern Econom ic Developm qnt


      W hile slavery brought profits in the short run,discussion continues on the
      econom ic benefitsofslavery in the long-run.In 1995,a random anonym ous
      survey of178 m em bers ofthe Econom ic History Association found thatout
      ofthe 40 propositionsaboutAm erican econom ichistory thatwere
      surveyed,the propositions m ostdisputed by econom ic historiansand
      econom istsw ere those surrounding the postbellum econom y ofthe
      Am erican South.The only exception w asthe proposition initially put
      forward by historian Gavin W rightthatthe ''m odern period ofthe South's
      econom ic convergence to the Ievelofthe North only began in earnest
      w hen the institutionalfoundations ofthe southern regionallaborm arket
      w ere underm ined,Iargely by federalfarm and laborlegislation datingfrom
      the 1930s.''62percentofeconomists(24 percentwithand 38percent
      withoutprovisos)and 73percentofhistorians(23percentwithand 50
      percentwithoutprovisos)agreedwiththisstatement.W righthasalso
      argued thatthe private investm entofm onetary resources in the cotton
      industry,am ong others,delayed developm entin the South ofcom m ercial
      and industrialinstitutions.There w as little public investm ent in railroadsor
      otherinfrastructure.W rightarguesthatagriculturaltechnology w asfar
      m ore developed in the South,representing an econom ic advantage ofthe
      South overthe North ofthe United States.



      ln Dem ocracy in Am erica,Alexisde Tocqueville noted that''the colonies in
      w hich there were no slavesbecam e m ore populousand more rich than
      those in w hich slavery flourished.''Econom ists Peter H.Lindertand Jeffrey
      G.W illiam son,in a pairofarticlespublished in 2012 and 2013,found that,
      despite the Am erican South initially having percapita incom e roughly
      double thatofthe North in 1774,incom esinthe South had declined 27%
      by 1800 and continued to decline overthe nextfourdecades,w hile the
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      econom ies in New England and the M id-Atlantic statesvastly expanded.By
      1840,percapita incom e in the South w aswellbehind the Northeastand
      thenationalaverage.(Note:Thisisalsotrue ofcontemporaryincom esin
      the UnitedStatesinthe early21stcentury.)


      Lindertand W illiam son argue thatthisantebellum period isexem plary of
      w hateconom ists Daron Acem oglu,Sim on Johnson,and Jam esA .Robinson
      call''a reversaloffortune''.Econom istThom as Sow ell,in hisessay ''The
      RealHistory ofSlavery,''confirm sthe observation m ade by de Tocqueville,
      by com paring slavery in the United Statesto slavery in Brazil.He notes that
      slave societies reflected sim ilareconom ic trends in those and otherparts of
      the w orld,suggesting thatthe trend Lindertand W illiam son identify m ay
      have continued untiltheAm erican CivilW ar:



         80th in Braziland in the United States- the countriesw ith the tw o
      Iargestslave populations in the W estern Hem isphere- the end ofslavery
      found the regions in w hich slaves had been concentrated poorerthan other
      regions ofthese sam e countries.Forthe United States,a case could be
      m ade thatthis w asdue to the CivilW ar,w hich did so m uch dam age to the
      South,but no such explanation w ould apply to Brazil,w hich fought no Civil
      W aroverthis issue.M oreover,even in the United States,the South lagged
      behind the North in m any wayseven before the CivilW ar.



       Although slavery in Europe died outbefore itw as abolished in the
     W estern Hem isphere,as Iate as 1776 slavery had notyetdied out aIlacross
     the continentw hen Adam Sm ith w rote in The W eaIth ofNationsthatitstill
     existed in som e eastern regions.But,even then,Eastern Europe w as m uch
     poorerthan W estern Europe.The slavery of North Africa and the M iddle
     East,overthe centuries,took m ore slavesfrom sub-saharan Africa than the
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      W estern Hem isphere did...Butthese rem ained largely poorcountries until
      the discovery and extraction oftheirvastoiIdeposits.



      Sow ellalso notes in Ethnic Am erica:A History,citing historians Clem ent
      Eaton and Eugene Genovese,thatthree-quarters ofSouthern w hite
      fam ilies ow ned no slaves at all.M ostslaveholders Iived on farm s rather
      than plantations,and few plantations w ere as Iarge asthe fictionalones
      depicted in Gone w ith the W ind.ln ''The RealHistory ofSlaverw ''Sow ell
      draw s the follow ing conclusion regarding the m acroeconom ic value of
      slavery:

       ln short,even though som e individualslaveow ners grew rich and som e
      fam ily fortunesw ere founded on the exploitation ofslaves,that isvew
      differentfrom saying thatthe w hole society,oreven its non-slave
      population asa w hole,w as m ore econom ically advanced than itw ould
      have been in the absence ofslavery.W hatthis m eans is that,w hether
      em ployed asdom estic servants orproducing crops orothergoods,m illions
      suffered exploitation and dehum anization forno higherpurpose than
      the...aggrandizem entofslaveow ners.



      1850s

      EastmanJohnson (American,1824-1906).A RideforLiberty- The Fugitive
      Slaves(recto),ca.1862.OiIon paperboard.BrooklynM useum
      Uncle M arian,a slave ofgreat notoriety,ofNorth Carolina.Daguerreotype
      ofelderly North Carolina slave,circa 1850.



      Because ofthe three-fifths com prom ise in the U.S.Constitution,in w hich
      slaves counted in the calculation of how m any representatives a state had

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     in Congress(though onlythree-fifthsasm uchasafree person),theplanter
     class had long held pow erin Congressoutofproportion to the total
     num beroffree people in the US population asa w hole.



     In 1850,Congress passed the Fugitive Slave Act,w hich required law
     enforcem entand citizensoffree statesto cooperate inthe capture and
     return ofslaves.This m etw ith considerable overtand covertresistance in
     free statesand cities such as Philadelphia,New York,and Boston.Refugees
     from slavery continued to flee the South across the O hio Riverand other
     partsofthe M ason-Dixon Iine dividing North from South,to the North and
     Canada via the Underground Railroad.Som e w hite northerners helped hide
     form erslavesfrom theirform erow ners orhelped them reach freedom in
      Canada.



      As partofthe Com prom ise of 1850,Congressabolished the dom estic slave
      trade (thoughnottheIegalityofslavery)inthe DistrictofColumbia.After
      1854,Republicans argued thatthe Slave Pow er,especially the pro-slavery
      Dem ocraticParty,controlled two ofthe three branchesofthe Federal
      governm ent.



      The abolitionists,realizingthatthetotalelim ination ofslavery was,asan
      im m ediate goal,unrealistic,had w orked to preventexpansion ofslavery
      into the new statesform ed outofthe W estern territories.The M issouri
      Com prom ise,the Com prom ise of1850,and the Bleeding Kansas crisis dealt
      w ith w hethernew states w ould be slave orfree,orhow thatw as to be
      decided.Both sidesw ere anxiousabouteffects ofthese decisionson the
      balance ofpow erin the Senate.

      M ain article:Bleeding Kansas

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     Afterthe passage ofthe Kansas-NebraskaActin 1854,borderfighting
     broke outin KansasTerritow ,w here the question ofw hetheritw ould be
     adm itted to the Union as a slave orfree state w as leftto the inhabitants
                                                                              .

     M igrantsfrom free and slave states m oved into the territory to prepare for
     the vote on slavery.AbolitionistJohn Brown wasactive in the fighting in
     ''Bleeding Kansas,''butso too w ere m any w hite Southernersw ho opposed
     abolition.



     Abraham Lincoln's and the Republicans'politicalplatform in 1860 w asto
     stop slavery's expansion.Historian Jam es M cpherson saysthatin a fam ous
     speech in 1858,Lincoln said Am erican republicanism can be purified by
     restricting the furtherexpansion ofslavery as the first step to putting iton
     the road to 'ultim ate extinction.'Southernerstook Lincoln at his w ord.
     W hen he w on the presidency they leftthe Union to escape the 'ultim ate
     extinction'ofslavery.''

     Freedom suits and Dred Scott


     W ith the developm entofslave and free statesafterthe Am erican
     Revolution,and far-flung com m ercialand m ilitary activities,new situations
     arose in w hich slaves m ightbe taken by m asters into free states.M ostfree
     states notonly prohibited slavery,but ruled thatslaves broughtand kept
     there illegally could be freed.Such casesw ere som etim es know n astransit
     CaSeS.




     Dred Scottand hisw ife HarrietScotteach sued forfreedom in St.Louis
     afterthe death oftheirm aster,based on theirhaving been held in a free
     territow (the northern partofthe Louisiana Purchasefrom whichslavery
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      wasexcluded underthetermsofthe M issouriCompromise).(Laterthetwo
      caseswerecombined underDred Scott'sname.)Scottfiled suitforfreedom
      in 1846 and w entthrough tw o state trials,the firstdenying and the second
      grantingfreedom tothecouple (and,byextension,theirtwo daughters,
      who hadalso been held illegallyinfreeterritories).For28years,Missouri
      state precedenthad generally respected Iaw s ofneighboring free states
      and territories,ruling forfreedom in such transitcases w here slaves had
      been held illegally in free territow .Butin the Dred Scott case,the State
      Suprem e Courtruled againstthe slaves,saying that''tim es w ere notw hat
      they once w erel'.



      AfterScott and histeam appealed the case to the U.S.Suprem e Court,the
      slaveow ning Suprem e CourtJustice RogerB.Taney denied Scotthis
      freedom in a sw eeping decision.The 1857 decision,decided 7-2,held that
      a slave did not becom e free w hen taken into a free state;Congress could
      notbarslavery from a territory;and people ofAfrican descent im ported
      into the United Statesand held as slaves,ortheirdescendants,could never
      be citizens.A state could not barslaveow nersfrom bringing slaves into that
      state.M any Republicans,including Abraham Lincoln,considered the
      decision unjustand asproofthatthe Slave Powerhad seized controlofthe
      Suprem e Court.W ritten by ChiefJustice RogerB.Taney,the decision
      effectively barred slavesand theirdescendantsfrom citizenship.
      Abolitionistsw ere enraged and slave ow nersencouraged,contributing to
      tensionson thissubjectthatIed to civilwar.Criticsnote thatatthe time
      the Constitution w as drafted,five states including North Carolina allow ed
      free blacksto vote.



      CivilW arand Em ancipation
      Events Ieading to

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     the Am erican CivilW ar



        SlaverY

        Northw est Ordinance

        Kentucky and Virginia Resolutions

        Battle ofNegro Fort

        M issouriCom prom ise

       Tariffof1828

        NatTurner's slave rebellion

        Nullification Crisis

       Am erican Slavery As ItIs

       The Am istad

       Prigg v.Pennsylvania

       Texasannexation

       M exican-Am erican W ar

       W ilm ot Proviso

       M anifestdestiny

       Underground Railroad

       Nashville Convention

       Com prom ise of 1850

       Fugitive Slave Actof1850

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        Uncle Tom 's Cabin

        Kansas-Nebraska Act

        Ostend M anifesto

        Bleeding Kansas

        Caning ofCharlesSum ner

        Dred Scottv.Sandford

        The lm pending Crisisofthe South

        Brow n's raid on Harpers Ferry

        1860 presidentialelection

        Crittenden Com prom ise

        Secession ofSouthern States

        Starofthe W est

        Corw in Am endm ent

        M orrillTariff

        Battle ofFortSum ter



        vte



      1860 presidentialqlqçlipn


      The divisions becam e fully exposed w ith the 1860 presidentialelection.The
      electorate splitfourw ays.The Southern Dem ocrats endorsed slavery,w hile
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     the Republicansdenounced it.The Northern Dem ocrats said dem ocracy
     required the people to decide on slavew locally,state by state and territory
     by territory.The ConstitutionalUnion Party said the survivalofthe Union
     w as atstake and everything else should be com prom ised.



     Lincoln,the Republican,w on w ith a plurality of popularvotes and a
     majority ofelectoralvotes.Lincoln,however,did notappearon the ballots
     often southern slave states.M any slave ow ners in the South feared that
     the realintentofthe Republicans w asthe abolition ofslavery in states
     w here it already existed,and thatthe sudden em ancipation offourm illion
     slavesw ould be disastrousforthe slave ow ners and forthe econom y that
     drew its greatest profitsfrom the Iaborofpeople w ho w ere notpaid.



     The slave ow ners also argued thatbanning slavew in new statesw ould
     upsetw hatthey saw as a delicate balance offree states and slave states.
     They feared thatending this balance could Iead to the dom ination ofthe
     federalgovernm ent by the northern free states.This Ied seven southern
     statesto secede from the Union.W hen the southern forces attacked a US
     Arm y installation at FortSum ter,the Am erican CivilW arbegan and four
     additionalslave statesseceded.Northern leaders had view ed the slavery
     interests as a threatpolitically,butw ith secession,they view ed the
     prospectofa new Southern nation,the Confederate StatesofAm erica,
     w ith controloverthe M ississippiRiverand parts ofthe W est,as politically
     unacceptable.



     CivilW ar


     The consequentAm erican CivilW ar,beginning in 1861,Ied to the end of
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     chattelslavery in Am erica.Not long afterthe w arbroke out, through a Iegal
     maneuvercredited to Union GeneralBenjamin F.Butler,a lawyerby
     profession,slaves w ho cam e into Union ''possession''w ere considered
     ''contraband ofwar''.GeneralButlerruled thatthey were notsubjectto
     return to Confederate ow nersasthey had been before the war.Soon w ord
     spread,and m any slaves sought refuge in Union territory,desiring to be
     declared ''contraband''.M any ofthe ''contrabands''joined the Union Army
     as w orkers ortroops,form ing entire regim ents ofthe U.S.Colored Troops.
     Othersw entto refugee cam ps such asthe Grand Contraband Cam p near
     FortM onroe orfled to northern cities.GeneralButler's interpretation w as
     reinforced w hen Congress passed the Confiscation Actof1861,w hich
     declared thatany property used by the Confederate m ilitary,including
     slaves,could be confiscated by Union forces.

     Slaves on J.J.Sm ith's cotton plantation nearBeaufort,South Carolina,
     photographed by Tim othy O 'Sullivan standing before theirquarters in 1862



     Atthe beginning ofthe w ar,som e Union com m andersthoughtthey w ere
     supposed to return escaped slavesto theirm asters.By 1862,w hen it
     becam e clearthatthis w ould be a long w ar,the question ofw hatto do
     aboutslavery becam e m ore general.The Southern econom y and m ilitary
     effortdepended on slave Iabor.ltbegan to seem unreasonableto protect
     slavery w hile blockading Southern com m erce and destroying Southern
     production.As Congressm an George W .Julian ofIndiana putitin an 1862
     speech in Congress,the slaves''cannotbe neutral.AsIaborers,ifnotas
     soldiers,they w illbe alliesofthe rebels,orofthe Union.''Julian and his
     fellow RadicalRepublicans putpressure on Lincoln to rapidly em ancipate
     the slaves,whereasm oderate Republicanscam e to acceptgradual,
     com pensated em ancipation and colonization.Copperheads,the border
     states and W ar Dem ocrats opposed em ancipation,although the border
     states and W arDem ocrats eventually accepted itas partoftotalw ar

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     needed to save the Union.



     Em ancipatiop Proclam afion


     The Em ancipation Proclam ation w asan executive orderissued by President
     Lincoln on January 1,1863.In a single stroke itchanged the Iegalstatus,as
     recognized by the U.S.governm ent,of3 m illion slaves in designated areas
     ofthe Confederacy from ''slave''to ''free''.Ithad the practicaleffectthatas
     soon as a slave escaped the controlofthe Confederate governm ent,by
     running aw ay orthrough advancesoffederaltroops,the slave becam e
     legally and actually free.Plantation ow ners,realizing thatem ancipation
     w ould destroy theireconom ic system ,som etim esm oved theirslaves asfar
     as possible outofreach ofthe Union arm y.By June 1865,the Union Arm y
     controlled aIlofthe Confederacy and had Iiberated alIofthe designated
     slaves.



     In 1861,Lincoln expressed the fearthat prem ature attem pts at
     em ancipation w ould m ean the Iossofthe borderstates.He believed that
     ''to Iose Kentucky is nearly the sam e asto Iose the w hole gam e.''Atfirst,
     Lincoln reversed attem ptsatem ancipation by Secretary ofW arSim on
     Cameronand GeneralsJohnC.Fremont(in M issouri)and David Hunter(in
     SouthCarolina,Georgiaand Florida)to keepthe Ioyaltyoftheborderstates
      and the W ar Dem ocrats.



      Lincoln m entioned his Em ancipation Proclam ation to m em bers ofhis
      cabineton July 21,1862.Secretary ofState W illiam H.Sew ard told Lincoln
      to w aitfora victory before issuing the proclam ation,asto do otherw ise
      w ould seem Iike ''ourlastshriek on the retreat''.In Septem ber1862 the
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     Battle ofAntietam provided thisopportunity,and the subsequentW ar
     Governors'Conference added supportforthe proclam ation.Lincoln had
     already published a Ietterencouraging the borderstatesespecially to
     acceptem ancipation as necessary to save the Union.Lincoln Iatersaid that
     slavery w as ''som ehow the cause ofthe w ar''



     Lincoln issued his prelim inary Em ancipation Proclam ation on Septem ber
     22,1862,and said thata finalproclam ation w ould be issued ifhisgradual
     plan,based on com pensated em ancipation and voluntaw colonization,w as
     rejected.Only the DistrictofColum bia accepted Lincoln'sgradualplan,and
     Lincoln issued his finalEm ancipation Proclam ation on January 1, 1863.In
     hisletterto Hodges,Lincoln explained his beliefthat



       Ifslavery is notw rong,nothing isw rong ...A nd yet Ihave never
     understood thatthe Presidency conferred upon m e an unrestricted rightto
     actofficially upon thisjudgm entand feeling ...Iclaim notto have
     controlled events,butconfess plainly thatevents have controlled m e.



    Lincoln's Em ancipation Proclam ation ofJanuary 1,1863 w as a pow erful
    action thatprom ised freedom forslaves in the Confederacy as soon as the
    Union arm ies reached them ,and authorized the enlistm ent ofAfrican
    Am ericans in the Union Arm y.The Em ancipation Proclam ation did notfree
    slaves in the Union-allied slave-holding statesthatbordered the
    Confederacy.Since the Confederate States did not recognize the authority
    ofPresidentLincoln,and the proclam ation did notapply in the border
    states,atfirstthe proclam ation freed only those slaves w ho had escaped
    behind Union Iines.The proclamation made the abolition ofslavery an
    officialw argoalthatw as im plem ented asthe Union took territory from the
    Confederacy.According to the Censusof 1860,this policy w ould free nearly
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     fourm illion slaves,orover12% ofthe totalpopulation ofthe United States.



     Based on the President's w arpow ers,the Em ancipation Proclam ation
     applied to territory held by Confederatesatthe tim e.How ever,the
     Proclam ation becam e a sym bolofthe Union'sgrow ing com m itm entto add
     em ancipation to the Union'sdefinition ofIiberty.Lincoln played a leading
     role in gettingthe constitutionally-required two-thirdsmajorityofboth
     houses ofCongressto vote forthe Thirteenth Am endm ent,w hich m ade
     em ancipation universaland perm anent.



     Enslaved African Am ericans had notw aited for Lincoln before escaping and
     seekingfreedom behind Union Iines.From earlyyearsofthe war,hundreds
     ofthousands ofAfrican Am ericans escaped to Union Iines,especially in
     Union-controlled areas such as Norfolk and the Ham pton Roads region in
     1862 Virginia,Tennessee from 1862 on,the Iine ofSherm an's m arch,etc.
     So m any African Am ericansfled to Union linesthatcom m anders created
     cam psand schoolsforthem ,w here both adults and children Iearned to
     read and w rite.The Am erican M issionary Association entered the w ar
     effort by sending teacherssouth to such contraband cam ps,forinstance.
     establishing schools in Norfolk and on nearby plantations.



     ln addition,nearly 200,000 African-Am erican m en served w ith distinction in
     the Union forcesas soldiersand sailors.M ostw ere escaped slaves.The
     Confederacy w as outraged by arm ed black soldiers and refused to treat
     them as prisonersofw ar.They m urdered m any,asatthe FortPillow
     M assacre,and re-enslaved others.



     The Arizona OrganicActabolished slavery on February 24,1863 in the
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     new ly form ed Arizona Territory.Tennessee and aIIofthe borderstates
     (exceptKentucky)abolished slavery byearly1865.Thousandsofslaves
     w ere freed by the operation ofthe Em ancipation Proclam ation as Union
     arm ies m arched acrossthe South.Em ancipation cam e to the rem aining
     southern slaves afterthe surrenderofaIlConfederate troops in spring
     1865.



     In spite ofthe South's shortage ofm anpow er,until1865,m ostSouthern
     Ieaders opposed arm ing slavesas soldiers.How ever,a few Confederates
     discussed arm ing slaves.Finally in early 1865 GeneralRobertE.Lee said
     black soldiers w ere essential,and legislation w as passed.The first black
     units w ere in training w hen the w arended in April.

     The End ofSlaverv
     Abraham Lincoln presentsthe firstdraftofthe Em ancipation Proclam ation
     to his cabinet.

     BookerT.W ashington rem em bered Em ancipation Day in early 1863,w hen
     he w asa boy ofnine in Virginia:

      Asthe great day drew nearer,there w asm ore singing in the slave quarters
     than usual.ltw as bolder,had m ore ring,and Iasted Iaterinto the night.
     M ost ofthe verses ofthe plantation songs had som e reference to
     freedom....Some manwho seemed to beastranger(a United States
     officer,lpresume)madealittlespeechandthenreadaratherlongpaper-
     the Em ancipation Proclam ation,Ithink.Afterthe reading w e w ere told that
     w e w ere alIfree,and could go w hen and w here w e pleased.M y m other,
     who wasstanding by my side,Ieaned overand kissed herchildren,w hile
     tearsofjoy ran dow n hercheeks.She explained to usw hatitaIlm eant,
     thatthisw asthe day forw hich she had been so Iong praying,butfearing
     thatshe w ould neverIive to see.

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     Abolition ofslavery in the various states ofthe US overtim e:

      Abolition ofslavery during orshortly afterthe Am erican Revolution

      The Northw estOrdinance,1787

      Gradualemancipation in New York(starting 1799)and New Jersey
     (starting 1804)
      The M issouriCom prom ise,1821

      Effectiveabolition ofslaverybyM exican orjointUs/British authority
      Abolition ofslavery by Congressionalaction,1861

      Abolition ofslavery by Congressionalaction,1862ff.

      Em ancipation Proclam ation asoriginally issued,llan 1863

      Subsequentoperation ofthe Em ancipation Proclam ation in 1863

      Abolition ofslavery by state action during the CivilW ar

      Operation ofthe Em ancipation Proclam ation in 1864

      O peration ofthe Em ancipation Proclam ation in 1865

      Thirteenth Am endm entto the US constitution,18 Dec 1865

      Territory incorporated into the US afterthe passage ofthe Thirteenth
     Am endm ent



     The w arended on June 22,1865,and follow ing thatsurrender,the
     Em ancipation Proclam ation w asenforced throughout rem aining regionsof
     the South that had notyetfreed the slaves.Slavery officially continued for
     a couple ofm onths in otherIocations.Federaltroops arrived in Galveston,

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     Texas on June 19,1865,to enforce the em ancipation.Thatday ofgaining
     freedom in Texas is now celebrated asJuneteenth in m any U.S.states.



     The Thirteenth Am endm ent,abolishing slavery except as punishm entfora
     crim e,had been passed by the Senate in April1864,and by the House of
     Representatives in January 1865.The am endm entdid nottake effect until
     itw as ratified by three fourthsofthe states,w hich occurred on Decem ber
     6,1865,w hen Georgia ratified it.O n thatdate,aIlrem aining slaves becam e
     officially free.



     Legally,the Iast40,000-45,000 slaves w ere freed in the Iasttw o slave states
     of Kentucky and Delaw are by the finalratification ofthe Thirteenth
     Am endm entto the Constitution on Decem ber18,1865.Slaves stillheld in
     Tennessee,Kentucky,Kansas,New Jersey,Delaw are,W estVirginia,
     M aryland,M issouri,W ashington,D.C.,and twelve parishesofLouisiana
     also becam e Iegally free on this date.



     Am erican historian R.R.Palm eropined thatthe abolition ofslavew in the
     United States w ithoutcom pensation to the form erslave ow nersw as an
     ''annihilation ofindividualproperty rights w ithoutparallel...in the history of
     the W estern w orld''.Econom ic historian RobertE.W right argues that it
     w ould have been m uch cheaper,w ith m inim aldeaths,ifthe federal
     governm ent had purchased and freed aIlthe slaves,ratherthan fighting the
     CivilW ar.Anothereconom ic historian,RogerRansom ,w ritesabouthow
     Gerald Gunderson com pared com pensated em ancipation to the cost ofthe
     w arand ''notes thatthe tw o are roughly the sam e orderofm agnitude -
     2.5 to 3.7 billion dollars''.Ransom also w rites thatcom pensated
     em ancipation w ould have tripled federaloutlays ifpaid overthe period of
     25 yearsand w as a program that had no politicalsupportw ithin the United
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     Statesduring the 1860s.



     Reconstruction to Present



     Proponentsofthe 13th Am endm entto the Constitution knew thatw ithout
     legislation thatcodified the 13th Am endm ent in the form of Iaw s and
     statutes along w ith law enforcem ent agenciesto uphold the Iaw s,there
     w ould be no true end to slavery,and this isthe reason forthe inclusion of
     Section 2 ofthe 13th Am endm entauthorizing Congressto establish Iaws
     upholding the am endm ent.The federalgovernm entalso senttroops to the
     south to provide protection to the form erslavesw ho w ere stillIiving
     am ong theirform erm asters.



     During the Reconstruction Era,from January 1,1863 to M arch 31,1877,
     federaltroopswere stationed in the south specificallyto protectblack
     rights and preventthem from being re-enslaved.How ever,in the Gilded
     Age thatfollow ed the w ithdraw al,blacks w ere Ieftatthe m ercy ofthe
     whites.W hen African Americansin the South no Iongerhad the protection
     offederaltroops,w hites im posed Iaw sto preventthem from voting,
     restricttheirm ovem ent,and found otherw aysto practice involuntaw
     servitude.



     Thislasted w ellinto the 20th century.President Lyndon B.Johnson
     abolished peonage in 1966,w hich rapidly decreased sharecropping in every
     plantation nationw ide.Journalist DouglasA.Blackm on reported in his
     PulitzerPrize-w inning bookSlavery By AnotherNam e that m any blacks
     w ere virtually enslaved underconvictleasing program s,w hich started after
     the CivilW ar.M ostSouthern stateshad no prisons;they Ieased convictsto
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     businessesand farm sfortheirIabor,and the Iessee paid forfood and
     board.The incentivesforabuse w ere satisfied.



     The continued involuntary servitude took various form s,butthe prim ary
     form s included convict Ieasing,peonage,and sharecropping,w ith the Iatter
     eventually encom passing poorwhitesaswell.Bythe 1930s,w hites
     constituted m ostofthe sharecroppers in the South.M echanization of
     agriculture had reduced the need forfarm Iabor,and m any blacks Ieftthe
     South in the Great M igration.



     Jurisdictionsand statescreated fines and sentencesfora w ide variety of
     m inorcrim es,and used these as an excuse to arrest and sentence blacks.
     Underconvict leasing program s,African Am erican m en,often guilty ofno
     crim e atall,w ere arrested,com pelled to w ork w ithoutpay,repeatedly
     boughtand sold,and coerced to do the bidding ofthe Ieaseholder.
     Sharecropping,as itw as practiced during this period,often involved severe
     restrictions on the freedom ofm ovem entofsharecroppers,w ho could be
     w hipped forIeaving the plantation.Both sharecropping and convict Ieasing
     were Iegaland tolerated by both the north and south.How ever,peonage
     w as an illicitform offorced Iabor.Its existence w as ignored by authorities
     w hile thousandsofAfrican Am ericansand poorAnglo Am ericans w ere
     subjugated and held in bondage untilthe m id 1960sto the Iate 1970s.


     W ith the exception ofcases ofpeonage,beyond the period of
     Reconstruction,the federalgovernm enttook alm ostno action to enforce
     the 13th Am endm ent untilDecem ber1941w hen President Franklin Delano
     Rooseveltsum m oned hisattorney general.Five days afterPearlHarbor,at
     the requestofthe presidentAttorney GeneralFrancis Biddle issued Circular
     No.3591t0 alIfederalprosecutors,instructing them to actively investigate
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     and try any case ofinvoluntaw servitude orslavery.Severalm onths later,
     convictleasing w as officially abolished.Butaspects have persisted in other
     form s,w hile historiansargue thatothersystem s ofpenallabor,w ere alI
     created in 1865 and convict leasing w as sim ply the m ostoppressive form .



     Overtim e a large civilrights m ovem entarose to bring fullcivilrightsand
     equality underthe Iaw to aIIAm ericans.



     Convict Ieasing


     W ith em ancipation a Iegalreality,w hite Southernersw ere concerned w ith
     both controlling the new ly freed slaves and keeping them in the Iaborforce
     atthe low est Ievel.The system ofconvict Ieasing began during
     Reconstruction and w asfully im plem ented in the 1880s and officially
     ending in the Iaststate,Alabam a,in 1928.lt persisted in variousform s until
     itw as abolished in 1942 by PresidentFranklin D.Rooseveltduring W orld
     W arlI,severalm onthsafterthe attack on PearlHarbor involved the U.S.in
     the conflict.This system allow ed private contractorsto purchase the
     services ofconvictsfrom the state orlocalgovernm entsfora specific tim e
     period.African Am ericans,due to ''vigorous and selective enforcem entof
     Iawsand discriminatory sentencingz''made up the vastmajority ofthe
     convictsIeased.

     W riterDouglasA.Blackm on w rites ofthe system :

     ltw as a form ofbondage distinctly differentfrom thatofthe antebellum
     South in thatform ostm en,and the relatively few w om en draw n in,this
     slavery did notlasta Iifetim e and did notautom atically extend from one
     generation to the next.Butitw as nonethelessslavery - a system in w hich
     arm iesoffree m en,guilty ofno crim es and entitled by law to freedom ,
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     w ere com pelled to Iaborw ithout com pensation,w ere repeatedly bought
     and sold,and were forced to do the bidding ofw hite m astersthrough the
     regularapplication ofextraordinary physicalcoercion.Today this is
     considered M odern Day Slavew and explainsthe m ass incarceration of
     African-Am ericans.



     The constitutionalbasisforconvict Ieasing isthatthe Thirteenth
     Am endm ent,while abolishing slavery and involuntary servitude generally,
     expressly perm itsitas a punishm entforcrim e.



     EducationalIssues


     The anti-literacy Iaw s after1832 contributed greatly to the problem of
     w idespread illiteracy facing the freedm en and otherAfrican Am ericans
     afterEm ancipation and the CivilW ar35 yearsIater.The problem of
     illiteracy and need foreducation w as seen as one ofthe greatestchallenges
     confronting these people asthey soughtto jointhe free enterprise system
     and supportthem selvesduring Reconstruction and thereafter.



     Consequently,m any black and w hite religious organizations,form erUnion
     Arm y officers and soldiers,and w ealthy philanthropists w ere inspired to
     create and fund educationalefforts specifically forthe betterm entof
     African Am ericans;som e African Am ericans had started theirow n schools
     before the end ofthe war.Northerners helped create numerousnorm al
     schools,such asthose that becam e Ham pton University and Tuskegee
     University,to generate teachers,asw ellasothercolleges forform erslaves.
     Blacks held teaching as a high calling,w ith education the first priority for
     children and adults.M any ofthe m osttalented w ent into the field.Som e of
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     the schoolstook yearsto reach a high standard,butthey m anaged to get
     thousandsofteachersstarted.AsW .E.B.Du Bois noted,the black colleges
     w ere notperfect,but ''in a single generation they putthirty thousand black
     teachersin the South''and ''wiped outthe illiteracy ofthe majority ofblack
     people in the land''.



     Northern philanthropists continued to support black education in the 20th
     centuw ,even astensions rose w ithin the black com m unity,exem plified by
     BookerT.W ashington and W .E.B.Du Bois,asto the properem phasis
     betw een industrialand classicalacadem ic education atthe college level.An
     example ofa majordonorto Hampton Institute and Tuskegee wasGeorge
     Eastm an,w ho also helped fund health program s at colleges and in
     com m unities.Collaborating w ith W ashington in the early decadesofthe
     20th centuw ,philanthropistJulius Rosenw ald provided m atching fundsfor
     com m unity effortsto build ruralschools forblack children.He insisted on
     w hite and black cooperation in the effort,w anting to ensure thatw hite-
     controlled schoolboards m ade a com m itm entto m aintain the schools.By
     the 1930sIocalparentshad helped raisefunds(sometimesdonatingIabor
     and land)tocreateover5,000 ruralschoolsintheSouth.Other
     philanthropists,such as Henry H.Rogersand Andrew Carnegie,each of
     w hom had arisen from m odestrootsto becom e w ealthy,used m atching
     fund grantsto stim ulate localdevelopm entofIibrariesand schools.



     A pologies


     On February 24,2007,the Virginia GeneralAssem bly passed HouseJoint
     Resolution Num ber728 acknow ledging ''w ith profound regretthe
     involuntary servitude ofAfricans and the exploitation of Native Am ericans,
     and callforreconciliation am ong allVirginians''.W ith the passing ofthis
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     resolution,Virginia becam e the firststate to acknow ledge through the
     state'sgoverning body theirstate's negative involvem entin slavew .The
     passing ofthis resolution w as in anticipation ofthe 400th anniversary
     com memorationofthefoundingofJamestown,Virginia (thefirst
     permanentEnglish settlementinNorthAmerica),whichwasanearly
     colonialslave port.Apologies have also been issued by A labam a,Florida,
     M aryland,North Carolina and New Jersey.



     O n July 30,2008,the United States House ofRepresentatives passed a
     resolution apologizing forAm erican slavery and subsequentdiscrim inatow
     law s.



     The U.S.Senate unanim ously passed a sim ilarresolution on June 18,2009,
     apologizingforthe ''fundamentalinjustice,cruelty,brutality,and
     inhum anity ofslavery''.It also explicitly statesthatitcannotbe used for
     restitution claim s.



     PoliticalLegacv


     A 2016 study,published in The Journalof Politics,finds that ''W hitesw ho
     currently Iive in Southern counties that had high sharesofslaves in 1860
     are m ore likely to identify asa Republican,oppose affirm ative action,and
     express racialresentm entand colderfeelingstow ard blacks.''The study
     contendsthat ''contem porary differences in politicalattitudes across
     counties in the Am erican South in parttrace theiroriginsto slavew 's
     prevalence m ore than 150 yearsago.''The authorsargue thattheir
     findings are consistentw ith the theow that ''follow ing the CivilW ar,
     Southern w hitesfaced politicaland econom ic incentives to reinforce
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     existing racistnorm s and institutionsto m aintain controloverthe new ly
     freed African Am erican population.Thisam plified localdifferences in
     racially conservative politicalattitudes,w hich in turn have been passed
     dow n Iocally across generationso''



     A 2017 study in the British JournalofPoliticalScience argued thatthe
     British Am erican colonies w ithoutslavery adopted betterdem ocratic
     institutions in orderto attract m igrantw orkersto theircolonies.



     Barbarv Pirptes


     Barbary piratesfrom North Africa began to seize North Am erican colonists
     asearly as 1625,and roughly 700 Am ericans w ere held captive in this
     region as slaves betw een 1785 and 1815.Som e captives used their
     experiencesas a North African slave to criticize slavery in the U nited States,
     such as W illiam Ray in his book Horrors ofSlavery.



     The Barbary situation Ied directly to the creation ofthe United States Navy
     in M arch 1794.W hile the United States m anaged to secure peace treaties,
     these obliged itto pay tribute forprotection from attack.Paym ents in
     ransom and tribute to the Barbary states am ounted to 20% ofUnited States
     governm entannualexpenditures in 1800.The FirstBarbary W arin 1801
     and the Second Barbary W arin 1815 led to m ore favorable peace term s
     ending the paym entoftribute.



     Distribution ofslaveholders

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       Enum erating slave schedules by county,393,975 named personsheld
     3,950,546 unnam ed slaves,foran average ofaboutten slavesperholder.
     Assom e large holdersheld slaves in m ultiple counties and are thus m ultiply
     counted,this slightly overestim atesthe num berofslaveholders.

       Excluding slaves,the 1860 U.S.population was27,167,529,yielding about
     1in70freepersons(1.5%)beingslaveholders.Bycountingonlynamed
     slaveow ners,this approach does notacknow ledge people w ho benefited
     from slavery by being in a slaveow ning household,e.g.the w ife and
     children ofan ow ner.Only 8% ofalIUSfam iliesowned slaves,while in the
     South,33% offam iliesow ned slaves.According to historian Joseph
     Glatthaar,the num berofsoldiersofthe Confederacy'sArm y ofNorthern
     Virginia w ho eitherow ned slavesorcam e from slave ow ning households is
     ''alm ost one ofevery tw o 1861 recruits''.In addition he notesthat,''Untold
     num bersofenlisteesrented land from ,sold cropstb,orworked for
     slaveholders.In the finaltabulation,the vastm ajority ofthe volunteersof
     1861 had a directconnection to slavery.''

       The distribution ofslavesam ong holdersw asvery unequal:holdersof
     200ormore slaves,constituting Iessthan 1% ofaIIUSslaveholders(fewer
     than 4,000 persons,1in7,000freepersons,or0.015% ofthe population)
     held an estimated 20-30% ofaIIslaves(800,000to 1,200,000slaves).
     Nineteen holders of500 orm ore slaves have been identified.The largest
     slaveholderw asJoshua John W ard,ofGeorgetow n,South Carolina,w ho in
     1850 held 1,092 slaves,and w hose heirs in 1860 held 1,130 or 1,131 slaves
     he w asdubbed ''the king ofthe rice planters'',and one of his plantations is
     now part ofBrookgreen Gardens.
     The percentage offam iliesthatow ned slaves in 1860 in variousgroupings
     ofstatesw as as follow s:

      15 states w here slavery w as Iegal

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     Alabam a,Arkansas,Delaw are,Florida,Georgia,Kentucky,Louisiana,
     M aryland,M ississippi,M issouri,North Carolina,South Carolina,Tennessee,
     Texas,Virginia 26%

     11 states thatseceded

     Alabam a,Arkansas,Florida,Georgia,Louisiana,M ississippi,North Carolina,
     South Carolina,Tennessee,Texas,Virginia 31%

     7 statesthatseceded before Lincoln'sinauguration

     Alabam a,Florida,Georgia,Louisiana,M ississippi,South Carolina,Texas 37%

     4 states thatseceded Iater

     Arkansas,North Carolina,Tennessee,Virginia      25%

     4 slave statesthat did not secede

     Delaw are,Kentucky,M aryland,M issouri    16%




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     one Day orotherforourSins:And as Freedom m ust be as dearto them as
     it isto us,w hata Scene ofHorrorm ustitbring about!And the Iongerit is
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     Section 2 ofArticle 1providesin part:


       Representatives and directtaxes shallbe apportioned am ong the several
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     bound to service fora term ofyears,and excluding Indians nottaxed,
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        Section 1.Neitherslavery norinvoluntary servitude,exceptas a
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      shallexistwithin the United States,orany place subjectto their
      jurisdiction.Section2.Congressshallhave powerto enforcethisarticleby
      appropriate legislation.
        -
            Thirteenth A m endm entto the United StatesConstitution



      * Including slavesstillheld in Tennessee,Kentucky,Kansas,New Jersey,
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     ExibitIl.

                                 LYNCHING S

       Lynching isa premeditated extrajudicialkilling by a group.ltismostoften
     used to characterize inform alpublic executions by a m ob in orderto punish
     an alleged transgressor,orto intim idate a group.It is an extrem e form of
     inform algroup socialcontrolsuch as charivari,riding the rail,and tarring
     and feathering,and often conducted w ith the display ofa public spectacle
     form axim um intim idation.Itis to be considered an actofterrorism and
     punishable by law .Instances ofIynchings and sim ilarm ob violence can be
     found in every society.

     ln the United States,lynchings ofAfrican Am ericans,typically by hanging,
     becam e frequentin the South during the period afterthe Reconstruction
     era and especially during the decadeson eitherside ofthe turn ofthe 20th
     century.Atthe tim e,Southern statesw ere passing new constitutions and
     Iaw sto disenfranchise African Am ericans and im pose legalsegregation and
     Jim Crow rule.M ostIynchingswere conducted by w hite m obsagainstblack
     victims,often suspectstakenfrom jailbefore they were tried by all-white
     juries,oreven before arrest.The politicalmessage- the promotion of
     w hite suprem acy and black pow erlessness- w as an im portantelem entof
     the ritual.Lynchings w ere photographed and published as postcards,w hich
     w ere popularsouvenirs in the U.S.,to expand the intim idation ofthe acts.
     Victim swere som etim esshot,burned alive,orotherw ise tortured and
     m utilated in the public events In som e casesthe m utilated body partsw ere
     taken as m em entos by the spectators.Particularly in the W est.

     Etvm ologv

     The origins ofthe w ord ''Iynch''are obscure,butit Iikely originated during
     the American revolution.The verb com esfrom the phrase ''Lynch Law t',a
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     term fora punishm entw ithouttrial.Tw o Am ericans during this era are
     generally credited forcoining the phrase:Charles Lynch and W illiam Lynch,
     w ho both Iived in Virginia in the 1780s.Charles Lynch hasthe betterclaim ,
     as he w as know n to have used the term in 1782,w hile W illiam Lynch is not
     know n to have used the term untilm uch Iater.There is no evidence that
     death w asim posed as a punishm ent by eitherofthe tw o m en. In 1782,
     CharlesLynch wrotethathisassistanthad adm inistered ''Lynch'sIaw''to
     Tories''forDealing w ith Negroesa''



     The origin ofthe term s lynching and Iynch Iaw istraditionally attributed In
     the United Statesto CharlesLynch,aVirginia Quaker.CharlesLynch(1736-
     1796)wasaVirginiaplanterandAmerican Revolutionarywho headed a
     county courtin Virginia w hich incarcerated Loyalist supporters ofthe
     British forup to one yearduring the w ar.W hile he Iacked proper
     jurisdiction,he claimed thisrightby arguing wartime necessity.
     Subsequently,he prevailed upon hisfriends in the Congressofthe
     Confederation to pass a Iaw thatexonerated him and his associatesfrom
     w rongdoing.He w as concerned thathe m ightface Iegalaction from one or
     m ore ofthose so incarcerated,even though the Am erican Colonies had
     w on the w ar.This action by the Congressprovoked controversy,and itw as
     in connection w ith thisthatthe term ''Lynch Iaw '',m eaning the assum ption
     ofextrajudicialauthority,cam e into com m on parlance in the United States.
     W nchw asnotaccused ofracistbias.He acquitted blacksaccused of
     m urderon three separate occasions.He w asaccused,how ever,ofethnic
     prejudice in hisabuse ofW elsh m iners.
     W illiam Lynch(1742-1820)from Virginiaclaimedthatthephrasewasfirst
     used in a 1780 com pactsigned by him and hisneighborsin Pittsylvania
     County.W hile EdgarAllan Poe claim ed that he found this docum ent,itw as
     probably a hoax.

     A l7th-century Iegend ofJam esLynch fitzStephen,w ho wasM ayorof
     Galw ay in Ireland in 1493,says thatw hen his son w as convicted ofm urder,
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     the m ayorhanged him from hisow n house. The story w as proposed by
     1904 as the origin ofthe w ord ''Iynch''.Itis dism issed by etym ologists, both
     because ofthe distance in tim e and place from the alleged eventto the
     w ord's laterem ergence,and because the incidentdid notconstitute a
     Iynching inthe m odern sense.

     The archaicverb linch,to beatseverely w ith a pliable instrum ent, to
     chastise orto m altreat,has been proposed as the etym ologicalsource;but
     there isno evidence thatthe word hassurvived into modern tim es, so this
     claim is also considered im plausible.



     Historv

     Rioters breaking into a parish prison during anti-ltalian Iynchings in New
     O rleans,Louisiana,in 1891

     Every society hashad formsofextrajudicialpunishments,including murder.
     The Iegaland culturalantecedentsofAm erican Iynching w ere carried
     acrossthe Atlantic by m igrantsfrom the British Isles to colonialNorth
     Am erica.Collective violence w asa fam iliaraspectofthe early m odern
     Anglo-Am erican legallandscape.G roup violence in the British Atlantic w as
     usually nonlethalin intention and result.In the seventeenth century, in the
     contextofpoliticalturm oilin England and unsettled socialand political
     conditions in the Am erican colonies,there arose rebellions and riots that
     took m ultiple Iives.In the United States,during the decades before the Civil
     W ar(sometimescalled theAntebellum era),free Blacks,Latinosinthe
     South W est,and runawayswere the objectsofracialIynching.
     But Iynching attacks on U.S.blacks,especially in the South, increased
     dram atically in the afterm ath ofReconstruction.afterslavery had been
     abolished and freed men gained the rightto vote.The peakofIynchings
     occurred in 1892,aftersouthern w hite Dem ocrats had regained controlof
     state Iegislatures.M any incidentswere related to econom ictroublesand
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      com petition.Atthe turn ofthe 20th century,southern states passed new
      constitutionsorlegislation w hich effectively disenfranchised m ost blacks
      and m any poorw hites,established segregation ofpublicfacilities by race,
      and separated blacksfrom com m on public Iife and facilitiesthrough Jim
      Crow rules.Nearly 3,500 African Am ericans and 1,300 w hitesw ere Iynched
      in the United States betw een 1882 and 1968.

     Lynching in the British Em pire during the 19th century coincided w ith a
     period ofviolence w hich denied people participation in w hite-dom inated
     societyon the basisofrace afterthe Em ancipation Actof1833.



     U nited States

     M ain article:Lynching in the United States

     Bodies ofthree m en Iynched in Georgia,M ay 1892.

     Lynchingstook place in the United States both before and afterthe
     Am erican CivilW ar,m ostcom m only in Southern states and W estern
     frontiersettlem ents and m ostfrequently in the Iate 19th century. Itw as
     perform ed w ithoutdue processofIaw by self-appointed com m issions,
     m obs,orvigilantes asa form ofpunishm entforpresum ed crim inal
     offences.Atthe firstrecorded Iynching,in St.Louis in 1835, a black m an
     named M clntosh who killed adeputy sheriffwhile beingtaken to jailwas
     captured,chained to a tree,and burned to death on a cornerIotdow ntow n
     in frontofa crow d ofover1,000 people.

     In the South in the antebellum era,mem bersofthe abolitionistm ovem ent
     orotherpeople w ho opposed slavery w ere som etim esvictim s ofm ob
     violence.The IargestIynching during the w arand perhapsthe largest
     Iynching in aIlofU.S.history,wasthe lynching of41 m en in the Great
     Hanging atGainesville,Texasin October1862.M ostofthe victim swere
     hanged afteranextrajudicial''trial''butatleastfourteen ofthem did not
     receive thatform ality.The m en had been accused ofinsurrection or
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     treason.Five m ore m en w ere hanged in Decatur,Texas as partofthe sam e
     sw eep.

     Afterthe w ar,southern w hitesstruggled to m aintain theirsocial
     dom inance.Secretvigilante and insurgentgroupssuch asthe Ku Klux Klan
      (KKK)instigatedextrajudicialassaultsand killingsinordertokeepwhitesin
     pow erand discourage freedm en from voting,w orking and getting
     educated.They also som etim esattacked Northerners,teachers,and agents
     ofthe Freedm en's Bureau.A study ofthe period from 1868 to 1871
     estim atesthatthe KKK w as involved in m ore than 400 Iynchings.The
     afterm ath ofthe w arw asa period ofupheavaland socialturm oil,in w hich
     m ostw hite m en had been w arveterans.M obs usually alleged crim esfor
     which they Iynched blacks.In the Iate 19th century,however,journalistIda
     B.W ells show ed thatm any presum ed crim esw ere eitherexaggerated or
     had noteven occurred.

     The Iynching of Laura Nelson in O kem ah,O klahom a,on M ay 25,1911

     From the 1890sonwards,the majority ofthose lynched were black,
     including at least 159 w om en.Betw een 1882 and 1968,the Tuskegee
     Institute recorded 1,297 Iynchings ofw hites and 3,446 Iynchingsofblacks.
     How ever,Iynchingsofm em bersofotherethnic groups,such as M exicans
     and Chinese,w ere undercounted in the Tuskegee Institute's records.O ne
     ofthe Iargest m ass Iynchings in Am erican history occurred in 1891,w hen a
     m ob Iynched eleven Italian im m igrants in New O rleans,Louisiana,follow ing
     theiracquittalon chargesthatthey had killed the Iocalpolice chief.The
     Iargest lynching w asthe Chinese m assacre of1871.

     M ob violence arose as a m eans ofenforcing w hite suprem acy and it
     frequently verged on system atic politicalterrorism .''The Ku Klux Klan,
     param ilitary groups,and otherw hites united by frustration and anger
     ruthlessly defended the interests ofw hite suprem acy.The m agnitude of
     the extralegalviolence w hich occurred during election cam paigns reached
     epidem ic proportions,leading the historian W illiam Gillette to Iabelit
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      guerrilla w arfare-''

     Body ofa Iynched black m ale,propped up in a rocking chairfora
     photograph,circa 1900.Painthasbeen applied to hisface,circulardisks
     glued to hischeeks,cotton glued to hisface and head,w hile a rod props up
     the victim 's head.

     During Reconstruction,the Ku Klux Klan and othersused Iynching asa
     m eans to controlblacks,forcing them to w ork forplantersand preventing
     them from exercising theirrightto vote.Federaltroops and courts
     enforcing the CivilRightsActof 1871 Iargely broke up the Reconstruction-
     era Klan.

     By the end ofReconstruction in 1877,w ith fraud,intim idation and violence
     atthe polls,w hite Dem ocrats regained nearly totalcontrolofthe state
     Iegislaturesacrossthe South.They passed Iaw s to m ake voterregistration
     m ore com plicated,reducing black voters on the rolls.In the Iate 19th and
     early 20th centuries,from 1890 to 1908,ten ofeleven Southern legislatures
     ratified new constitutions and am endm entsto effectively disenfranchise
     m ostAfrican Am ericans and m any poorw hites through devices such as poll
     taxes,property and residency requirem ents,and literacy tests.Although
     required ofalIvoters,som e provisionsw ere selectively applied against
     African Am ericans.In addition,m any states passed grandfatherclausesto
     exem ptw hite illiteratesfrom Iiteracy testsfora lim ited period.The result
     wasthatblackvoterswere stripped from registration rollsand w ithout
     politicalrecourse.Since theycould notvote,theycould notserve onjuries.
     They were withoutofficialpoliticalvoice.

     The ideology behind Iynching,directly connected w ith the denialofpolitical
     and socialequality,wasstated forthrightly by Benjam in Tillm an,governor
     ofSouth Carolina and latera United StatesSenator:

          W e ofthe South have neverrecognized the rightofthe negro to
     govern w hite m en,and w e neverw ill.W e have neverbelieved him to be
     the equalofthe w hite m an,and w e w illnot subm itto hisgratifying his Iust
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     on ourw ivesand daughters w ithoutIynching him .

     The Iynching ofAfrican Am erican W illJam es in Cairo,Illinois,on Novem ber
     11,1909.A crow d often thousand w atched the Iynching.

     Postcards ofthe 1920 Duluth,M innesota lynchings.Tw o ofthe black
     victim s are stillhanging w hile the third is on the ground.Postcards of
     Iynchingsw ere popularsouvenirs in the U.S.

     Lynchingsdeclined briefly afterthe takeoverin the 1870s.By the end ofthe
     19th century,w ith struggles overIaborand disenfranchisem ent,and
     continuing agriculturaldepression,Iynchings rose again.The num berof
     Iynchings peaked atthe end ofthe 19th century,butthese kindsof
     m urders continued into the 20th century.Tuskegee Institute recordsof
     Iynchingsbetween the years1880 and 1951 show 3,437 African-American
     victim s,asw ellas 1,293 w hite victim s.Lynchings w ere concentrated in the
      Cotton Belt(M ississippi,Georgia,Alabama,Texasand Louisiana).
     Due to the high rate oflynching,racism ,and Iack ofpoliticaland econom ic
     opportunities in the South,m any black southernersdecided to Iive outside
     the South to escape these conditions.From 1910 to 1940,1.5 m illion
     southern blacks m igrated to urban and industrialNorthern cities during the
     Great M igration such as New York City,Chicago,Detroit,Cincinnati,Boston,
     and Pittsburgh.The rapid influx ofsouthern blacks into the North disturbed
     the racialbalance w ithin Northern cities,exacerbating hostility between
     both black and w hite Northerners.M any w hitesdefended theirspace w ith
     violence,intim idation,orIegaltacticstow ard blacks,w hile m any other
     w hites m igrated to m ore racially hom ogeneous regions,a processknow n as
     w hite flight.Overall,blacks in Northern cities experienced system ic
     discrim ination in a plethora ofaspects of Iife.Throughoutthisperiod,racial
     tensions exploded,m ostviolently in Chicago,and Iynchings- m ob-directed
     hangings- increased dram atically in the 1920s.

      African Am ericans resisted through protests,m arches,Iobbying Congress,
      writingofarticles,rebuttalsofso-calledjustificationsofIynching,organizing
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      w om en'sgroups againstIynching,and getting integrated groups against
      lynching.African-Am erican playw rights produced 14 anti-lynching plays
      betw een 1916 and 1935,ten ofthem by w om en.

      Afterthe releaseofthemovieTheBirth ofaNation (1915),which glorified
      Iynching and the Reconstruction-era Klan,the Klan re-form ed.Unlike its
      earlierform ,itw as heavily represented am ong urban populations,
      especially in the M idw est.In response to a Iarge num berofm ainly Catholic
      and Jew ish im m igrantsfrom Southern and Eastern Europe,the Klan
      espoused an anti-im m igrant,anti-catholic and anti-lew ish stance,in
      addition to exercising the oppression ofblacks.

      M em bers ofm obsthat participated in Iynchingsoften took photographsof
      w hatthey had done to theirvictim s in orderto spread aw areness and fear
      oftheirpower.Som e ofthose photographswere published and sold as
      postcards.In 2000,Jam esAllen published a collection of145 Iynching
      photos in book form as w ellas online,w ith w ritten w ordsand video to
      accom pany the im ages.



      Dver Bill
      The DyerAnti-Lynching Billwasfirstintroduced tù the United States
      Congress in 1918 by Republican Congressm an Leonidas C.DyerofSt.Louis,
      M issouri.The billw aspassed by the United States House of
      Representatives in 1922,and in the sam e yearitw asgiven a favorable
      reportby the United States Senate Com m ittee.lts passage w as blocked by
      w hite Dem ocratic senatorsfrom the Solid South,the only representatives
      elected since the southern stateshad disenfranchised African Am ericans
      around the startofthe 20th century.The Dyer Billinfluenced lateranti-
      Iynching Iegislation,including the Costigan-W agnerBill.The Dyerand
      CostiganW agnerbillswereblocked bySenatorW illiam Borah (R-lD).
      As passed by the House,the DyerAnti-Lynching Billstated:
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       ''To assureto personswithinthejurisdiction ofeveryStatetheequal
     protection ofthe law s,and to punish the crim e oflynching....Be itenacted
     by the Senate and House of Representativesofthe United Statesof
     Am erica in Congress assem bled,Thatthe phrase 'm ob orriotous
     assem blagez'w hen used inthisact,shallm ean an assem blage com posed of
     three orm ore personsacting in concertforthe purpose ofdepriving any
     person ofhisIife w ithoutauthority ofIaw asa punishm entfororto prevent
     the com m ission ofsom e actualorsupposed public offense.''



     Decline and CivilRilhts M ovem ent
     W hile the frequency ofIynching dropped in the 1930s,therew asa spike in
     1930 during the GreatDepression.Forexam ple,in North Texasand
     southern O klahom a alone,fourpeople w ere Iynched in separate incidents
     in Iessthan a m onth.In his book Russia Today:W hat Can W e Learn from It?
     (1934),Sherwood Eddywrote:''lnthemostremotevillagesofRussiatoday
     Am ericansare frequently asked w hatthey are going to do to the
     Scottsboro Negro boys and w hy they Iynch Negroes.''A spike in lynchings
     occurred afterW orld W arIl,as tensions arose afterveterans returned
     hom e.W hitestried to re-im pose white suprem acy overreturning black
     veterans.The lastdocum ented m ass Iynching occurred in W alton County,
     Georgia,in 1946,w hen tw o w arveteransand theirw ives w ere killed by
      localw hite Iandow ners.
      By the 1950s,the CivilRights M ovem entw asgaining new m om entum .It
      w as spurred by the Iynching of Em m ettTill,a l4-year-old youth from
      Chicago w ho w as killed w hile visiting an uncle in M ississippi.His m other
      insisted on having an open-casketfuneralso thatpeople could see how
      badly herson had been beaten.The black com m unity throughoutthe U.5.
      becam e m obilized.Vann R.New kirk w rote ''the trialof his killers becam e a
      pageant illum inating the tyranny ofw hite suprem acy''.The state of
      M ississippitried tw o defendants,butthey w ere acquitted by an all-w hite
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     JurY.

     David Jackson w ritesthat itw as the photograph ofthe ''child's ravaged
     body,thatforced the world to reckon w ith the brutality ofAm erican
     racism .''Sovietm edia frequently covered racialdiscrim ination in the U.S.
     Deem ing Am erican criticism ofSovietUnion hum an rightsabuses atthis
     tim e as hypocrisy,the Russians responded w ith ''And you are lynching
     Negroes''.In Cold W arCivilRights:Race and the lm age ofAm erican
      Democracy (2001),the historian Mary L.DudziakwrotethatSoviet
      Com m unistcriticism ofracialdiscrim ination and violence in the United
      States influenced the federalgovernm entto supportcivilrights legislation.

     M ost,but notall,Iynchingsceased by the 1960s.The m urderofJam esCraig
     Anderson in M ississippiin 2011w asthe Iast recorded fatallynching in the
     United States.Jasm ine Richards w asconvicted of''Iynching''in 2016,but
     herconviction w asfor''taking by m eans ofa riot ofany person from the
      lawfulcustodyofapeaceofficer''(Californiapenalcode405a),notfor
      killing anybody.



      CivilriRhts Iaw
     Title 18,U.S.C.,Section 241,isthe civilrightsconspiracy statute,w hich
      makesitunlawfulfortwo ormore personsto conspireto injure,oppress,
     threaten,orintim idate any person ofany state,territory,ordistrictin the
     freeexerciseorenjoymentofanyrightorprivilegesecuredto him/herby
     theConstitutionortheIawsofthe UnitedStates(orbecauseofhis/her
     havingexercised thesame)andfurthermakesitunlawfulfortwoormore
      persons to go in disguise on the highw ay orprem ises ofanotherperson
      with intentto preventorhinderhisorherfree exercise orenjoym entof
      such rights.Depending upon the circum stances ofthe crim e,and any
      resultinginjury,theoffenseispunishablebyarange offinesand/or
      im prisonm entforany term ofyears up to Iife,orthe death penalty.
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      Felonv Ivnching
     The term 'felony Iynching'w as used in California Iaw .ltdescribed the actof
     taking som eone outofthe custody ofa police officerby ''m eansof riot''.It
     doesnotreferto the actoflynching,orm urderby physicalviolence.This
     statute hasbeen used to charge individualsw ho have tried to free
     som eone from police custody.There have been severalnotable cases in the
     tw enty-first century,som e controversial,w hen a black person has
     attem pted to free anotherblack person from police custody.In 2015,
     GovernorJerry Brow n signed Iegislation by SenatorHolly M itchellrem oving
     the w ord ''Iynching''from the state'scrim inalcode w ithoutcom m entafter
     it received unanim ous approvalin a vote by state Iaw m akers.M itchell
     stated,''lt'sbeen said thatstrong wordsshould be reserved forstrong
     concepts,and 'Iynching'has such a painfulhistory forAfrican Am ericans
     thatthe law should only use itforw hat it is- m urderby m ob.''The Iaw w as
     otherw ise unchanged.

      Efects
     A 2017 study found thatexposure to Iynchings in the post-Reconstruction
     South ''reduced localblack voterturnoutby roughly 2.5 percentage points.''
     There wasotherviolence directed atblacks,particularly in cam paign
     season.M ostsignificantly forvoting,from 1890 to 1908,southern states
     passed new constitutions and Iaw sthatdisenfranchised m ost blacks due to
      barriersto voterregistration.These actionshad m ajoreffects,soon
     reducing black voterturnout in m ostofthe South to insignificantam ounts.

     Another2017 study found supportive evidence ofStew artTolnay and E.M .
     Beck's claim that lynchingsw ere ''due to econom ic com petition betw een
     African Am erican and w hite cotton w orkers''.The study found that
     Iynchingsw ere associated w ith greaterblack out-m igration from 1920 to
     1930,and higherstate-levelw ages.
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                                   LYNCH ING



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       Lynching

         Lynchings in the State ofIow a

         Lynchings in Am erica

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      Eltiilit 111.

                          M ASS INCFRCERATION


      M ASS INCA RCERATIO N
      M ass incarceration is a term used to describe the substantialincrease in
      the num berofincarcerated people in the United States'prisonsoverthe
      pastforty years.The prison population ofthe United States dw arfs the
      prison population ofevery otherdeveloped country in the w orld,including
      countries Iike China and Russia.Since 1985,the num berofpeople
      im prisoned in the United States has risen drastically.
      The 13 Am endm ent rendered slavery illegalw ith the exception of
      prisoners.Afterslavery,m any Iaw sw ere passed in orderto targetthe black
      population in Am erica,such as the Jim Crow Iaw s,w hich w ere one ofthe
      m any tools used to allow the m arginalization ofblack people and Iead to
      m ass incarceration.Forexam ple,a grantw asfiled in 1995 thatoffered a
      m onetary rew ard to prisonsthatincreased theirprison population.There
      are currently 2.3 m illion African Am ercans incarcerated in the United
      States.

      BACKGRO UN D
      M ass incarceration began in the 1960s and 1970sw ith a rise in tough on
      crime approachesto criminaljustice and with deliberate imposed
      intentionally punitive sentences.This approach has increased both the
      numbersofpeople entering the criminaljustice system and how Iongthey
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     rem ain undercorrectionalcontrol.M uch ofthe justice system hasbeen
     criticized forit'sapproach to incarceration,asthe num berofpeople
     incarcerated fornon-violentoffenses is large.Forexam ple,in 2016 outof
     2.4 m illion people incarcerated 15,000 ofthem w ere m inors,12,000 of
     w hich w ere jailed foroffensesm ostAm ericanswould noteven considera
     crim e.They are behind barsbecause oftechnicalviolations.Technical
     violationsconstitute notbeing able to m eetprobation orparole
     requirem ents.3,000 m inorsare behind barsforstatus offenses,thatfor
     adults w ould noteven be considered crim es such as truancy,running aw ay,
     and incorrigibility.
      M ass incarceration is a w ay to furtherstratify the country along racialIines.
      The w ay in w hich being a felon alters one's Iife qualifiesas a w ay they
      becam e a stratified class ofpeople.Disadvantaged socialgroupsare m ore
      Iikely to go to prison,and the prison population in a w ay reflectstheirIack
      ofprivilege.Itstratifiespeople by incapacitatingthem in prison,and
      m aking them unableto laborand contribute to society through theirwork.
      Eroding theirability to w orkand properly socialize enforcestheirposition
      and stigmatization in society.

      STATISTICS
      M ass incarceration predom inantly affects people ofcolor.The rate of
      im prisonm entforblack m en in 2015 was2,613 per100,000,was1,043 per
      100,000 forLatino M en,yet itw as a m ere 457 per100,000 forw hite m en.
      ln 2016,the United States population w as 17% Latino and 13% African
      Am erican.The tw o groupsm ake up roughly 30% ofthe population but
      m ake up 60% ofthe united Statespopulation.Growth in incarceration is
      Iargely concentrated am ong young black m ales from im poverished inner-
      city neighborhoods.Incarceration ratesare atIeastfive timeshigherfor
       black m alesthan forw hite m ales across every age group.One in five black
       m alesface incarceration atsom e point in theiradult Iife.Since these
       num bers have show n thatthe prison industrialsystem disproportionately
       targetsthese com m unities,itis im possible to talk aboutm assincarceration
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      w ithouttalking aboutits im pacton m inority com m unities.

      THE W AR O N DRUGS

      The W aron Drugs policy is considered to be a significantcontributorto
      m ass incarceration.ln 1980,40,900 people w ere incarcerated in the United
      Statesfordrugsacrossstate,federal,and Iocaljails.In 2015,the num ber
      w as469,545,a 1048% increase over35 years.Drug offenses m ake up
      nearly halfofthe federalprison population butaccountforonly 15.7% of
      those incarcerated in state prisons.Around the m id 1980s,the United
      States'entered a phase population grow th w hich w as Iargely driven by
      policiesthatalligned w ith the w aron drugs.Severalfederallegislative
      initiatives passed during this period oftim e targeting drug offenders.Not
      only did the Iikelihood ofreceiving a sentence to im prisonm entincrease
      dram atically fordrug offenders overthis period,butso too did the Iength
      ofsentence they could expectto serve.

      SCHO O LTO PRISO N PIPELINE

      The term schoolto prison pipeline also known asthe schoolhouse to jail
      track is a conceptthatw as nam ed in the 1980s.The schoolto prison
      pipeline idea that a school's harsh punishm entsw hich typically push
      students outofthe classroom lead to the crim inalization ofstudents'
      m isbehaviorsand result in increasing a student's probability ofentering the
      prison system .Although the schoolto prison pipeline is aggravated by a
      com bination ofingredients,zero-tolerance policies are view ed as m ain
      contributors.

      W O M EN IN PRISO N
      W hile a significant num berofw om en are im prisoned for m inoroffenses
      there are also m any socialfactorsthatIead up to theirdetainm ent,
      particularly in w om en ofcolor.Given theirhistory ofsocialexclusion,it
      seem s alm ostcertain thatthe socialcondition African Am erican w om en
      face priorto theirincarceration is m arked by extrem e pow erlessness.
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      Approxim ately 55% ofw om en in prison are serving fortheirfirstprison
      sentence.African Am erican wom en are the Iargestgroup to be
      incarcerated asa resultofdrug crim es.
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                                 M ASS INCARCERATIO N


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      choose Iistsofcountries by region,orthe w hole w orld.Use m enu to select
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      percentageofpre-trialdetainees/remand prisoners,percentageoffemale
      prisoners,percentage offoreign prisoners,and occupancy rate.Colum n
      headings in W PB tables can be clicked to reordercolum ns Iow estto
      highest,oralphabetically.Fordetailed inform ation foreach country click
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       on any country nam e in Iists.See also the W PB m ain data page and click on
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                                             4
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       m illion U.S.inm ates and 9.8 m illion inm atesw orldw ide. The U.S.held
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      Exibit IV.

                               ECONOM IC INEQUALITY
          In the United States,despite the efforts ofequality proponents,
     incom e inequality persistsam ong races and ethnicities.Asian Am ericans
     have the highestaverage incom e,follow ed by w hite Am ericans, Latino
     Am ericans,African Am ericans,and Native A m ericans.A variety of
     explanationsforthese differences have been proposed- such as differing
     accesstoeducation,two parenthomefam ilystructure (70% ofAfrican
     Americanchildrenare bornoutofwedlock),highschooldropoutratesand
     experience ofdiscrim ination- and the topic is highly controversial.



     W hen the CivilRights Actof1964 w as passed,it becam e illegalfor
     em ployersto discrim inate based on race;however,income disparitieshave
     notflattened out.Afterthe passage ofthe act,the wage gap form inority
     groupsnarrowed,both in absolute differencew ith w hite wagesand asa
     percentage ofw hite w ages,untilthe m id-1970s;atthistim e,progress for
     m any racialm inoritiesslowed,stopped,orreversed.Asof2009,the
     m edian w eekly w age forAfrican Am erican and Hispanic w orkersw as about
     65 percentand 61 percentthat ofw hite w orkers,respectively.Asian
     w orkers'm edian w age w as about 110 percentthatofw hite
     w orkers.overall,m inority w om en's w ages in com parison to those ofw hite
     w om en are betterthan m inority m en'sw agesw hen com pared to those of
     w hite m en.



     W ages from the Iaborm arketare the prim ary source ofincom e form ost
     fam ilies in Am erica,and incom e isa socio-dem ographic status indicator
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      that is im portant in understanding the building ofw ealth.



      Historv pfthe Rp-ciglW age Gap


        The docum ented history ofthe RacialW age Gap in the United Statesgoes
      backbefore the CivilRightsAct,w here m any modern causesofracialwage
      inequity,such aseducationaldisparities and discrim ination,stem from
      w ere even m ore prevalent.Public state records from the 1930s indicate
      white ownedschoolsinthe southspentapproximately$61dollarsper
      student,or$1,074.14 in 2018 dollarswhenadjusted forinflation,compared
      tojust$9 perstudent,or$158.48in 2018dollars.Simultaneously,the same
      schools saw a discrepancy in schooltim e,w ith w hite schools in sessionsfor
      156 days on average,com pared to 123 days on average forblack schools.



      However,asidefrom statisticsofwage discrepancy between black
      individuals and theirw hite counterparts,m uch isstillunknow n ofw age
      inequity due to a Iack ofIiterature w ith solid em piricaldata to link data
      w ith an accurate m odelofw age discrim ination.Subjectto debate during
      the 1970s and 80s in the scholarly com m unity w asthe Iink betw een
      geographicalIocation and w age inequality.Follow ing urban-dom inated
      studiesand shifting research based on evolved conceptualand study driven
      thinking,sociologists determ ined thatthe racialcom position ofa local
      population m eansfora key elem entin racialw age inequality.Am ong other
      factors,studies perform ed by Leslie M callindicate im m igration population
      density asone ofthe Ieading factors in racialw age inequality.W hile black
      im m igrantearningsdo notdeviate from the already substandard average
      earnings,num berson Hispanicand Asian im m igrantearningssuggestm ore
      extensive negative effects,especially in areas ofhigh im m igration density.
      Hispanic and Asian w om en,in particular,are show n to be m ost affected;
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     Hispanic and Asian w om en are show n to fillIess skilled,dom estic service
     jobswhere the concentration oftheirblackand white counterpartsare
     low er.Such barrierssuch as language show that such Iarge dom inance of
     im m igrantpopulation in such sectors only breed com petition betw een
     Iow er-earning groups,furtherIow ering average w agesforsuch fam ilies.
     Since 1980,studies have found that,conversely,such Iow earning Iabor
     m ay actually boostthe econom y asa w hole,keeping m any corporations
     and higherIeveljobsafloatwith cheap skilled work,boostingthe salariesof
     native born hispanicsand w hites alike.



     Historically,there have been links in the discrepancies betw een notonly
     earningsfrom Iabor,but in the benefits received voluntarily from
     em ployers asw ell.Benefits include health care,pensions,holiday and
     vacation days,am ong othergovernm ent m andated and voluntary benefits.
     Studiesdone by TaliKristaland Yinon Cohen show the Iink betw een such
     w age inequality and benefits received,w ith em piricalevidence show ing a
     steady degradation ofbenefits received forthose ofdifferentethnic
     groups.Asof2015,32% ofw orkers received benefits-including both
     m andatory and voluntary -from theirem ployers,up from 28% in 1980.As
     of2015,44% ofw hite em ployees received pension benefits,com pared 36%
     forblacksand 28% forHispanic em ployees.HeaIth care show ed sim ilar
     trends,asthe 2015 health coverage ratesforw hite,black,and hispanic
     em ployeessitat60% 55% and 46% respectively.


     Causes



       Studies ofthe w age gap forvarious m inority races in the United States
     have revealed a num beroffactorsthatcontribute to the differences in
     w agesobserved betw een w hite Am ericans and Am ericans ofother races.
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     The factorscontributing to the w age gapsforvarious racesand the degree
     to w hich they affecteach race varies,but m any factorsare com m on to
     m ostoraIIraces.



      Educationalpi,pprities


       Education being one ofthe Ieading determ inantsofw age,contributes in
     a sim ilarm annerto the racialw age gap.Varying education Ievels am ong
     races Iead to differentw agesforvarious racialgroups.Education affects
     wagesbecause itallowsaccessto occupationsofhigherstatusthatoffer
     greaterearnings.M ary C.W aters and KarlEschbach studied the decrease in
     the black-w hite w age gap from the 1940sthrough the 1970s and found the
     prim ary reason forthe decrease in the w age gap to be the narrow ing ofthe
     education gap betw een blacksand w hites.



     W hen the education ofdifferentgroupsbecom es m ore equal,w age gaps
     decrease,though they do notdisappear.A 2017 study found thatthe boost
     to earningsfrom Iegaleducation w as Iow erform inoritiesthan forw hites,
     although allgroupstypically benefited from additionaleducation.



     OccupationglDistribution Disparitie,

     Distribution ofUS occupations by race.



     The occupation distribution ofem ployed persons in the United States,
     1997.
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      The w ay in w hich races are distributed throughoutoccupations affects the
      racialw age gap.W hite and Asian Am ericans,w ho have the highestm edian
      incom es,are concentrated m ore in professional,executive,and m anagerial
     occupationsthan blacks,Hispanics,orAm erican Indians.Blackand Hispanic
     workersare notonly m ore Iikelyto workin blue-collarorservice jobs,but
     theytendto beconcentrated inthelower-wage/skilledjobs,such as
     operators,fabricators,and laborers,ratherthan higher-paying precision
     production and craftjobsw ithin those categories.Even atsim ilarIevelsof
     education,m inorities m ightw ork in Iess prestigious roles.Forexam ple,
     am ong Iaw schoolgraduates,m inoritiesare about 10 percentIess Iikely
     than w hites to practice Iaw .



     O ccupationaldistribution variesforw om en ofvarious racesas w ell.W hite
     and Asian w om en are m ore Iikely to w ork in m anagerialand professional
     occupations,w hile black,Hispanic,and Am erican lndian W om en are m ore
     likely to w ork in service occupations.Thus,because certain races are m ore
     Iikelyto have Iower-payingjobs,gapsin median incomesbetween races
     arise.



     A study conducted by Kenneth Couch and M ary Daly found thatthe
     occupationaldistribution between blacksand white im proved between
     1970 and the 1990s.In 1968,a black m ale wasonly 20 percentasIikely to
     be em ployed as a m anagerasa w hite m ale and only 40 percent as Iikely to
     w ork in a professionaloccupation.In 1998,the percentages increased to
     50% and 70 percent,respectively.Despite this im provem ent,how ever,
     occupationaldistribution differencesstillexistbetween blacksand whites.
     In 1998,a black m ale w asstillm ore likely than a w hite m ale to w ork in
     Iower-skillsjobsand IessIikelythan a white male to work in high-paying
     jobs.
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     Geolraphic Distribution


       The distance between jobsand the Iocation ofm inorities'hom esaffects
     the ability ofm inoritiesto find profitable work.Saskia Sassenfound that
     the redistribution ofm anufacturingjobsoutofcentralcitiesin the 1980s
     negatively affected the wage gap betw een blacksand w hitesbecause m ost
     blacks Iive in cities.



     Elient Chanpeling


       W hen w age gaps in occupationsforblacksand w hitesare com pared, itis
     observed thatoccupationsthatdepend on socialnetw orking forsuccess
     tend to have the Iargestracialdisparities,w hile occupationsin w hich
     successdoes notdepend on the type ofclientsserved tend to have the
     Ieast racialdisparities.This difference has been attributed to em ployee
     channeling,orthe assignm ent by w hite em ployersofm inority em ployees
     to serve m inority clients.The im plicationsofem ployee channeling fora
     black realestate agent,forexam ple,w ould be thatthey disproportionately
     served black clients and neighborhoods,resulting in Iow ersales
     com m issions.In thisw ay,em ployee channeling,identified as a socialform
     ofdiscrim ination,contributes to the w age gap.



     g-isçrim inetion


       W hen hum an capital,skills,and otherfactorscontributing to the racial
     wage gap are taken into account,m any researchersfind thatthere isstilla
     portion ofthe racialw age gap that is unexplained.M any attribute thisto
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      anotherfactor:race.Differences in w agesdue solely to race is racial
      discrim ination.Through the use ofstatisticalcontrols,sociologistsand
      econom ists ''ask w hethera given person w ith the sam e background
      characteristics,such as levelofeducation,region ofresidence, gender,
      m aritalcharacteristics,has the sam e earnings asa statistically equivalent
      personfrom adifferentracial/ethnicgroupl'.Differencesthatemerge are
     taken asevidence ofracialdiscrim ination.Research hasfound w age and
     em ploym entdiscrim ination againstblacks,Native Am ericans,Hispanics,
     and Asians;how ever,discrim ination has been found to be a m uch larger
     contributing factorforblack w ages than w ages ofotherraces    .




     A studyconducted by Grodsky & Pager(2001)foundthatindividual
     attributes,such ashum an capitaland region,accountforjustm ore than
     halfofthe black-w hite w age gap,and an additional20 percent is due to
     differentoccupationaldistributions betw een blacksand w hites. The
     remaining portion ofthe wage gap notaccounted forby individualand
     occupationaldistribution factorsisthoughtto be due,atIeastin part,to
     discrim ination.



     Discrim ination based on race hasbeen found in otherresearch aswell.
     Seventy-four percentofem ployers in one study w ere found to be racially
     biased against blacks,and blacks have been found to m ake low erw ages
     than w hites w orking in the sam e industry.W hite Latinos earn higherw ages
     than nonw hite Latinos,regardlessofw hetherthey are native orim m igrant,
     suggesting possible discrim ination based on skin color.Additionally,m any
     em ployersopenly adm itto discrim inating againstblacksand w orkers in the
     innercity,asonestudyby Kirschenmanand Neckerman(1991)found.
     Hiring audits have also found discrim ination in the Iaborm arket.Blacks and
     whiteswho have the same credentialsreceive jobsata rate of3:1.
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     Specific Races


       W age gaps have been identified form any racesw ithin the United States;
     how ever,research hasfound thatthe size and causes ofthe w age gap
     differs by race.Forinstance,the m edian black m ale w orkerearns74
     percentas m uch as the m edian w hite m ale w orker,w hile the m edian
     Hispanic m ale w orkerearns only 63 percentas m uch.To understand m ore
     fully and accurately the subjectofthe racialwage gap in the United States,
     it is usefulto Iook at different races individually to understand the causes
     and outcom es that are unique to them .

     Com parison ofearnings by race,1970 and 1997.

      Blackand Hisjanic M ale Earningsasa Percentage ofW hite M ale Earnings,
      1979 and 1997.

      Com parison ofw eekly earningsby race,1965-1995.

      Com parison ofw eekly earnings by race,1965-1995.



      Black


        The CivilRightsActof 1964,w hich forbade em ployersfrom
      discrim inating on the basis ofrace,w asone ofthe earliest and greatest
      influences on the black-w hite w age gap.The act,along w ith the econom ic
      prosperity ofthe 1960s,contributed to rising black w ages,increased
      education forblacks,and increased returnsto education.Indeed,in 1940,
      w eekly w ages ofthe average black m ale w ere only 48.4 percentthatofthe
      average w hite m ale.In 1990,that had risen to 75 percent,a 60 percent
      im provem ent overfive decades.
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     From the ending ofIegalsegregation through the m id-1970s,the black-
     white wage gap continued to narrow.However,from the m id-1970suntil
     alm ost1990,progress in w age equality greatly slow ed.From 1968-1979,
     the black-whitew age gap decreased by an average of1.2 percenteach
     year.During the 80s,how ever,it increased .24 percenteach year.During
     the 1990s,the black-w hite w age gap decreased .59 percenteach year.This
     proportionaldecrease w as also accom panied by a decrease in the absolute
     difference ofblack and w hite w ages.



     Analyses have uncovered som e ofthe underlying influences in the
     im provem entsofthe black-w hite w age gap.During the decadesofprogress
      (the 1970sand 1990s),30 percentofthewagegap convergencecan be
      attributed to changes in black education and experience.M ore equalization
      in em ploym entdistribution also influenced the convergence during those
      decades.Factors identified as contributing to decreases in w age gap
      convergence include ''shifts in industry dem and,greateroccupational
      crow ding,relative deterioration ofunobservable skills in blacks,and rising
      overallm ale w age inequalityl'.



     The decline ofthe black-w hite w age gap in the 1990s w asgreatestfor
     those w ho have Iessthan 10 yearsofpotentialexperience,forw hom it
     decreased 1.40 percentperyear.Kenneth Couch and M ary C.Daly reportin
     their2002 study on black-w hite w age inequality thatthese decreasesare
     the result ofgreateroccupationaldiversity and reductions in unobserved or
     residualdifferences.In the firstdecade ofthe tw enty-firstcentury,the
     w age gap hasfluctuated in term softhe ratio betw een black and w hite
     w ages:67.7 percentin 2000,64.0 percentin 2005,67.5 percent in 2008,
     and 64.5 percentin 2009.The absolute difference in black and w hite
     w ages,how ever,has decreased overthis period.
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      Black Am ericans now num ber47 m illion,12.9% ofthe totalpopulation.As
      of2009,the medianblackmale incomewas$23,738,comparedtothe
      medianwhite non-Hispanicmale incomeof$36,785.


      W hile progress in w age inequality forblacks has been m ade since the
      passage ofthe 1964 CivilRightsActs,inequality and discrim ination still
     exist.A studyconductedby MajorG.Coleman (2003)reportsthatasblack
     and w hite m en have m ore sim ilarcom petitive performance ratings,racial
     w age differences increase ratherthan decrease.He also found thatblack
     w agesare Iessthan w hite w ages in the sam e industry.W hen no factors
     otherthan race are considered,Colem an predicts the black hourly w age to
     be$7.49andthewhitehourlywageto be$8.92,19percenthigherthanthe
     black hourly w age.W hen Colem an controlled forhum an capital,such as
     education and skills,the difference decreased to 11 percent.Colem an
     attributed this 11 percentdifference to racialdiscrim ination.



     Grodsky and Pageralso calculated w age differences,and found blacks to
     make$3.65Iessperhourthanwhitesinthe privatesectorand $2.85 Iessin
     the public sector.Using statisticalregressions,they found thathum an
     capital,region,and m aritalstatusaccountfor55 percentofthe w age gap
     difference.An additional20 percent ofthe w age gap w as attributed to
     differencesin occupationaldistributionsbetw een blacksand whites.Thus,
     25 percentofthe w age gap w as unaccounted forby their'm odel.



     Black w om en experience m ore w age equality in com parison to w hite
     w om en than black m en do to w hite m en.By the m id-1970s,w agesfor
     black and w hite w om en w ere alm ostequal;how ever'since then,black
     wom en'swageshave decreased about10 percentrelative to w hite
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      w om en's w ages.This difference thatem erged has been attributed to the
      increase ofw hite w om en in the Iaborforce follow ing the m id-1970s.



     It has been suggested thatw hen m ore w hite w om en began w orking, the
     advantagesofblack w om en from unm easured differences in Iaborforce
     attachm entdisappeared,revealing a racialw age gap.W hile an overall
     w age gap appeared betw een black and w hite w om en,by 1980, the
     earnings ofblack w om en w ith college degreessurpassed those ofw hite
     w om en w ith college degrees.An understanding ofthe earnings ofblack
     w om en has recently becom e recognized asan im portantarea ofresearch
     due to role that black w om en traditionally have in term soffam ily incom e:
     black m arried couplestypically have relied m ore on w om en's earningsthan
     otherracesand the percentage ofsingle-parent, fem ale-m aintained
     fam ilies is highestam ong the black population.
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      gotbeatonly by Turkey,M exico,and Chile.That's asm eayured by the Gini
      coefficient,and including taxes and governm enttransferpaym ents.''Note:
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      the w orld econom y.In the three decadesfollow ing W orld W arII,now
      considered a golden age ofcapitalism ,econom ic grow th w ashigh and
      incom e inequality decreasing.Butin the m id-1970sthissocialcom pact w as
      broken asthe w orld econom y entered the stagflation crisis,follow ing a
      decline in the profitability ofcapital.Thiscrisisopened a new phase of
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      ExibitV.



                                      REDLIN ING
       ln the United States,redlining isthe system aticdenialofvariousservices
     to residents ofspecific,often racially associated,neighborhoodsor
     com m unities,eitherdirectly orthrough the selective raising ofprices.
     W hile the bestknow n exam ples ofredlining have involved denialof
     financialservicessuch as banking orinsurance,otherservices such as
     health care oreven superm arkets have been denied to residents In the
                                                                      .


     case ofretailbusinesses Iike superm arkets,purposely Iocating im practically
     faraw ay from said residents results in a redlining effect.Reverse redlining
     occurswhen a lenderorinsurertargetsparticularneighborhoodsthatare
     predom inantly nonw hite,notto deny residents loans orinsurance, but
     ratherto charge them m ore than in a non-redlined neighborhood w here
     there ism ore com petition.



     ln the 1960s,sociologistJohn M cKnight coined the term ''redlining''to
     describe the discrim inatory practice offencing offareasw here bankswould
     avoid investm ents based on com m unity dem ographics.During the heyday
     ofredlining,the areas m ostfrequently discrim inated againstw ere black
     innercity neighborhoods.Forexam ple,in Atlanta in the 1980s,a Pulitzer
     Prize-w inning series ofarticles by investigative reporter BillDedm an
     show ed that banks w ould often lend to low er-incom e w hites but notto
     m iddle-incom e orupper-incom e blacks.The use ofblacklistsisa related
     m echanism also used by redlinersto keep track ofgroups,areas,and
     people thatthe discrim inating party feelsshould be denied businessoraid
     orothertransactions.In the academ ic Iiterature,redlining falls underthe
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      broadercategory ofcredit rationing.



      United States


       Separate butequalSundow n tow n BlackCodes1im Crow Iaw sAuto-
     segregation Residentialsegregation Housing segregation Blockbusting
     Racialsteering Redlining Schoolsegregation



       Although inform aldiscrim ination and segregation had existed in the
     United States,the specific practice called ''redlining''began w ith the
     NationalHousing Actof1934,which established the FederalHousing
     Administration(FHA).Racialsegregationand discrimination against
     m inorities and m inority com m unities pre-existed this policy.The
     im plem entation ofthis federalpolicy aggravated the decay of m inority
     inner-city neighborhoodscaused bythe w ithholding ofmortgage capital,
     and m ade iteven m ore difficultforneighborhoodsto attract and retain
     fam iliesable to purchase hom es.The assum ptionsin redlining resulted in a
     large increase in residentialracialsegregation and urban decay in the
     United States.



     In 1935,the FederalHomeLoan BankBoard (FHLBB)asked HomeOwners'
     LoanCorporation (HOLC)to Iookat239citiesand create ''residential
     security m aps''to indicate the levelofsecurity forreal-estate investm ents
     in each surveyed city.O n the m aps,the new estareas- those considered
     desirable forIending purposes- w ere outlined in green and know n as
     ''Type A''.These w ere typically affluentsuburbs on the outskirtsofcities.
     ''Type B''neighborhoods,outlined in blue,were considered ''StiIIDesirable''#
     w hereas older''Type C''w ere labeled ''Declining''and outlined in yellow .
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     ''Type D''neighborhoods w ere outlined in red and w ere considered the
     m ostrisky form ortgage support.These neighborhoodstended to be the
     olderdistricts in the centerofcities;often they w ere also black
     neighborhoods.llollpage needed)Urban planning historianstheorizethat
     the m apsw ere used by private and public entitiesforyears afterw ard to
     deny Ioansto people in black com m unities.But,recent research has
     indicated thatthe HOLC did notredline in its ow n Iending activities and that
     the racistlanguage reflected the bias ofthe private sectorand experts
     hired to conductthe appraisals.



     Som e redlined m apsw ere also created by private organizations,such as
     J.M .Brew er's 1934 m ap ofPhiladelphia.Private organizationscreated m aps
     designed to m eetthe requirem ents ofthe FederalHousing Adm inistration's
     underw riting m anual.The Ienders had to consider FHA standardsifthey
     w anted to receive FHA insurance fortheirloans.FHA appraisalm anuals
     instructed banks to steerclearofareasw ith ''inharm onious racialgroups'',
     and recom m ended thatm unicipalitiesenact racially restrictive zoning
     ordinances.



     Follow ing a NationalHousing Conference in 1973,a group ofChicago
     com m unity organizationsled by The Northw estCom m unity Organization
     (NCO)formed NationalPeople'sAction (NPA),to broadenthefightagainst
     disinvestm ent and m ortgage redlining in neighborhoods aIIoverthe
     country.This organization,Ied by Chicago housew ife Gale Cincotta and Shel
     Trapp,a professionalcom m unity organizer,targeted The FederalHom e
     Loan Bank Board,the governing authority overfederally chartered Savings
     & Loan institutions(S&L)thatheld atthattimethebulkofthecountry's
     hom e m ortgages.NPA em barked on an effortto build a nationalcoalition
     ofurban com m unity organizations to passa nationaldisclosure regulation
     orlaw to require banksto revealtheirIending patterns.
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     Form any years,urban com m unity organizationshad battled neighborhood
     decay by attacking blockbusting,forcing landlordsto m aintain properties,
     and requiring citiesto board up and teardown abandoned properties.
     These actionsaddressed the short-term issuesofneighborhood decline        .

     Neighborhood Ieaders began to Iearn thatthese issues and conditionsw ere
     sym ptom s ofa disinvestm entthatw asthe true,though hidden, underlying
     cause ofthese problem s.They changed theirstrategy asm ore data was
     gathered.



     W ith the help ofNPA,a coalition ofIoosely affiliated com m unity
     organizations began to form .Atthe Third AnnualHousing Conference held
     in Chicago in 1974,eight hundred delegates representing 25 states and 35
     citiesattended.The strategy focused on the FederalHom e Loan Bank
     Board (FHLBB),whichoversaw S&L'sin citiesaIIoverthecountry.


     ln 1974,Chicago'sM etropolitanAreaHousingAssociation(MAHA),made
     up ofrepresentativesoflocalorganizations,succeeded in having the Illinois
     State Legislature pass Iaw s m andating disclosure and outlaw ing redlining. In
     M assachusetts,organizers allied w ith NPA confronted a unique situation      .


     Over90% ofhom e m ortgagesw ere held by state-chartered savingsbanks.
     A Jam aica Plain neighborhood organization pushed the disinvestm ent issue
     into the statew ide gubernatorialrace.The Jam aica Plain Banking &
     M ortgage Com m ittee and its cityw ide affiliate,The Boston Anti-redlining
     Coalition (BARC),wonacommitmentfrom Democraticcandidate Michael
     S.Dukakis to orderstatew ide disclosure through the M assachusettsState
     Banking Com m ission.AfterDukakisw as elected,hisnew Banking
     Com m issionerordered banksto disclose m ortgage-lending patternsbyZIP
     code.The suspected redlining w as revealed.
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      NPA and its affiliates achieved disclosure ofIending practices w ith the
      passage ofThe Hom e M ortgage Disclosure Act of1975.The required
      transparency and review ofloan practices began to change Iending
      practices.NPA began to w ork on reinvestm entin areasthat had been
      neglected.Theirsupporthelped gain passage in 1977 ofthe Com m unity
      Reinvestm entAct.



      Ef ects


        As a consequence ofredlining,neighborhoods thatIocalbanksdeem ed
      unfitforinvestm entw ere Ieftunderdeveloped orin disrepair.Attem pts to
      im prove these neighborhoodsw ith even relatively sm all-scale business
      venturesw ere com m only obstructed by financialinstitutions that
      continued to labelthe underw riting astoo risky orsim ply rejected them
      outright.W hen existing businesses collapsed,new onesw ere notallow ed
      to replace them ,often leaving entire blocksem pty and crum bling.
      Consequently,African Am ericans in those neighborhoods w ere frequently
      Iim ited in theiraccessto banking,healthcare,retailm erchandise,and even
      groceries.



      Redlining paralyzed the housing m arket,Iow ered property values in certain
      areasand encouraged landlord abandonm ent.Asabandonm entincreased,
      the population density becam e low er.Abandoned buildings served as
      havensfordrug dealing and otherillegalactivity,increasing socialproblems
      and reluctance of people to invest in these areas.Because areas w ere
      redlined residents in them w ere unable to obtain Ioansto im prove their
      hom esorgetIoansto m oveto a differentarea.Obviously,the
      neighborhoods had zero investm entw hile neighborhoods around them
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     im proved.W hen the G IBillw as created during W orld W arIl, veteransw ho
     once Iived in redlined areas w ere unable to getzero interest Ioansto build
     new hom es Iike the restofthe returning soldiers.This forced them to stay
     in the areasthatw ere poorand uninvested in w hile the restofAm erica
     w as grow ing and m oving to the suburbs.Around the sam e tim e the GIBill
     w ascreated,the FederalHighw ay Actw as also created.Because the areas
     thatwere redlined w ere so poor,m any citieschoseto destroy these areas
     to create the highw ays.The residents w ere displaced and forced to m ove
     into differentuninvested neighborhoodsw hile theirhom esand businesses
     w ere destroyed by the highw ays.



     A 2017 study by FederalReserve Bank ofChicago econom istsfound that
     the practice ofredlining- the practice w hereby banks discrim inated against
     the inhabitants ofcertain neighborhoods- had a persistentadverse im pact
     on the neighborhoods,w ith redlining affecting hom eow nership rates,
     hom e values and credit scoresin 2010.Since m any African-Am ericans could
     notaccessconventionalhom e Ioans,they had to turn to predatory Ienders
     (who charged high interestrates).Dueto lowerhome ownershiprates,
     slum lordsw ere able to rent outapartm entsthatw ould otherw ise be
     ow ned.

     Black -W hite W eaIth Gap


      This structuralracism actively helped to create w hat is now know n asthe
     Black -W hite w ealth gap w e see in Am erica today.W ealth is w hat
     provides/allowsopportunityfortheAmerican Family.A familycansurvive
     on an incom e alone butwealth iswhatprovidesforeconom ic m obility and
     safety in the eventofan em ergency.This prim ary difference is w hatw orks
     tosetapartpeopleofcolor(inparticularblackAmericans)andaffluent
     w hite Am ericans.Unfortunately,w ealth is unevenly distributed on a basis
     ofrace,a processthen can be traced backto tim esofslavery,allowing
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     w hitesto profitoffbodies ofan enslaved people,w ho w ere notallow ed to
     Iive freely orbuild any w ealth ofsom e sort.Then,shortly afterw e
     experience Jim crow ,redlining,prison-industrialcom plex and m ass
     incarceration,environm entalracism ,Iaw and policy that prohibit people of
     colorfrom having the sam e Iiberties astheirw hite counterparts.History
     show s an Am erica builtoffthe oppression ofa disenfranchised people w ho
     have no directrelationship to pow erand w ealth.



     Studies show that:

       BlackfamiliesinAmericaearnjust$57.30forevery$100 in income
     earned by w hite fam ilies,according to the Census Bureau's Current
     PopulationSurvey.Forevery$100 inwhitefamilywealth,blackfamilies
     holdjust$5.04.


       ln 2016,the medianwealthforblackand Hispanicfamilieswas$17,600
     and $20,700,respectively,compared withwhitefam ilies'medianwealthof
     $171,000.


       The black-white wealth gap hasnotrecovered from the GreatRecession.
     In 2007,im m ediately beforethe GreatRecession,the m edian wealth of
     blacksw as nearly 14 percentthatofw hites.Although black w ealth
     increased ata fasterrate than w hite w ealth in 2016,blacks stillow ned Iess
     than 10 percentofw hites'w ealth atthe m edian.



     Challenges

     Courtsystem

       The U.S.Departm ent ofHousing and Urban Developm entannounced a
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     $200 millionsettlementwithAssociated Bankoverredliningin Chicago and
     M ilw aukee in M ay 2015.The three-year HUD observation Ied to the
     com plaintthatthe bank purposely rejected mortgage applicationsfrom
     black and Latino applicants.The finalsettlem ent required AB to open
     branchesin non-white neighborhoods,justIike HSBC.


     New York Attorney GeneralEricSchneiderm an announced a settlem ent
     with EvansBankfor$825,000 onSeptember10,2015.Aninvestigation had
     uncovered the erasure ofblack neighborhoodsfrom m ortgage Iending
     m aps.According to Schneiderm an,ofthe over1,100 m ortgage applications
     the bank received betw een 2009 and 2012,only fourw ere from African
     Am ericans.Follow ing this investigation,the Buffalo New s reported that
     m ore banks could be investigated forthe sam e reasons in the nearfuture.
     The m ostnotable exam plesofsuch DOJand HUD settlem ents have focused
     heavily on com m unity banks in Iarge m etropolitan areas,but banks in other
     regionshave beenthe subjectofsuch ordersaswell,including FirstUnited
     Security Bank in Thom asville,Alabam a,and Com m unity State Bank in
     Saginaw ,M ichigan.



     The UnitedStatesDepartmentofJusticeannounced a$33 million
     settlem entw ith Hudson City Savings Bank,w hich services New Jersey,New
     York,and Pennsylvania,on Septem ber24,2015.The six-yearDOJ
     investigation had proven thatthe com pany w as intentionally avoiding
     granting m ortgagesto Latinos and African Am ericans and purposely
     avoided expanding into minority-majority communities.The Justice
     Departm entcalled itthe ''Iargest residentialm ortgage redlining settlem ent
     in its history.''As a partofthe settlem entagreem ent,HCSB w asforced to
     open branchesin non-w hite com m unities.As U.S.Attorney PaulFishm an
     explained to Em ily BadgerforThe W ashington Post,''Ifyou Iived in a
     majority-blackorHispanicneighborhood and you wanted to applyfora
     m ortgage,Hudson City Savings Bank w as notthe place to go.''The
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      enforcem entagencies cited additionalevidence ofdiscrim ination Hudson
      City'sbrokerselection practices,noting thatthe bank received 80 percent
      of its m ortgage applicationsfrom m ortgage brokers butthatthe brokers
      w ith whom the bankworked were notlocated in m ajority African-Am erican
      and Hispanicareas.



      Lqgislative Action


        In the United States,the FairHousing Actof 1968 w as passed to fightthe
     practice.According to the Departm entofHousing and Urban Developm ent
     ''The FairHousing Act m akes it unlaw fulto discrim inate in the term s,
     conditions,orprivilegesofsale ofa dw elling because ofrace ornational
     origin.The Actalso m akesit unlaw fulforany person orotherentity w hose
     businessincludes residentialrealestate-related transactionsto
     discrim inate againstany person in m aking available such a transaction,or
     in the term sorconditions ofsuch a transaction,because of race ornational
     origin.''The Office of FairHousing and EqualOpportunity w astasked w ith
     adm inistering and enforcing thislaw .Anyone w ho suspectsthattheir
     neighborhood has been redlined is able to file a housing discrim ination
     com plaint.



     The Com m unity Reinvestm entAct passed by Congress in 1977 to reduce
     discrim inatory credit practices againstIow -incom e neighborhoods further
     required banks to apply the sam e Iending criteria in aIIcom m unities.
     Although open redlining w as m ade illegalin the 1970s through com m unity
     reinvestm ent Iegislation,the practice m ay have continued in less overt
     w ays.

     Com m unitv O rxgpiiations
                    -
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       ShoreBank,a com m unity-developm ent bank in Chicago's South Shore
     neighborhood,w asa partofthe private-sectorfightagainst redlining.
     Founded in 1973,ShoreBank soughtto com batracistlending practices in
     Chicago'sAfrican-Am erican com m unities by providing financialservices,
     especially m ortgage loans,to Iocalresidents.ln a 1992 speech,then-
     Presidentialcandidate BillClinton called ShoreBank ''the m ost im portant
     bank in America.''On August20,2010,the bankwasdeclared insolvent,
     closed by regulators and m ost ofits assets w ere acquired by Urban
     Partnership Bank.



     In the m id-1970s,com m unity organizations,underthe bannerofthe N PA,
     w orked to fight againstredlining in South Austin,lllinois.O ne ofthese
     organizationswasSACCC (SouthAustin Coalition CommunityCouncil),
     form ed to restore South Austin's neighborhood and to fight against
     financialinstitutions accused ofpropagating redlining.Thisgotthe
     attention ofinsurance regulatorsin the Illinois Departm entoflnsurance,as
     w ellasfederalofficersenforcing anti-racialdiscrim ination law s.



     Current Issues



       Retailredlining is a spatially discrim inatory practice am ong retailers.
     Taxicab services and delivery food m ay notserve certain areas,based on
     theirethnic-minoritycom position andassumptionsaboutbusiness(and
     perceived crime),ratherthan data and economiccriteria,suchasthe
     potentialprofitability ofoperating in those areas.Consequently,consum ers
     in these areas are vulnerable to prices setby few erretailers.They m ay be
     exploited byretailerswho charge higherpricesand/orofferthem inferior
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      goods.



      O nline


       A 2012 study by the W allStreetJournalfound thatStaples, Hom e Depot,
      Rosetta Stone and som e otheronline retailers displayed different prices to
     customersindifferentIocations(distinctfrom shippingprices).Staples
     based discountson proxim ity to com petitors Iike OfficeM ax and Office
     Depot.This generally resulted in higherpricesforcustom ers in m ore rural
     areas,w ho w ere on average Iess w ealthy than custom ers seeing Iow er
     prices.



     Liquorlining


       Som e service providerstargetIow -incom e neighborhoods fornuisance
     sales.W hen those servicesare believed to have adverse effectson a
     com m unity,they m ay considered to be a form of''reverse redlining.''The
     term ''liquorlining''issom etim es used to describe high densities ofliquor
     storesin Iow incomeand/orminoritycommunitiesrelativeto surrounding
     areas.High densitiesofIiquorstoresare associated with crim e and public
     health issues,w hich m ay in turn drive aw ay superm arkets, grocery stores,
     and otherretailoutlets,contributing to Iow levelsofeconom ic
     developm ent.Controlled forincom e,nonw hites face higherconcentrations
     ofIiquorstoresthan do whites.



     FinancialServices
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       In Decem ber2007,a class action Iaw suitw as brought againststudent
     Ioan Iending giant Sallie M ae in the United StatesDistrict Courtforthe
     DistrictofConnecticut.The class alleged thatSallie M ae discrim inated
     againstAfrican Am erican and Hispanic private studentloan applicants.



     The case alleged thatthe factorsSallie M ae used to underw rite private
     student Ioans caused a disparate im pact on studentsattending schools w ith
     higherm inority populations.The suitalso alleged thatSallie M ae failed to
     properly disclose Ioan term sto private student Ioan borrow ers.



     The Iawsuitwassettled in 2011.The term softhe settlem entincluded Sallie
     M aeagreeingto makea$500,000donationtothe United Negro College
     Fund andtheattorneysforthe plaintiffsreceiving$1.8m illion inattorneys'
     fees.



     CreditCards


       Creditcard redlining is a spatially discrim inatory practice am ong credit
     card issuers,ofproviding differentam ounts ofcreditto differentareas,
     based on theirethnic-m inority com position,ratherthan on econom ic
     criteria,such asthe potentialprofitability ofoperating in those areas.
     Scholars assess certain policies,such ascreditcard issuers reducing credit
     Iinesofindividualswith a record ofpurchasesatretailersfrequented by so-
     called ''high-risk''custom ers,to be akin to redlining.
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     Banks


       M uch ofthe econom ic im pactsw e find asa resultofredlining and the
     bankingsystem directlyimpactsthatoftheAfricanAmerican/Black
     Com m unity.Beginning in the 1960's,there w as a Iarge infiltration ofBlack
     Veteransand theirfam iliesm oving into suburban W hite com m unities.As
     Blacks m oved in,W hites m oved out and the m arketvalue ofthese hom es
     dropped dram atically. ln observation ofsaid m arketvalues,bank Ienders
     w ere able to keep close track by Iiterally draw ing red Iines around the
     neighborhoodson a m ap.These lines signified areas thatthey w ould not
     investin.By w ay ofracialredlining,notonly banksbutsavingsand Ioans,
     insurance com panies,grocery chains,and even pizza delivery com panies
     thw arts econom icvitality in black com m unities.The severe Iacking in civil
     rights Iaw s in com bination w ith the econom ic im pact Ied to the passing of
     the Com m unity Reinvestm entAct in 1977.



     Racialand econom ic redlining setsthe people w ho lived in these
     com m unitiesup forfailure from the start.So m uch thatbankswould often
     deny people w ho cam e from these areasbank Ioans oroffered them at
     stricterrepaym entrates.Asa result,there w as a very Iow rate atw hich
     people (in particularBlacks/AfricanAmericans)were ableto owntheir
     homes;openingthedoorforslum Iandlords(whocould getapprovedfor
     Iow interestIoansinthosecommunities)totakeoverand do astheysaw
     fit.



      Insurance



       Gregory D.Squires w rote in 2003 thatdata show ed that race continuesto
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     affectthe policies and practicesofthe insurance industry.Racialprofiling or
     redlining has a Iong history in the property-insurance industry in the United
     States.From a review ofindustry underw riting and m arketing m aterials,
     courtdocum ents,and research by governm entagencies,industry and
     com m unity groups,and academ ics,it is clearthat race has Iong affected
     and continues to affectthe policies and practicesofthe insurance industry.
     Hom e-insurance agents m ay tw to assessthe ethnicity ofa potential
     customerjustby telephone,affecting whatservicesthey offerto inquiries
     about purchasing a hom e insurance policy.This type ofdiscrim ination is
     called Iinguistic profiling.There have also been concerns raised about
     redlining in the autom otive insurance industry.Review sofinsurance scores
     based on creditare show n to have unequalresults by ethnic group.The
     Ohio Departm entofInsurance in the early 21stcentury allow s insurance
     providersto use m aps and collection ofdem ographic data by ZIP code in
     determ ining insurance rates.

     The FHEO Directorof Investigationsatthe Departm entof Housing and
     Urban Developm ent,Sara Pratt,w rote:



        Like otherform sofdiscrim ination,the history ofinsurance redlining
     began in conscious,overt racialdiscrim ination practiced openly and w ith
     significant com m unity supportin com m unitiesthroughoutthe country.
     There w as docum ented overtdiscrim ination in practices relating to
     residentialhousing- from the appraisalm anualsw hich established an
     articulated ''policy''ofpreferences based on race,religion and national
     origin,to Iending practicesw hich only m ade loans available in certain parts
     oftow n orto certain borrow ers,to the decision-m aking process in loans
     and insurance w hich allow ed the insertion ofdiscrim inatory assessm ents
     into finaldecisionsabouteither.
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      M ortgages



       Reverse redlining occursw hen a Ienderorinsurerparticularly targets
     m inority consum ers,notto deny them Ioansorinsurance,butto charge
     them m ore than w ould be charged to a sim ilarly situated w hite consum er,
     specifically m arketing the m ostexpensive and onerous Ioan products.
     These com munitieshad Iargely been ignored by mostIendersjusta couple
      ofdecades earlier.In the 2000ssom e financialinstitutions considered black
      com m unities as suitable forsubprim e m ortgages.W ells Fargo partnered
      w ith churches in black com m unities,w here the pastorw ould deliver
      ''weaIth building''sem inarsin theirserm ons,and the bank would make a
      donation to the church in return forevery new m ortgage application.
      W orking-class blacksw anted a partofthe nation's hom e-ow ning trend.
      Instead ofcontributing to hom eow nership and com m unity progress,
      predatory lending practicesthrough reverse redlining stripped the equity
      hom eow nersstruggled to build and drained the w ealth ofthose
      com m unitiesforthe enrichm entoffinancialfirm s.The grow th ofsubprim e
      Iending (highercostloansto borrowerswithflawsontheircreditrecords)
      priorto the 2008 financialcrisis,coupled w ith grow ing Iaw enforcem ent
      activity in those areas,clearly show ed a surge in a range of m anipulative
      practices.NotalIsubprim e Ioans w ere predatory,butvirtually alIpredatory
      Ioansw ere subprim e.Som e subprim e Ioans certainly benefithigh-risk
      borrow ersw ho w ould notqualify forconventional,prim e loans.Predatory
      Ioans,how ever,charge unreasonably higherrates and fees by com pared to
      the risk,trapping hom eow nersin unaffordable debtand often costing them
      theirhom es and life savings.



      A survey oftw o districts ofsim ilarincom es,one being Iargely w hite and the
      otherIargely black,found thatbank branches in the black com m unity
      offered Iargely subprim e loans and alm ostno prim e Ioans.Studiesfound
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     outthathigh-incom e blackswere alm osttwice asIikelyto end up with
     subprim e hom e-purchase m ortgages asdid low -incom e w hites.Som e Ioan
     officers referred to blacks as ''m ud people''and to subprim e Iending as
     ''ghetto loans.''A Iow ersavings rate and a distrust of banks,stem m ing from
     a Iegacy ofredlining,m ay help explain w hy there are few erbranches in
     m inority neighborhoods.In the early 21st century,brokers and
     telemarketersactively pushed subprime mortgages.A majority ofthe Ioans
     w ere refinance transactions,allow ing hom eow nersto take cash outoftheir
     appreciating property orpay offcreditcard and otherdebt.



     Redlining has helped preserve segregated Iiving patternsforblacks and
     w hites in the United States,asdiscrim ination is often contingent on the
     racialcom position ofneighborhoods and the race ofthe applicant.Lending
     institutionssuch asW ells Fargo have been show n to treatblack m ortgage
     applicants differently w hen they are buying hom es in w hite neighborhoods
     than w hen buying hom es in black neighborhoods.



     Dan Im m ergluck w ritesthatin 2002 sm allbusinesses in black
     neighborhoods received few er Ioans,even afteraccounting forbusiness
     density,businesssize,industrialm ix,neighborhood incom e,and the credit
     quality ofIocalbusinesses.



     Severalstate attorney generals have begun investigating these practices,
     w hich m ay violate fairlending Iaw s.The NAACP filed a class-action Iaw suit
     charging system atic racialdiscrim ination by m ore than a dozen banks.



     Environm entalracism
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        Policiesrelated to redlining and urban decay can also actasaform of
      environm entalracism ,w hich in turn affectpublic health.Urban m inority
      com m unities m ay face environm entalracism in the form ofparksthatare
      sm aller,Iess accessible and of poorerquality than those in m ore affluentor
      w hite areas in som e cities.Thism ay have an indirecteffect on health,since
      young people have few erplacesto play,and adultshave few er
      opportunitiesforexercise.



     RobertW allace w rites thatthe pattern ofthe AIDS outbreak during the 80s
     w asaffected by the outcom es ofa program of''planned shrinkage''
     directed atAfrican-Am erican and Hispanic com m unities.Itw as
     im plem ented through system atic denialofm unicipalservices,particularly
     fire protection resources,essentialto m aintain urban levelsofpopulation
     density and ensure com m unity stability.Institutionalized racism affects
     generalhealth care asw ellasthe quality ofAIDS health intervention and
     services in m inority com m unities.The over-representation ofm inorities in
     various disease categories,including AIDS,is partially related to
     environm entalracism .The nationalresponse to the AIDS epidem ic in
     m inority com m unitiesw as slow during the 80s and 90s,show ing an
     insensitivity to ethnic diversity in prevention effortsand AIDS health
     services.



     W orkforce


       W orkersliving in American innercitieshave m ore difficulty findingjobs
     than do suburban w orkers.
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     Com batinM Redlininc


     FairHousin: Act



     The FairHousingAct(also knownasthe CivilRightsAct)of1968waspassed
      in orderto help protect m inority individualsfrom the discrim inatory
      practicesoffinancialinstitutions and agents.



      Guidelines


      The Hum an RelationsCom m issionsof Pennsylvania adopted guidelines
      regarding redlining.Theguidelinesdem onstrate practicesthatare to be
      prohibited in the selling ofproperty to people.



      Com m unitv Reinvestm entAct


      This actw as designed to increase the availability ofcreditand financial
      servicesto Iow erincom e and m inority borrow ers and theircom m unities
      and to im prove on the w aysthatdepository institutionsapproach lending
      in these com m unities.Although notlIlintended,thisactended up creating
      firstknow n methodsofsegregation thatare stillactive today.These active
      linesofdiscrim ination are stillprevalent.Redlining setthe groundsforw hat
      becam e know n as Ethnic Enclaves,closed offpockets ofIand thatw ere
      provided w ith Iessfinancialresources and seen to have Iittle to no
      m onetary value.
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      Cqlsure


      Redlining has a m ultiplicity ofeffectson the w ay oursystem s are setup
      today.Financialim plications,benefits and public safety regulations im pact
      thewaythatpeoplewho Iiveinthe ''Hood'',(often peopleofcolor)have
      com e to relate to them selves and society.Hood Culture is reflective ofthe
      w ays people ofcolorhave com e to survive due to the im pacts ofredlining.
      They have had to becom e an adaptive people in orderto m ake a Iivelihood
      forthem selves and theirfam ilies.Redlining,through yearsofsystem atic
      oppression,socialengineering and segregative practices hasdestabilized
      com m unities;them not being provided m uch to bettertheirow n econom ic
      m obility.Researchersand Econom istthroughoutthe years have
      questioned ifthese m aps actually influenced the developm ent ofurban
      neighborhoods(aka ''the Hood'')overthecourseofthe20thcenturyto
      now ?



        The econom ists now believe that appraisers ...w eren't m erely identifying
      disparitiesthatalready existed inthe 1930s,and thatwere likelyto worsen
      anyway.The Iinesthey helped draw,based in large parton the beliefthat
      the presence ofblacksand otherm inoritiesw ould underm ine property
      values,altered w hatw ould happen in these com m unities foryearsto
      com e.M aps alone didn'tcreate segregated and unequalcitiestoday.But
      the rolethey played waspivotal.The m apsbecam e self-fulfilling
      prophesies,as ''hazardous''neighborhoods - ''redlined''ones - w ere
      starved ofinvestm entand deteriorated furtherin w aysthatm ostIikely also
      fedwhiteflightand risingracialsegregation.l68)
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     Present Dav



     The culture ofthe hood is typically seen in a negative light;one consistent
     w ith drugs,poverty,single parenthouseholds,oversized fam ilies,violence,
     im m igration,prostitution,overcrow ding,scarcity,survival,territow ,gangs,
     the Iistgoeson.However,aIIofthesethingsoperating outofredlined
     com m unities is notby happenstance.Som ething im portantto note isthe
     cycle ofredlining.Active racism and segregation help to funnelm any of
     these things into the hood.To give an exam ple,early studiessurrounding
     the crack cocaine epidem ic show thatthere'sa large influx ofcrackcocaine
     in im poverished neighborhoodsw hile pure cocaine revolves Iargely in m ore
     affluentneighborhoods(beingthatitismore expensivethancrack).
     However,crackcocaine hasa Iongerjailsentence and penaltythen thatof
     pure cocaine.W ith crack cocaine being a popularchoice w ithin
     com m unities ofcolor,w e see m inorities being incarcerated a longerrates
     forcrack cocaine then those w ho are found in possession ofpure cocaine.
     (69)Similarly,we notethesameeffectin healthcare.Geographically
     speaking,there are an overage ofIiquorstoresand fastfood storesin these
     hoodsas opposed to the healthierchoice optionsfound in affluent
     com m unities.There isalso a shortage ofdoctorsoffice,farm ersm arkets
     and hospitals.These arejustafew ofthe disparitiesto highlight.


      Hood culture em ergesoutofthese experiences.The culture generally
      being thatofnottrusting anyone,especially the w hite m an.Youth Iearn to
      care forthem selvesin the hood and then m ature into adultsthatraisetheir
      kidsto do the sam e.Nevertheless,there stillexist a strong sense of
      com m unity building in the hood aswell.W ith the overcrow ding of
      apartm entcom plexes in the hood it becom es increasingly difficult notto
      know yourneighbor.People in the hood have a tendencyto supporttheir
      Iocalm om & pop shopsand entrepreneurism .There also tendsto be
      supportfrom elders in the com m unity w ho push theiryoung to do better;
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      academ ic encouragem enttow ardshighereducation vs.staying on the
      street.
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                                     REDLINING


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     Exibit VI.



                         The Historv ofAfrican Am ericans


     Afriçgp Am vritan,
                     -




     The firstAfricans in Am erica arrived as Indentured Servantsvia Jam estow n,
     Virginia in 1619.From 1619 to about 1640,Africans could earn their
     freedom w orking as Iaborers and artisansforthe European settlers.
     Africanscould become free people and enjoy some ofthe IibertiesIike
     othernew settlers.



     By 1640,M aryland becam e the firstcolony to institutionalize slavery.In
     1641,M assachusetts,in itsw ritten Iegislative Body ofLiberties,stated that
     ''bondage w as legal''servitude,atthatm om entchanging the conditions of
     the African w orkers -they becam e chattelslavesw ho could be boughtand
     solely ow ned by theirm asters.



     The Portuguese w ere the firstto em bark upon the slave trade starting
     around 1562.The practice ofslavery grew to exponentialproportionsfrom
     1646 up until1790.A prim e area forslaves w ason the w est coastofAfrica
     calledtheSudan.Thisareawasruled bythree majorem piresGhana(790-
     1240),Mali(1240-1600),and Songhai(670-1591).Othersmallernations
     w ere also canvassed by slavers along the w estcoast;they included am ong
     them :Benin,Dahom ey,and Ashanti.The peoples inhabiting those African
     nations w ere know n fortheirskills in agriculture,farm ing,and m ining.The
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     AfricansofGhana w ere w ellknow n forsm elting iron ore,and the Benins
     w ere fam ous fortheircastbronze artw orks.African tribalw ars produced
     captivesw hich becam e a bartering resource in the European slave m arket.
     Otherslaves w ere kidnapped by w hite and black hunters.The m ain sources
     ofbarterused by the Europeansto secure African slaves w ere glass beads,
     w hiskey,ivory,and guns.



     The rising dem and forsugar,coffee,cotton,and tobacco created a greater
     dem and forslaves by otherslave trading countries.Spain,France,the
     Dutch,and English w ere in com petition forthe cheap Iaborneeded to w ork
     theircolonialplantation system producing those Iucrative goods.The slave
     trade w asso profitable that,by 1672,the RoyalAfrican Com pany chartered
     by Charles 11ofEngland superseded the othertraders and becam e the
     richestshipperofhum an slavesto the m ainland ofthe Am ericas.The slaves
     w ere so valuable to the open m arket-they w ere eventually called ''Black
      G0Id.''



      THE M IDDLE PASSAGE
      The M iddle Passage has been defined in severalw ays.Som e authors refer
      to these routesasthe ''triangle trade''or''circuittrade,''''three cornered,''
      ''round about''and ''transatlantictrade''routes.The typicalvoyage for
      slavestaken bythe British wentsouth down the coastofAfrica into the
      areaadjacentto theGulfofGuinea.These English slaversbroughtcargoes
      ofrum ,brandy,glass,cloths,beads,guns,and otherappealing goodsfrom
      Europe.They bargained w ith African tradersfortheirtribalcaptives.Som e
      slaversentered the shores and kidnapped the unsuspecting nativesand
      took them aboard theirslave ships or keptthem in w aiting areas nearthe
      shore called ''barracoons''orslave barracks.
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     W hen the desired num berofAfrican slaves w as m etforshipping,the
     voyage ofm iddle passage continued from Africa on the slave shipsgoing
     acrossthe Atlantic Ocean w ith a destination in one ofseveralports in the
     W estIndiesand Caribbean (including:Cuba,Jamaica,Puerto Rico,Haiti,
     Santo Dom ingo,and the islands ofSt.Thom as,St.John,St.Croix,and
     Barbados).IntheW estlndiesand Caribbean,someslaveswereoff-loaded
     and sold to work atthe sugarplantations,also called the ''SugarIslands.''
     The raw m olassesw astaken aboard the ships;then they sailed up the coast
     northbound forNew portorBristol,Rhode Island's distilleries,to m ake rum
     from the m olasses.Otherstops along the Atlantic coastw here slavesw ere
     exchanged forgoods orcash w ere Charleston,South Carolina and Boston,
     M assachusetts.The goodsproduced by cheap slave Iaborw ere Ioaded
     aboard the now em pty slave shipsalong with sugar,tobacco,orcotton for
     the trip back to England.The rum from the rum distillers w entdirectly back
     to Africa form ore slaves,bartering on this,the TriangularTrade Routes.



     By 1768,the English slave trade had a figure of53,000 slaves a yearbeing
     shipped to the North Am erican continent.Otherslave traders included the
     French at23,000,the Dutch at 11,000,and the Portuguese at8,700 slaves
     being transported yearly from Africa.Estim ates ofup to 10 m illion slaves
     took the M iddle Passage Voyage to reach the Am ericas.



     SLAVERY AN; RACE

     M any Europeans cam e to Am erica to exercise theirGod fearing beliefs and
     to practice religious freedom .Slavery,on the otherhand,w asa form of
     persecution which,in the eyesofcolonialAm erica,had to bejustified.


     Therefore,the black slave becam e an easily identifiable group targeted as
     being inferior,subhum an,and destined forservitude.The early Christian
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     churchesdid nottake up the cause ofelim inating slavery untilm uch Iaterin
     the century.



     The fam ous Boston theologian,Cotton M ather,in 1693 included in his
     Rulesforthe Society ofthe Negroesthe explanation that ''Negroes w ere
     enslaved because they had sinned againstGod.''He Iaterincluded a
     heavenly plan that''God w ould prepare a m ansion in Heaven,''butIittle or
     no w ay forthe end offorced slavery on earth w as undertaken by m ost
     religiousgroups.



     SLAVE CO DES A ND RESISTANCE

     The slave codes robbed the Africansoftheirfreedom and w illpow er.
     Slaves did resistthistreatm ent,therefore strict and cruelpunishm entw as
     on hand fordisobeying theirm asters.Slavesw ere forbidden from carrying
     guns,taking food,striking theirm asters,and running aw ay.AIIslaves could
     be flogged orkilled forresisting orbreaking the slave codes.Som e slave
     states required both slaves and free blacksto w earm etalbadges.Those
     badges w ere em bossed w ith an ID num berand occupation.



     Freedom w as alw ays on the m inds ofthe enslaved Africans.How to gain
     thatfreedom w asthe big question.Am erican historicalrecordshave
     identified som e ofthose attem pts and som e ofthe people involved in the
     African'squestforfreedom on Am erican soil.



     Refusing to obey theirm asters'dem ands created a duelcrisis on the partof
     the resisting slaves and theirdem anding ow ners.The m ost com m on form
     ofresistance used by the slaves w asto run aw ay.To live as a runaw ay
     required perfect escape routesand exacttim ing.W here to hide,finding
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      food,leaving the fam ily and children behind becam e prim ary issues forthe
      escaping slaves.Later,the severe punishm ent had to be faced w henevera
      hunted slave w as caughtand returned to bondage.



      M any slaves ran offand Iived in the w oods orvastw ilderness in the
      undeveloped Am erican countryside.Thisgroup ofslavesw ere called
      ''m aro ons,'
                  'forthey found rem ote areas in the thick forest and m ainly Iived
      offw ild fruits and anim als asfood.Som e ofthese m aroons ran off,Iived,
      and even m arried into segm ents ofthe Native Am erican populations.They
      w ere latercalled Black lndians.



      A NATION IN CRISIS:THE SLAVERY TIM ELINE

      The issue ofslavery evolved into a com plex problem on Am erican soilfrom
      1800 up untilthe beginning of1865.The conditions ofservitude and the
      status ofAfricansw ere atstake.Defining the legalgrounds ofthese people
      ofAfrican descent putAm erica in a quandary.W ould free Africans be
      w elcom ed into this developing Dem ocracy? The nextsixty-five years
      produced a host ofm ixed events in theirquestforfreedom .Racial
      differencesand previous conditionsofservitude becam e an issue before
      the Republic.



      * 1800.GabrielProsserattem pts a slave rebellion in Virginia.



      * By 1807,the British Parliam ent had puta stop to shipping and trading
      African slaves.



      * By 1808,the Congressofthe United States m ade itillegalto bring m ore
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      slavesinto the country.Still,the sm uggling ofAfricans asslaves into the
      United States continued w ellinto the m id 1800's.Rem em ber,the Am istad
      slave incident happened in 1839.Slave trading w ithin the statescontinued
      up untilthe day ofEm ancipation in 1863.



      * By 1812,the British,as a payback to the Am erican colonists,offered the
      Africansa chance to own Iand and be free -ifthey foughton theirside
      during the W arof1812.



      * By 1819,the Canadian governm entrefused to cooperate w ith the
      Am erican governm entby not allow ing them free accessto pursue escaped
      slaves living in Canada.



      * By 1820,the M issouriCom prom ise w as adopted,allow ing M issourito
      enterthe Union asa slaveholding state and M aine as a freebearing state.
      The M issouriCom prom ise keptthe num beroffree statesand slave states
      balanced.



      * 1822.Denm ark Vesey arrested for planning a slave rebellion in South
      Carolina.



      * 1831.NatTurnerIeads a slave rebellion in Southam pton,Virginia.



      * By 1833,the Am erican Anti-slavery Society w as established in
      Philadelphia,Pennsylvania.The British Parliam entabolished slavery in the
      entire British Em pire during this year.
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     * 1839.The Am istad lnsurrection

     * By 1850,the Com prom ise of1850 again broughtup the issue ofslavery.
     California entered the union as a free state,butthe territories ofNew
     M exico,Utah,and Texasw ere allow ed to decide,as individualstates, the
     choice ofbeing a slave state ora free state.1850 also saw the passage of
     anotherm uch stricterFugitive Slave Law being putinto effect.



     * By 1852,Harriet BeecherStow e published hernovel,Uncle Tom 'sCabin,
     which becam e the bestselling bookand a m ajorinfluencefortheAnti-
     Slavery M ovem ent.



     * 1854.The Dred Scott Case.

     * The yearof 1857 saw slavery and freedom hanging in the balance.



     * 1859.John Brow n broke into the FederalArm ory at Harper's Ferry,
     Virginia.



     * 1860.Abraham Lincoln elected president.South Carolina secedes.



     * 1861.Alabam a,Florida,Georgia,Louisiana,M ississippi,Arkansas,North
     Carolina,Tennessee,Texas,and Virginia secede.Form ation ofthe
     Confederate States ofAm erica.Attack on FortSum ter.
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     * 1861-1865.The CivilW ar.

     * 1865.Freedom on the Horizon.February 1,1865,Abraham Lincoln
     ratified the 13th Am endm entto the U.S.Constitution outlaw ing slavery
     throughoutthe w hole United States.Lincoln w as assassinated tw o m onths
     Iaterby John W ilkes 800th on April15,1865.



     OLAURAH EQUIANO (1745-1801)
     ALSO KNOW N AS GUSTAVUS VASSA

     Olaudah Equiano's Iife as a slave w ould have neverbeen know n to the
     world,buthe survived and learned the English Ianguage w hich helped him
     to record hishorrificexperiencesunderforced servitude.Those wordsin
     his biographicalm em oirs w ere laterpublished afterEquiano secured extra
     earningsand bought hisw ay out ofbondage in the yearof 1766.His
     w ritings becam e one ofthe firstofonly a few w ritten accounts ofslavery
     written by a slave.Thatworkwasentitled,The Interesting Narrative ofthe
     Life ofO laudah Equiano orGustavusVassa,the African,published in 1789.
     O laudah Equiano's accountofslavery broughtto the eyesofthe w orld
     com m unity the use ofchildren taken and used as slaves in a practice w hich
     w as heretofore thought ofas only the w orld ofadults Iiving ascaptives.



     Equiano,atage eleven along w ith his sister,w as kidnapped by slave
     catchersfrom theirIgbo village com pound w hile theirparents w ere
     working ata distantfarm neartheirhom e in Essaka,Benin.Equiano told of
     his attem ptto yellout,his being bound,m outh gagged and separated from
     his sisteron his w ay to the slave trading post.He told ofhis contactand
     fearofwhite Europeansand hisangeratthem ashe waschained together
     w ith otherAfricanson the long voyage to Am erica.He told ofthe packing
     of his people in the filth ofthe ship's hold,the deathsfrom diseases,the
      forced feedings,and crueltreatment.Equiano traced hisjourneyto the
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      slave m arketand his being sold in Barbadosto a plantation ow nerin
      Virginia.Equiano talked abouthis Iuck at being eventually sold again to a
      British navalofficer,w ho took him to Halifax,Nova Scotia,and to Falm outh,
      England in 1757.Hetold ofhismasternaming him GustavusVassa(aftera
      Swedishking).Equianowaseventually boughtbyaslave holdingQuaker
      nam ed RobertKing.King taught Equiano certain skills including a w ay to
      the w orld offree people w hich he entered by 1766.



      O laudah Equiano'sdignity w as captured in an exceptionalportraitofhim
      done in the British Schoolaround the Iate 18th century.It is housed in the
      RoyalAlbertM em orialM useum in Exeter,England.



      SLAVE REVOLTS AND REBELLIONS
      Slave revolts and rebellions w ere num erous,but m ostaccounts w ere kept
      quiet.Historiansw ere able to docum entseveralofthese violentoutbreaks.
      Am ong them w ere:



      GABRIEL PROSSER

      GabrielProsser,in Augustof 1800,setoutto free him selfalong w ith about
      1,000 otherslaves.His plotw asto killm ostofthe w hite residentsand take
      the tow n ofRichm ond,Virginia.lt is said that a sudden bad thunderstorm
      caused the slave revoltersto disband.Three otherslavesalso revealed the
      plot,and GabrielProsserand thirty-six ofthe slaves w ere identified,tried,
      and executed.



      DENM ARK VESEY

      Denm ark Vesey had obtained his freedom by the yearof1800.He w as so
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     disturbed by the w hole system ofslavery thathe w anted to destroy aII
     vestigesofitsdoing.He w anted a full-fledged w arusing arm ed slavesto kill
     w hite slave ow ners in the city ofCharleston,South Carolina.By 1822,and
     afterseveralyears ofplanning,Vesey's idea to attack and ''liberate''the city
     w as revealed.O ne participant'sforced confession Ied to Vesey'sand
     severalof hisco-conspirators'arrest.AIIofthem w ere tried and hung.
     South Carolina then passed Iaw sto barfree Blacksfrom entering the state
     due to Denm ark Vesey's alleged plot.



     NAT TURNER

     NatTurnerhad a religious zealand a beliefthat he w asthe ''chosen one''to
     free him selfand his slave brethren.This 3lyearold preacherto the slaves
     devised a plan of''terrorand devastation.''



     Hisorganized revoltbecam e Am erica'sm ostfamousand violentact
     involving slave resistance.O n August21,1831,NatTurnerand six other
     slaves killed Turner's plantation m asterand hisfam ily in Southam pton
     County,Virginia.Turnerincreased his supporting band ofslavesasthey
     w entabout killing a totalof60 w hite slave ow ners,including theirw ives
     and children.



      Federaland Virginia state troopers encountered the roving band ofslaves
      and killed m ostofthose in rebellion.Otherslaves notconnected to the
      rebellion w ere also killed.An estim ate ofover100 slavesw ere killed,but
      NatTurnerescaped.He w as hunted dow n as he hid out in the sw am psfor
      alm ostthree m onths.He w asfinally captured and executed on October30,
      1831.
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     THE A NTI-SLAVERY M OVEM ENT

      Otherslaves had often heard aboutthe freedom in the north and Canada.
      M any ofthe northern statesw ere developing strong coalitionsoffree Black
      and W hite groups in an organization called the Am erican Anti-slavery
      Society,established by 1833.ProminentblackIeadersbegan to join this
      organization.



     Am ong them :Frederick Douglass,Highland Garnet,David W alker,Jam es
      Forten,Sarah ParkerRemond,CharlesLenox Remond,SojournerTruth,
      W illiam W hipper,HarrietTubm an,David Ruggles,W illiam C.Nell,Robert
      Purvis,and M artin R.Delany.Amongthosewhiteswho joined in the cause
     ofthe abolitionistm ovem entw ere:Theodore D.W eld,Lew isTappan and
     ArthurTappan,W illiam Lloyd Garrison,LeviCoffin,CharlesG .Finney,
     W endellPhillips,Lucretia M ott,Jam es Birney,and Jam es M illerM cKim .



     The stated goalofthe Am erican Anti-slavery Society w as to see the
     com plete abolition ofslavery everyw here in the United States.They used
     every conceivable m ethod,including politics and m oralpersuasion to
     achieve theirgoal.



     THE U NDERG RO UND RAILROAD

     M any ofthe abolitionists endorsed a clandestine m ovem entto help the
     African slave achieve freedom .Som e significantcluesofthe Underground
     Railroad included w elldefined hidden routes and follow ing the brightnorth
     starduring the night,as w ellas certain ''stations''-w here a Iight in the
     w indow w ould be an indicatorofa safe hom e used asa slave hideaw ay.
     Som e slaves w ere hidden in barns orbehind secret w allpassagesin these
     hom es.
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     The leaderw ho knew the w ay w ascalled the ''conductor.''The ''station
     m asters''w ere in m ostcasesfree people ofcolororw ealthy w hite
     benefactors w ho provided food,shelter,orm oney along the w ay forthe
     escaping runaways.The m ostprofoundly skilled and successful''conductor''
     ofthe Underground Railroad w as HarrietTubm an.



     She w as credited w ith leading over300 runaw aysto freedom w ith a totalof
     19tripsthrough the south.Itwaslaterstated thatshe neverlosta
     ''passenger''on these risky escape routes.The Underground Railroad,from
      1800 up untilthe end of1865,assisted m ore than 40,000 slavesto freedom
     up north and into Canada.Raym ond Bial's book,The Underground
     Railroad,published in 1995,depicted the essence both in textand w ith
     superb picturesofthose m ysticalhidden passagew aysw hich m ade up the
      Underground Railroad.



      THE AM ISTAD INSURRECTIO N
      Thistrue to life m utinytook place in the yearof1839.The LaAm istad,a
      slavebearingSpanishvessel,wascarrying53captives(49 men,1younggirl,
      and 3children),allpreviouslytakenfrom theAfrican countryofSierra
      Leone w hen the insurrection occurred.They belonged to the M ende village
      in W estAfrica.The insurrection started w hen the ship,La Am istad,w as
      taking the slave captivesfrom Cubato a slave m arketin South Am erica.



      LaAm istad wassailing in the Caribbean when Singbe,a 25 yearold African,
      Iatergiven the Spanish nam e Joseph Cinque,wasable to free him selfand
      the othercaptivesfrom theirchains.During the dark night,they w enton
      deck and killed the captain and hiscook.Two othercrew m em berswere
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     saved and directed by Cinque to turn the ship back tow ard theirhom eland
     ofAfrica.Instead ofgoing tow ard Africa,the ship w as steered to the shores
     offM ontauk,Long Island.Here the ship docked forfood and w ater,butit
     w as noticed by the Am erican navelship,U.S.S.W ashington.The captain,
     nam ed Richard M eade,ordered the ship to dock overat New London,
     Connecticuton August27,1839.New York w as bypassed as a docking area
     due to slavery being illegalin the state.Connecticutstillhad notabolished
     slavery atthattim e period.



     The im portance ofthe Am istad Insurrection broughtthe focusofslavery to
     the attention ofm any m ore free Am ericans.The abolitionists w ere Iooking
     forevidence ofcruelty and the evilprofiteering involved in slavery.The
     abolitionists w anted slavery abolished in Am erica.An 18 m onth Iegalbattle
     ensued,and the blackAfricansdid notseem to have a chance ofgaining
     theirrelease from prison asthe onesaccused of m urderand m utiny aboard
     the ship,La Am istad.They w ere going to be tried by a courtof Law and sent
     back to slavery in Havana,Cuba.The Cubans and the Spanish governm ent
     w ere diplom atically trying to force President M artin Van Buren to side step
     any conflictsbetw een Am erica and Spain,and send the ''m urderous
     Africans''back to the slave port in Cuba.



     The technicality w asthatSpanish Iaw ''had by 1817 prohibited the
     im portation ofslavesinto any ofitsterritory,includingthe colony ofCuba.''
     Thistrue to life dram a escalated into one ofAm erica's m ostfascinating
     courtcases.Attorney RogerSherm an Baldw in of New Haven,Connecticut
     w as able to secure a translatorofthe M ende Ianguage to help w ith the
     actualdocum entation ofCinque'sjourney and the othersbeing kidnapped
     in Africa w here they w ere putinto the hold ofthe Portuguese Slave ship,
     the Tecora,and sentvia the m iddle passage to Cuba.The highest pointof
     the Am istad incidentcam e w hen the case reached the U.S.Suprem e Court,
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      and the form erU.S.



     PresidentJohn Quincy Adams,at73 and nearly blind,wascajoled into
     fightingthecase.His8 1/2hoursofastutetestimonywontheacquittal
     verdict!''They were illegally enslaved,theirpaperswere forged and they
     were neverSpanish speaking Cuban slaves.''The verdictfavored Cinque
     and the 35 surviving M ende Africans.Before Ieaving Connecticut,Cinque,
     w ith an interpreter,spoke at severalabolitionists'tow n m eetings.M oney
     w as raised,and the tow n's CongregationalChurch at Farm ington
     Connecticut helped the Africans on theirvoyage backto Sierra Leone in the
     m onth ofNovem ber1841.



     The portraitshow n here ofJoseph Cinque w asdone bythe New Haven
     Painter,NathanielJocelyn,before the trialended.The portraitis partofthe
     New Haven Connecticut HistoricalSociety.



     MARRIET 9:ECHERSTQW :

     HarrietBeecherStowe(1811-1896)did wondersfortheAnti-slavery
     M ovem ent.Herserialized publication ofUncle Tom 'sCabin firstappeared
     in the NationalEra w eekly new spaper,starting June 2,1851.It becam e so
     popularin 1851,she decided to do a com pleted version asa published
     book by M arch,1852.



     The entire printing of5,000 copiesw as sold outthe firstw eek it appeared
     in Boston,M assachusetts.The dem and suddenly tookhold,and,before the
     sum m erof1852 ended,HarrietBeecherStow e'snovelhad earned herover
     $10,000 inroyalties.
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      The dem and forherbook required a production ofover300,000 copies
      w ithin one year.Severaltranslationsw ere done,and suddenly the w orld
      com m unity knew aboutthe crueland inhum an treatm entofenslaved
      blacks in Am erica.



      Harriet BeecherStow e's Uncle Tom 'sCabin w as based upon the Iife in
      narrative ofJosiah Henson,a runaw ay slave.



     THE DRED SCOTT CASE

      By 1854,the Dred Scott Case broughta setback to the Abolitionist
      M ovem ent.Dred Scott,a slave,wastaken by hism asterinto the free states
      ofIllinois,W isconsin,and M innesota.



     Scottstayed outofM issouri,hisslave state,forfouryears.Hisclaim w as
     that he w as an established person on ''free soil.''The low ercourts ruled
      againstScott.



     The case eventually w entto the Suprem e Courtofthe United States.Again
     the ruling w as unfavorable.ChiefJustice RogerB.Taney,a residentof
      M awland,and the otherjusticesruled that''Dred Scottcould notbring suit
      in federalcourtbecause he wasa Negro,notjusta slave.


      No Negro w hetherslave orfree,could everbe considered a citizen ofthe
      United Statesw ithin the m eaning ofthe Constitution.''Thus,Scott's real
      problem w as nothis servitude buthis race.This outspoken blow w asa
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     positive m essage forthe south in thatslavery in Am erica w as notgoing
     aw ay butw as a legalpartinvolved w ith the Am erican w ay ofIife.



     RAID ON HARPER'S FERRY
     By 1859,an unsettling event happened -John Brow n,the dogm atic w hite
     abolitionistfrom Kansas attacked slavery as an issue w hich he feltcould
     only be resolved using acts ofviolence.



     He soughtoutjustice to the slavery issue using biblicalscripturesin the OId
     and New Testam ents ofthe Holy Bible.''W ithoutblood there isno
     rem ission ofsins.''



     The FederalArm ory at Harper's Ferry,Virginia w asthe chosen place.The
     plotw asto take the am m unition and w eaponsand killall,and free the
     slaves.October17,1859 tw enty-tw o m en on foot cutthe telegraph w ires
     and broke intothearmory.ColonelRobertE.Lee (who laterbecame
     ConfederateGeneralLee)wassummonedtothearmorywith histroops.
     The raiders held outfora day and a half.Lee'stroops storm ed the arm ory,
     and ten raiders w ere im m ediately killed.



     Tw o ofJohn Brow n'ssons died in this action along w ith fouroutofthe five
      blackvolunteerswhotookpartinthe raid (ShieldsGreen,LewisLeary,John
      Copeland,Dangerfield Newby).Bysomefluke,the Iastblackvolunteer,
      Osborne Anderson,escaped and Iaterjoined the Union Army duringthe
      CivilW ar(1861-1865).


      Fourotherraiders also escaped.John Brow n and six others w ere captured
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      and hung on Decem ber2,1859.The John Brow n Hanging elevated him asa
      m artyrforthe Abolitionist's cause.During the tim e ofthe raid he had
      grow n a Iong beard;thus he w as called the ''M oses''ofthe Abolitionist
      M ovem ent.



      THE ELECTIO N O F 1860

      1860 w as a crucialyearin the history ofthis Republic.Slavew had
      w eakened Am erica's position asa countw established on principlesof
      freedom .Thiswasanelectionyear.Abraham Lincoln(b.Feb.12,1809-d.
      April15,1865)wonthenominationforthe presidencyoftheUnited States
      representing the Republican Party.



      The Dem ocratic Party splitup into a Northern W ing w ith Stephen A.
      Douglasas itscandidate and a Southern W ing w ith John C.Breckinridge as
      the othercandidate forthe presidency ofthe United States.



      The W hig Partyw asso weakw ith deserting m em bersthatitsplitup into a
      conservative W hig W ing,and they aligned w ith the Know -Nothing Party to
      form a new party called the ConstitutionalUnion Party w ith John Bellas
      theircandidate forthe presidency ofthe United States.



      Abraham Lincoln w on the election easily on Novem ber6,1860 due to the
      unity on party issuesw ithin the Republican Party.Lincoln becam e the 16th
      Presidentofthe United States m ainly from the votes com ing from the
      north.Lincoln had builta reputation asan opponentofslavery.



      The south m ade itknow n thatthisw asgoing to splitthe United States if
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     Lincoln w ere elected.Therefore,on Decem ber20,1860,secession took
     place w ith South Carolina taking the Iead,follow ed in January 1861,by the
     states ofAlabam a,Florida,Georgia,Louisiana,and M ississippi.They form ed
     a separate Union w ithin the United Statescalled the Confederate States of
     America.Beforethe end ofFebruary,five otherstatesjoined the
     Confederacy.They w ere Arkansas,North Carolina,Tennessee,Texas,and
     Virginia.


     W hen Abraham Lincoln took office on M arch 4,1861 -the United States
     wasa divided country with slavery asthe majorissue before the Republic.


     The South m oved fastand decided to seize U.S.Federalfortsw ithin their
     jurisdiction.FortSumterin Charleston Harborwasconsidered a Union
      stronghold.Lincoln provided strongerprotection forFortSum ter,therefore
      ithad to be taken byforce bythe Confederates.Thefiring on FortSum ter
      on April12,1861 w asthe startofthe Am erican CivilW ar.Abraham Lincoln
      had been in office only one m onth.



      THE CIVILW AR (1861-18651
      Itwastherefore inevitable thatsom ething had to be done in Am erica in
      orderto preserve the Union.The disunity ofthe statesescalated into one
      ofAm erica's m ostdreadfuland bloody w ars.PresidentA braham Lincoln
      stated,''A house divided againstitselfcannotstand.''Earlier,in 1858,
      Lincoln had stated that,''Ibelieve thisgovernm entcannotendure,
       perm anently,halfslave and halffree.''



      Atthe outsetofthe CivilW ar,both northern W hitesand free Blackscam e
      forth to join the Union Army.From the beginning,both black slavesand
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     freem an saw thisopportunity to serve in the m ilitary as a m ethod for
     relinquishing theirchainsand proving theirinclusive w orthinessto this
     nation.Som e black slaves,forsom e unknow n reasons,rem ained w ith their
     m astersand assisted them on the side ofthe Confederacy during the entire
     period ofthe CivilW ar.



     On the w hole,there wasw idespread resistance by w hiteson both the
     Union blue and Confederate gray sidesin accepting Blacksaspartofthe
     m ilitary.Lincoln rejected the participation ofBlacksatfirstin the Union
     Arm y.He did notw antto alienate those borderstates ofDelaw are,
     M aryland,Kentucky,and M issouriw ho stillow ned slaves butw ere loyalto
     the Union.W estVirginia becam e a state in 1863 and stayed in the Union.



     There were also many anti-abolitionistgroupsinthe North w ho feltthis
     w arshould notinvolve Blacks.The Union Secretary ofW arissued a
     statem ent:''This Departm ent has no intention atthe presentto callinto
     service ofthe governm ent any colored soldiers.''



      Asthe bloody w arprogressed,m any slaves ''flocked to the Union lines
      seeking freedom .''These slaves,bythe hundreds,were crossing into Union
      territory,and they were placed in ''contraband cam ps.''The need forable-
      bodied fighting m en soon Ied individualstatesto sw earinto the m ilitary
      separate regimentsofaIIblacktroops.OtherBlacksfound acceptance as
      volunteers in sem i-m ilitary orm ilitary supportpositions.



      NotuntilAugustof1862 did Blacksreceive the endorsem entofCongressto
      serve in the CivilW ar.''Congress revoked the m ilitia law s banning Blacks''
      from serving in the Union Army.Confusion wasaIIaround,butitw asnot
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     untilAbraham Lincoln issued on January 1,1863,the Em ancipation
     Proclam ation,''freeing alIslaves in areas stillin rebellion''thatex-slaves
     w ere given the form alrightto be received in the U.S.Union Arm ed Forces.
     The casualties on both sides ofthe w arw ere clim bing,therefore m ore
     soldiersw ere needed.Lincoln needed a victory,therefore the
     Em ancipation w as aim ed atgetting m ore recruits.The Em ancipation
     Proclamation onlyfreed those slavesinthe states underthejurisdiction of
     the Confederacy.


     The Em ancipation Proclam ation opened the doorfull-fledged forBlacksto
     participate in the CivilW ar.Am ong the new ly freed slaves outofthe
     Confederate states cam e thousands ofvolunteers.O n M ay 1,1863,the
     W arDepartm entcreated the Bureau ofColored Troopsin orderto handle
     the recruitm ent and organization ofaIlblack regim ents.These unitsw ere
     known asthe United StatesColored Troops,and doubtsabouttheir
     com petency,Ioyalty,and bravery w ere underclose scrutiny.W hite officers
     w ere theircom m anders,and acceptance ofex-slaves by these com m anders
      w as notalw aysw illing.



      Itwasw ith the valordisplayed bythe 54th AllBlack Infantry Regimentout
      ofBoston,M assachusetts w ho charged FortW agnerdid som e notable
      recognition com e to these troops.The w idespread know ledge aboutthese
      allblack units ofthe CivilW arcam e aboutw ith the popularity ofthe m ovie,
      Glory,starring DenzelW ashington.



      Based upon the trium phs and defeatsofthe 54th M assachusettsVolunteer
      Infantry,a historicalm om entw as captured in the Iives ofsom e unknow n
      Am erican freedom fighters.The firstAfrican-Am erican m edalof Honorw as
      aw arded to W illiam Carney ofthis54th Infantry Regim ent.M ore than 300
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      African-Am ericansdied atthe FortW agnerassault.



      By the end ofthe CivilW ar,over 186,000 m en ofAfrican decent had served
      in the U.S.Arm ed Forces,and over38,000 died in an effortto be partof
      Am erica's inclusive freedom .Tw enty-fourblack soldiersw ere aw arded the
      m eritorious CongressionalM edals ofHonor.AIItogether,on the Union side
      about360,000 troopsdied in the w ar.O n the Confederate side about
      260,000 troops died.The CivilW arended April9,1865.



      THE RECONSTRUCTION (1865-1877)
      Am erica,includingthe South,had to be rebuilt,and,despite theSouth's
      hostile resistance,African-Am ericans w ere slow ly becom ing partofthis
      nation's inclusion.By 1868,the 14th Am endm entto the Constitution
      confirm ed the long aw aited citizenship forBlacks in Am erica.By 1870,the
      15th Am endm entw asadded to the Constitution w hich m ade it illegalto
      deny the rightthe vote based on race.



      The Reconstruction,although short-lived,show ed the first realattem ptsof
      inclusive freedom forAfrican-Am ericans.Gainsw ere taking place:
      Citizenship,Voting,Education,and Politics.



      Laterthatfreedom wasrestricted by Jim Crow Laws,discrim ination,and
      the denialofequalprotection by law .



      The Journey from Slavery to Freedom only opened the door halfw ay.1877
      wasthe beginning ofa Iongjourney.Thatjourney wasone hundred and
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      tw enty-one years ago,and itstillgoes on.
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                    THE HISTO RY O F AFRICAN AM ERICANS


       REFERENCES

       W ikipedia




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                       CIV IL RIG HTS M O V EM ENT TIM LIN E


         EXIBIT VII.



            This isa tim eline ofthe civilrights m ovem ent,a nonviolentfreedom
         m ovem entto gain Iegalequality and the enforcem entofconstitutional
         rightsforAfrican Am ericans.The goalsofthe m ovem ent included securing
         equalprotection underthe Iaw ,ending legally established racial
         discrim ination,and gaining equalaccessto public facilities,education
         reform ,fairhousing,and the ability to vote.

         1954-1959



          M ay 3 - In Hernandez v.Texas,the U.S.Suprem e Courtrules that M exican
         A m ericansand aIIother racialgroups in the United States are entitled to
         equalprotection underthe 14th Am endm entto the U.S.Constitution.

           M ay 17 - In Brow n v.Board ofEducation ofTopeka,Kans.and in Bolling
         v.Sharpe,the U.S.Suprem e Court rulesagainstthe ''separate butequal''
         doctrine,overturning Plessy v.Ferguson and saying thatsegregation of
         public schools is unconstitutional.

           July 27 - The Charleston,Arkansas schoolboard unanim ously votesto
         end segregation inthe schooldistrict.Ending segregation forfirstthrough
         tw elfth grades,the Charleston schooldistrictw asthe firstschooldistrict
         am ong the form erConfederate Statesto desegregate.The schoolsopened
     -
         forthe new schoolyearon August23.

          July 30 - Ata specialm eeting inJackson,M ississippicalled by Governor
         Hugh W hite,T.R.M .How ard ofthe RegionalCouncilof Negro Leadership,

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      along w ith nearly one hundred otherblack Ieaders,publicly refuse to
      supporta segregationistplan to m aintain ''separate butequal''in exchange
      fora crash program to increase spending on black schools.

        Septem ber2 - In M ontgom ery,A labam a,23 black children are
      prevented from attending all-w hite elem entary schools,defying the recent
      U.S.Suprem e Court ruling.

        Septem ber7 - The DistrictofColum bia ends segregated education;
      Baltim ore,M aryland follow ssuiton Septem ber8.

        Septem ber15- Protestsby white parentsin W hite SulphurSprings,W est
      Virginia force schoolsto postpone desegregation anotheryear.

        Septem ber16 - M ississippiabolishes aIIpublic schoolsw ith an
      am endm entto itsState Constitution;private segregation academ iesare
      founded forw hite students.

        Septem ber30 - Integration ofa high schoolin M ilford,Delaw are
      collapsesw hen w hite students boycottclasses.

        October4 - Studentdem onstrationstake place against integration of
      W ashington,DC public schools.

        October19 - Federaljudge upholdsan Oklahoma Iaw requiringAfrican-
      Am erican candidatesto be identified on voting ballots as ''negro''.

        October30 - Desegregation ofU.S.Arm ed Forces said to be com plete.

        Frankie M use Freem an is the Iead attorney forthe Iandm ark NAACP case
      Davis et aI.v.the St.Louis Housing Authority,w hich ended Iegalracial
      discrim ination in the city's public housing.Constance BakerM otley w asan
      attorney forNAACP:itw as unusualto have tw o w om en attorneys Ieading
      such a high-profile case.
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       January 15 - President Dw ight D.Eisenhow ersigns Executive Order
      10590,establishing the President'sCom m ittee on Governm entPolicy to
      enforce a nondiscrim ination policy in Federalem ploym ent.

        January 20 - Dem onstrators from CO RE and M organ State University
      stage a successfulsit-in to desegregate Read's Drug Store in Baltim ore,
      M aw land.

        April5- M ississippipassesa law penalizingw hite studentsbyjailand
      fineswho attend schoolw ith blacks.

        M ay 7 - NAACP and RegionalCouncilofNegro Leadership activist
      Reverend George W .Lee is killed in Belzoni,M ississippi.

        M ay 31- The U.S.Suprem e Courtrules in ''Brow n 11''that desegregation
      m ustoccurw ith ''aIIdeliberate speed''.

        June 8 - University ofOklahom a decidesto allow black students.

        June 23 - Virginia governorand Board ofEducation decide to continue
      segregated schools into 1956.

       June 29 - The NAACP w insa U.S.Suprem e Court suitw hich ordersthe
      University ofAlabam a to adm itAutherine Lucy.

        July 11 - Georgia Board ofEducation orders that any teachersupporting
      integration be fired.

        July 14 - A FederalAppealsCourtoverturns segregation on Colum bia,SC
      buses.

        August 1- Georgia Board ofEducation fires aIIblack teachers w ho are
      m em bers ofthe NAACP.

        August 13 - RegionalCouncilof Negro Leadership registration activist
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      Lam arSm ith is m urdered in Brookhaven,M ississippi.

        August28 - TeenagerEm m ettTillis killed forw histling ata w hite w om an
      in M oney,M ississippi.

         Novem ber7 - The Interstate Com m erce Com m ission bans bus
      segregation in interstate travelin Sarah Keysv.Carolina Coach Com pany.
      On the sam e day,the U.S.Supreme Courtbanssegregation on public parks
      and playgrounds.The governorofGeorgia responds that his state w ould
      ''getoutofthe park business''ratherthan allow playgroundsto be
      desegregated.

         Decem ber1- Rosa Parks refusesto give up herseaton a bus,starting
      the M ontgom ery Bus Boycott.Thisoccurs nine m onthsafter ls-year-old
      high schoolstudentClaudette Colvin becam e the firstto refuse to give up
      herseat.Colvin'sw as the legalcase w hich eventually ended the practice in
      M ontgom ery.

        Roy W ilkins becom esthe NAACP executive secretary.




        January 9 - Virginia voters and representatives decide to fund private
      schoolsw ith state m oney to m aintain segregation.

        January 16 - FBIDirectorJ.EdgarHooverw ritesa rare open letterof
      com plaintdirected to civilrights leader Dr.T.R.M .How ard after How ard
      charged in a speech thatthe ''FBIcan pick up pieces ofa fallen airplane on
      the slopes ofa Colorado m ountain and find the m an w ho caused the crash,
      butthey can'tfind a w hite m an w hen he kills a Negro in the South.''

        January 24 - Governors ofGeorgia,M ississippi,South Carolina and
      Virginia agree to block integration ofschools.

        February 1- Virginia Iegislature passes a resolution thatthe U.S.
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      Suprem e Court integration decision w asan ''illegalencroachm ent''.

        February 3 - Autherine Lucy is adm itted to the University ofAlabam a.
      W hites riotfordays,and she issuspended.Later,she is expelled for her
      partin filing Iegalaction againstthe university.

        February 24 - The policy ofM assive Resistance is declared by U.S.
      SenatorHarry F.Byrd,Sr.from Virginia.

        February/March-TheSouthern Manifesto,opposing integration of
      schools,is drafted and signed by m em bers ofthe Congressionaldelegations
      ofSouthern states,including 19 senators and 81 m em bers ofthe House of
      Representatives,notably the entire delegations ofthe states ofAlabam a,
      Arkansas,Georgia,Louisiana,M ississippi,South Carolina and Virginia.O n
      M arch 12,it is released to the press.

        February 13- W ilm ington,Delaw are's schoolboard decidesto end
      segregation.

        February 22 - Ninety black Ieadersin M ontgom ery,Alabam a are arrested
      forIeading a bus boycott.

         February 29 - M ississippiIegislature declares U.S.Suprem e Court
      integration decision ''invalid''in thatstate.

        M arch 1 - Alabam a legislature votesto ask forfederalfundsto deport
      blacksto northern states.

        M arch 12 - U.S.Suprem e Courtordersthe University ofFlorida to adm it
      a black Iaw schoolapplicant ''w ithoutdelay''.

        M arch 22 - King sentenced to fine orjailforinstigating Montgomery bus
      boycott,suspended pending appeal.

        April23 - U.S.Suprem e Courtstrikesdow n segregation on buses
      nationw ide.


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        M ay 26 - CircuitJudge W alterB.Jonesissuesan injunction prohibiting
      the NAACP from operating in Alabam a.

        M ay 28 - The Tallahassee,Florida bus boycottbegins.

        June 5-TheAlabamaChristian MovementforHuman Rights(ACM HR)is
      founded ata m ass m eeting in Birm ingham ,Alabam a.

        Septem ber2-11- Teargas and NationalGuard used to quell
      segregationists rioting in Clinton,Tennessee;12 black students enterhigh
      schoolunderGuard protection.Sm allerdisturbances occurin M ansfield,
      Texas and Sturgis,Kentucky.

        Septem ber10 - Tw o black students are prevented by a m ob from
      entering ajuniorcollege in Texarkana,Texas.Schoolsin Louisville,Kentucky
      are successfully desegregated.
        Septem ber12 - Fourblack children enteran elem entary schoolin Clay,
      Kentucky underNationalGuard protection;w hite students boycott.The
      schoolboard barsthe fouragain on Septem ber 17.

         October 15 - Integrated athletic orsocialevents are banned in Louisiana.

        Novem ber13- In Brow derv.Gayle,the U.S.Suprem e Courtstrikes dow n
      Alabam a Iaw s requiring segregation of buses.This ruling,togetherw ith the
      ICC'S 1955 ruling in Sarah Keysv.Carolina Coach banning ''Jim Crow Iaw s''in
      bustravelam ong the states,is a landm ark in outlaw ing ''Jim Crow ''in bus
      travel.

         Decem ber20 - Federalm arshalsenforce the ruling to desegregate bus
      system sin M ontgom ery.

        Decem ber24 - Blacks in Tallahassee,Florida begin defying segregation
      on city buses.

        Decem ber25- The parsonage in Birm ingham ,Alabam a occupied by Fred
      Shuttlesw orth,m ovem ent Ieader,is bom bed.Shuttlesw orth receivesonly
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      minorinjuries.
        Decem ber26 - The ACM HR teststhe Brow derv.Gayle ruling by riding in
      the w hite sectionsof Birm ingham city buses.22 dem onstrators are
      arrested.

        M ississippiState Sovereignty Com m ission form ed.

        DirectorJ.EdgarHooverordersthe FBIto begin the COINTELPRO
      program to investigate and disrupt ''dissident''groupsw ithin the United
      States.




       February 8 - Georgia Senate votesto declare the 14th and 15th
      Am endm ents to the United StatesConstitution nulland void in that state.

        Februaw 14 - Southern Christian Leadership Conference is form ed;Dr.
      M artin LutherKing,Jr.is nam ed its chairm an.

        April18 - Florida Senate votesto considerU.S.Suprem e Court's
      desegregation decisions ''nulland void''.
         M ay 17 - The PrayerPilgrim age forFreedom in W ashington,DC is atthe
      tim e the largestnonviolentdem onstration forcivilrights.

       Septem ber2- OrvalFaubus,governorofArkansas,callsoutthe National
      Guard to block integration of Little Rock CentralHigh School.

        September6- Federaljudge orders Nashville publicschoolsto integrate
      im m ediately.

        Septem ber15- New York Tim es reportsthat in three years since the
      decision,there has been m inim alprogress tow ard integration in four
      southern states,and no progressataIIin seven.
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        Septem ber24 - President Dw ight Eisenhow erfederalizes the National
      Guard and also orders US Arm y troops to ensure Little Rock CentralHigh
      Schoolin Arkansasis integrated.Federaland NationalGuard troops escort
      the Little Rock Nine.

        Septem ber27 - CivilRightsActof1957 signed by President Eisenhow er.

        October7 - The finance m inisterofG hana is refused service ata Dover,
      Delaw are restaurant.President Eisenhow erhosts him atthe W hite House
      to apologize October10.

        October9 - Florida Iegislature votes to close any schooliffederaltroops
      are sentto enforce integration.

        October31- Officers ofNAACP arrested in Little Rock forfailing to
      com ply w ith a new financialdisclosure ordinance.

        Novem ber26 - Texas Iegislature votesto close any schoolw here federal
      troops m ight be sent.




        June29- BethelBaptistChurch (Birmingham,Alabama)isbombed byKu
      Klux Klan m em bers,killing fourgirls.

        June 30 - In NAACP v.Alabam a,the U.S.Suprem e Court rulesthatthe
      NAACP w as not required to release m em bership Iists to continue operating
      in the state.

        July - NAACP Youth Councilsponsored sit-ins atthe Iunch counterofa
      Dockum Drug Store in dow ntow n W ichita,Kansas.Afterthree w eeks,the
      m ovem entsuccessfully gets the store to change its policy and soon
      afterw ard aIIDockum stores in Kansas are desegregated.

        August19 - Clara Luperand the NAACP Youth Councilconductthe

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      largestsuccessfulsit-in to date,on drug store lunch-countersin Oklahom a
      City.Thisstarts a successfulsix-yearcam paign by Luperand the Councilto
      desegregate businessesand related institutionsin Oklahom a City.

        Septem ber2 - GovernorJ.Lindsay Alm ond,Jr.ofVirginia threatens to
      shutdow n any schoolif it is forced to integrate.

        Septem ber4 - lustice Departm ent suesunderCivilRightsActto force
      TerrellCounty,Georgia to registerblacks to vote.

        September8 - A Federaljudge orders Louisiana State University to
      desegregate;sixty-nine African-Am ericans enrollsuccessfully on Septem ber
      12.

        Septem ber12 - ln Cooperv.Aaron the U.S.Suprem e Courtrulesthatthe
      statesw ere bound by the Court's decisions.Governor Faubus responds by
      shutting dow n aIlfourhigh schools in Little Rock,and GovernorAlm ond
      shuts one in Front Royal,Virginia.

        Septem ber18 - GovernorLindsay closestw o m ore schools in
      Charlottesville,Virginia,and six in Norfolk on Septem ber27.

        Septem ber29 - The U.S.Suprem e Courtrulesthatstates m ay not use
      evasive m easuresto avoid desegregation.

         October8- A Federaljudge in Harrisonburg,VA rulesthatpublic m oney
       m ay not be used forsegregated private schools.

         O ctober20 - Thirteen blacksarrested forsitting in frontofbus in
       Birm ingham .

         Novem ber28 - Federalcourtthrow s out Louisiana Iaw againstintegrated
       athletic events.

         Decem ber8 - Voterregistration officials in M ontgom ery refuse to
       cooperate w ith US CivilRightsCom m ission investigation.


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        January 9 - One Federaljudge throw soutsegregation on Atlanta,
      Georgia,buses,w hile anotherorders M ontgom ery registrarsto com ply
      w ith the CivilRightsCom m ission.

        January 19 - FederalAppealscourt overturns Virginia's closure ofthe
      schools in Norfolk;they reopen January 28 w ith 17 black students.

        April18 - King speaksforthe integration ofschoolsata rally of26,000 at
      the Lincoln M em orialin W ashington,DC.

         Novem ber20 - Alabam a passes Iaw s to Iim itblack voterregistration.



      1960-1968




        February 1 - Fourblack students sit atthe W oolw orth's Iunch counterin
      Greensboro,North Carolina,sparking six m onths ofthe Greensboro Sit-lns.

        February 13 - The Nashville,Tennessee Sit-in begins,although the
      Nashville students,trained by activistand nonviolentteacherJam es
      Law son,had been doing prelim inary groundw ork tow ards the action for
      tw o m onths.The sit-in ends successfully in M ay.

         February 17 - Alabama grand jury indictsM artin LutherKing,Jr.fortax
      evasion.

        February 19 - Virginia Union University students,called the Richm ond 34,
      stage a sit-in atW oolw orth's Iunch counterin Richm ond,Virginia.


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        February 22 - The Richm ond 34 stage a sit-in the Richm ond Room at
      Thalhim er's departm entstore.

        M arch 3 - Vanderbilt University expelsJam es Law son forsit-in
      participation.

        M arch 4,1960 - Houston's firstsit-in,Ied by TexasSouthern University
      students,w asheld atW eingarten superm arket,Iocated at4110 Alm eda in
      Houston,Texas.

        M arch 19 - San Antonio becom esfirstcity to integrate Iunch counters.

        April8 - W eak civilrights billsurvives Senate filibuster.

        April15-17-TheStudentNonviolentCoordinatingCommittee (SNCC)is
      form ed in Raleigh,North Carolina.

        April19 - Z.AlexanderLooby'shom e is bom bed,with no injuries.Looby,
      a Nashville civilrights Iaw yer,w as active in the city'songoing Nashville sit-
      in forintegration ofpublicfacilities.

        M ay - Nashville sit-ins end w ith businessagreem entsto integrate Iunch
      counters and otherpublic areas.

         M ay 6 - CivilRights Actof1960 signed by President Dw ight D.
      Eisenhow er.

         M ay 28 - W illiam Robert M ing and HubertDelaney obtain an acquittalof
      Dr.Kingfrom an all-w hitejury in Alabam a.
        June 28 - Bayard Rustin resignsfrom SCLC aftercondem nation by Rep.
      Adam Clayton Pow ell,Jr.

        July 31- Elijah Muhammad callsforan all-blackstate;mem bership in
       Nation oflslam estim ated at50,000 to 100,000.

        August- Rev.W yattTee W alkerreplaces Ella BakerasSCLC'S Executive
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      Director.

        October19 - King and 50 others arrested atsit-in atAtlanta's Rich's
      Departm entStore.

        October26 - King's earlier probation revoked;he is transferred to
      Reidsville State Prison.

        October28 - Afterintervention from Robert F.Kennedy,King isfreed on
      bond.

        Novem ber14 - Ruby Bridges becom esthe firstAfrican-Am erican child to
      attend anall-whiteelementaryschoolintheSouth (W illiam Frantz
      ElementarySchool)followingcourt-ordered integration in New Orleans,
      Louisiana.This eventw as portrayed by Norm an Rockw ellin his 1964
      painting The Problem W e AlILive W ith.

         Decem ber5 - In Boynton v.Virginia,the U.S.Suprem e Courtholdsthat
      racialsegregation in busterm inals is illegalbecause such segregation
      violatesthe Interstate Com m erce Act.This ruling,in com bination w ith the
      Interstate Com m erce Com m ission's 1955 decision in Keysv.Carolina Coach
      Co.,effectively outlaw s segregation on interstate buses and atthe
      term inals servicing such buses.




       January 11- Rioting overcourt-ordered adm ission offirsttw o African-
      Americans(Hamilton E.HolmesandCharlayneHunter-Gault)atthe
      University ofGeorgia Ieadsto theirsuspension,butthey are ordered
      reinstated.

        January31- Membersofthe CongressofRacialEquality (CORE)and nine
      studentsare arrested in Rock Hill,South Carolina fora sit-in ata M ccrory's
      Iunch counter.
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        M arch 6 - PresidentKennedy issues Executive Order10925,w hich
      establishes a Presidentialcom m ittee thatIaterbecom esthe Equal
      Em ploym entO pportunity Com m ission.

         M ay 4 - The firstgroup ofFreedom Riders,w ith the intent ofintegrating
      interstate buses,IeavesW ashington,D.C.by Greyhound bus.The group,
      organized bytheCongressofRacialEquality(CORE),leavesshortlyafterthe
      U.S.Suprem e Court hasoutlaw ed segregation in interstate transportation
      term inals.
        M ay 6- Attorney GeneralRobertF.Kennedy deliversa speech to the
      students ofthe University ofGeorgia SchoolofLaw in Athens,Georgia,
      prom ising to enforce civilrights legislation.ltis the Kennedy
      adm inistration'sfirstformalendorsementofcivilrights.

        M ay 14 - The Freedom Riders'busisattacked and burned outside of
      Anniston,Alabam a.A m ob beatsthe Freedom Ridersupon theirarrivalin
      Birm ingham .The Freedom Riders are arrested in Jackson,M ississippi,and
      spend 40 to 60 days in Parchm an Penitentiary.
        M ay 17 - Nashville students,coordinated by Diane Nash,John Lew is,and
      Jam es Bevel,take up the Freedom Ride,signaling the increased
       involvementoftheStudentNonviolentCoordinatingCommittee (SNCC).
         M ay 20 - Freedom Ridersare assaulted in M ontgomery,Alabam a,atthe
       Greyhound BusStation.
         M ay 21- M LK,the Freedom Riders,and congregation of 1,500 at Rev.
       Ralph Abernathy's First BaptistChurch in M ontgom ery are besieged by
       m ob ofsegregationists;RFK asAttorney Generalsendsfederalm arshalsto
       protectthem .
         M ay 29 - Attorney GeneralRobert F.Kennedy,citing the 1955 landm ark
       ICC ruling in Sarah Keysv.Carolina Coach Com pany and the U.S.Suprem e
       Court's 1960 decision in Boynton v.Virginia,petitionsthe 1CC to enforce

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      desegregation in interstate travel.

        June-August- U.S.Dept.ofJustice initiates talksw ith civilrightsgroups
      and foundationson beginning VoterEducation Project.
        July - SCLC beginscitizenship classes;Andrew J.Young hired to directthe
      program .Bob M oses begins voterregistration in M ccom b,M ississippi.He
      leavesbecause ofviolence.

        Septem ber- Jam esForm an becom esSNCC'S Executive Secretary.

        Septem ber23 - The lnterstate Com m erce Com m ission,atRFK'S
      insistence,issues new rules ending discrim ination in interstate travel,
      effective Novem ber1,1961,six years afterthe ICC'S ow n ruling in Sarah
      Keysv.Carolina Coach Com pany.

        Septem ber25 - Voterregistration activist and NAACP m em berHerbert
      Lee is shotand killed by a w hite state Iegislatorin M ccom b,M ississippi.

        Novem ber1- AIlinterstate buses required to display a certificate that
      reads:''Seating aboard thisvehicle isw ithout regard to race,color,creed,
      ornationalorigin,by orderofthe Interstate Com m erce Com m ission.''

         Novem ber1- SNCC w orkersCharles Sherrod and CordellReagon and
      nine Chatm on Youth Councilm em bers testnew ICC rulesatTrailw ays bus
      station in Albany,Georgia.

        Novem ber 17 - SNCC w orkers help encourage and coordinate black
      activism in Albany,Georgia,culm inating in the founding oftheAlbany
      M ovem ent asa form alcoalition.

        Novem ber22 - Three high schoolstudentsfrom Chatm on'sYouth
      Councilarrested afterusing ''positive actions''by w alking into w hite
      sections ofthe Albany busstation.

        Novem ber22- Albany State College students Bertha Goberand Blanton
      Hallarrested afterentering the w hite w aiting room ofthe Albany Trailw ays
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      station.

        Decem ber10 - Freedom Riders from Atlanta,SNCC IeaderCharlesJones,
      and Albany State student Bertha Goberare arrested atAlbany Union
      Railw ay Term inal,sparking m assdem onstrations,w ith hundreds of
      protestersarrested overthe nextfive days.

        Decem ber11-15- Five hundred protestersarrested in Albany,Georgia.

        Decem ber15 - King arrives in Albany,Georgia in response to a callfrom
      Dr.W .G .Anderson,the Ieaderofthe Albany M ovem entto desegregate
      public facilities.

        Decem ber 16 - King is arrested atan Albany,Georgia dem onstration.He
      ischarged w ith obstructingthe sidewalkand paradingw ithouta perm it.

        Decem ber18 - Albany truce,including a 60-day postponem entofKing's
      trial;King leaves tow n.
        W hitney Young is appointed executive directorofthe NationalUrban
      League and beginsexpanding itssize and m ission.

        Black Like M e by John How ard Griffin,a w hite southernerw ho
      deliberately darkened hisskin to passasa Negro in the Deep South,is
      published,describing ''Jim Crow ''segregation fora nationalaudience.




         January 18-20 - Student protestsoversit-in Ieaders'expulsions at Baton
       Rouge's Southern University,the nation's largestblack school,close it
       dow n.
         February - RepresentativesofSNCC,CORE,and the NAACP form the
       CouncilofFederatedOrganizations(COFO).A grantrequesttofund COFO
       voterregistration activitiesissubmitted to the VoterEducation Project
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      (VEP).
        February 26 - Segregated transportation facilities,both interstate and
      intrastate,ruled unconstitutionalby U.S.Suprem e Court.
        M arch - SNCC w orkers sit-in at US Attorney GeneralRobert F.Kennedy's
      office to protestjailingsin Baton Rouge.
        M arch 20 - FBIinstallsw iretaps on NAACP activistStanley Levison's
      office.
        April3 - Defense Departm entordersfullracialintegration ofm ilitary
      reserve units,exceptthe NationalGuard.

        June- SNCC workersestablish voterregistration projektsin rural
      southw est Georgia.

        July 10 - August28 SCLC renewsprotestsinAlbany;M LK injailJuly 10-12
      and July 27 - August 10.
        August 31- Fannie Lou Ham erattem ptsto registerto vote in Indianola,
      M ississippi.

        Septem ber9 - Tw o black churches used by SNCC forvoterregistration
      m eetingsare burned in Sasser,Georgia.

        Septem ber20 - Jam es M eredith is barred from becom ing the first black
      studentto enrollatthe University of M ississippi.

         Septem ber3o-october1 - U.S.Suprem e CourtJustice Hugo Black orders
      Jam es M eredith adm itted to O le M iss.;he enrollsand a w hite riot ensues.
      French photographerPaulGuihard and Oxford resident Ray Gunterare
      killed.

        October- Leflore County,M ississippi,supervisors cutoffsurplusfood
      distribution in retaliation againstvoterdrive.

        October23- FBIbeginsCommunistlnfiltration(COM INFIL)investigation
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      ofSCLC.

        Novem ber20 - Attorney GeneralKennedy authorizes FBIw iretap on
      Stanley Levison's hom e telephone.

        Novem ber20 - President Kennedy upholds 1960 presidentialcam paign
      prom ise to elim inate housing segregation by signing Executive O rder11063
      banning segregation in Federallyfunded housing.




          January 14 - Incom ing Alabam a governorGeorge W allace callsfor
      ''segregation now ,segregation tom orrow , segregation forever''in his
      inauguraladdress.

        April3-M ay 10 - The Birm ingham cam paign,organized by the Southern
      Christian LeadershipConference (SCLC)andtheAlabamaChristian
      M ovem entforHum an Rights,protests segregation in Birm ingham by daily
      m assdem onstrations.

        April- M ary Lucille Ham ilton,Field Secretaryforthe CongressofRacial
      Equality,refusesto answ erajudge in Gadsden,Alabama,untilshe is
      addressed bythehonorific''Miss''./atthetime,itwassoutherncustom to
      addressw hite people by honorifics and people ofcolorby theirfirst nam es.
      Jailed forcontem ptofcourtHam ilton refused to pay bail. The case
      Ham ilton v.Alabam a is filed by the NAACP.ltreached the U.S.Suprem e
      Court,w hich ruled in 1964 thatcourts m ustaddresspersonsofcolorw ith
      the sam e courtesy extended to w hites.

        April7 - M inistersJohn Thom as Porter,Nelson H . Sm ith and A.D.King
      Iead agroup of2,000 m archersto protestthe jailing ofm ovem entIeaders
      in Birm ingham .

        April12 - Dr.King is arrested in Birm ingham for''parading w ithouta
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      Pplem itl'

        April16 - Dr.King's Letterfrom Birm ingham Jailis com pleted.

        April23 - CO RE activistW illiam L.M oore is m urdered in Gadsden,
      Alabam a.

        M ay 2-4 - Birm ingham 'sjuvenile courtisinundated w ith African-
      Am erican children and teenagers arrested aflerJam es Bevel,SCLC'S
      DirectorofDirectAction and Directorof Nonviolent Education,Iaunches his
      ''D-Day''youth m arch.The actions spansthree days to becom e the
      Birm ingham Children's Crusade w here overa thousand children and
      studentsare arrested.The im ages offire hoses and police dogsturned on
      the protesters are televised around the w orld.

        M ay 9-10 - The Children'sCrusade Iaysthe groundw orkforthe term sof
      a negotiated truce on Thursday,M ay 9,w hich putsan end to m ass
      dem onstrationsin return forrolling back segregation Iaw s and practices.
      Dr.King and Reverend Fred Shuttlesw orth announce the settlem entterm s
      on Friday,M ay 10,only after King holds outto orchestrate the release of
      thousandsofjailed demonstratorswith bailmoneyfrom Harry Belafonte
      and Robert Kennedy.

         M ay 11-12 - A double bom bing in Birm ingham ,probably organized by
      the KKK w ith help from Iocalpolice,precipitates rioting,police retaliation,
      intervention ofstate troopers,and finally m obilization offederaltroops.

         M ay 13 - In United States ofAm erica and Interstate Com m erce
      Com m ission v.the City ofJackson,M ississippietaI.,the United StatesCourt
      ofAppeals Fifth Circuitrules the city'sattem ptto circum vent law s
      desegregating interstate transportation facilities by posting sidew alk signs
      outside G reyhound,Trailw ays and Illinois Centralterm inals reading
      ''W aiting Room forW hite O nly - By OrderPolice Departm ent''and
      ''W aiting Room forColored O nly - By O rderPolice Departm ent''to be


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      unlaw ful.

        May24- A groupofBlackIeaders(assembled byJamesBaldwin)meets
      w ith Attorney GeneralRobert F.Kennedy to discuss race relations.

        M ay 29 - Violence escalates at NAACP picket ofPhiladelphia construction
      site.

        M ay 30 - Police attack Florida A& M anti-segregation dem onstrators w ith
      teargas;arrest 257.

        June 9 - Fannie Lou Ham erisam ong severalSNCC w orkers badly beaten
      by police in the W inona,M ississippi,jailaftertheirbusstopsthere.
        June 11- ''The Stand in the Schoolhouse Door'':Alabam a Governor
      George W allace stands in frontofa schoolhouse dooratthe University of
      Alabam a in an attem ptto stop desegregation by the enrollm entoftw o
      black students,Vivian M alone and Jam es Hood.W allace standsaside after
      being confronted by federalm arshals,Deputy Attorney GeneralNicholas
      Katzenbach,and the Alabam a NationalGuard.Laterin Iife,he apologizes
      forhis opposition to racialintegration.

        June 11- President Kennedy m akes hishistoric civilrights address,
      prom ising a billto Congressthe nextw eek.Aboutcivilrightsfor''Negroes'',
      in his speech he asksfor''the kind ofequality oftreatm entw hich w e w ould
      w antforourselves.''

        June 12 - NAACP field secretary M edgarEvers is assassinated in Jackson,
      M ississippi.(Hism urdererisconvictedin 1994.)
        Sum m er- 80,000 blacksquickly registerto vote in M ississippiby a test
      projectto show theirdesire to participate in the politicalsystem.
        June 19- PresidentKennedysendsCongress(H.Doc.124,88thCong.,1st
      sessiona)hisproposed CivilRightsAct,W hiteIeadersin businessand
      philanthropy gatheratthe Carlyle Hotelto raise initialfundsforthe Council

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      on United CivilRights Leadership

        August28 - Gw ynn O ak Am usem ent Park in Northw estBaltim ore,
      County,M aryland isdesegregated.

        August28 - M arch on W ashington forJobs and Freedom is held.M artin
      LutherKing gives his IHave a Dream speech.

        Septem ber10 - Birm ingham ,Alabam a City Schoolsare integrated by
      NationalGuardsm en underordersfrom President Kennedy.

        Septem ber15 - 16th Street BaptistChurch bom bing in Birm ingham kills
      fouryoung girls.Thatsam e day,in response to the killings,Jam es Beveland
      Diane Nash begin the Alabama Project,which willlaterdevelop asthe
      Selm a Voting Rights M ovem ent.




        AlIyear- The Alabam aVoting RightsProjectcontinuesorganizing Ied by
      Jam es Bevel,Diane Nash,and Jam es O range.The SCLC is notyet
      participating.Bevelrepresents itas Directorof DirectAction and Directorof
      NonviolentEducation.

        AIIyear-Throughout M ississippiapproxim ately fifty Freedom Libraries
      are established and ran by Iibrarian volunteers.

        January 23 - Tw enty-fourth Am endm entabolishesthe polltax for
      Federalelections.

        Sum m er- Freedom Sum m er- m ovem entforvotereducation and
      registration in the M ississippi.The M ississippiFreedom Dem ocratic Party
      w asfounded and elected an alternative slate ofdelegatesforthe national
      convention,as blacks are stillofficially disenfranchised.

        June 9 - Bloody Tuesday - peacefulm archers beaten,arrested and tear

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      gassed by Tuscaloosa,Alabam a police on a peacefulm arch to the County
      Courthouse to protestw hites-only restroom signsand drinking fountains

        June 21- M urders ofChaney,Goodm an,and Schw erner,three civilrights
      w orkersdisappearfrom Philadelphia,M ississippi,Iaterto be found
      m urdered and buried in an earthen dam .

        June 28 - Organization ofAfro-A m erican Unity isfounded by M alcolm X,
      Iasts untilhis death.

         July 2 - CivilRightsActof1964 signed,banning discrim ination based on
      ''race, color,religion,sex ornationalori
                                             gin''in em ploym ent practicesand
      public accom m odations.

         August- Congress passesthe Econom ic O pportunity Actw hich,am ong
      otherthings,providesfederalfundsforIegalrepresentation ofNative
      Am ericans in both civiland crim inalsuits.Thisallow sthe ACLU and the
      Am erican BarAssociation to representNative Am ericans in casesthatIater
      w in them additionalcivilrights.

        August- The M ississippiFreedom Dem ocratic Party delegates challenge
      the seating ofall-w hite M ississippirepresentativesatthe Dem ocratic
      nationalconvention.

        Decem ber 10 - King is aw arded the NobelPeace Prize,the youngest
      person so honored.

        Decem ber14 - In HeartofAtlanta M otelv.United States,the U.S.
      Suprem e Courtupholdsthe CivilRightsActof 1964.

      The Edm und Pettus Bridge on ''Bloody Sunday''in 1965.




        February 18 - Aftera peacefulprotest m arch in M arion,Alabam a,state

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      troopers break it up and one shootsJim m ie Lee Jackson.Jackson dieson
      February 26.Though notprosecuted atthe tim e,Jam es Bonard Fow ler is
      indicted forhis m urderin 2007.

        February 21- M alcolm X isassassinated in M anhattan,New York,
      probably bythree m em bersofthe Nation ofIslam .

        M arch 7- BloodySunday:Civilrightsw orkersin Selma,Alabam a,begin
      the Selm a to M ontgom ery m arch butare attacked and stopped by a
      m assive Alabam a State trooperand police blockade asthey crossthe
      Edm und PettusBridge into the county.M any m archersare injured.This
      m arch,initiated and organized by Jam es Bevel,becom es the visualsym bol
      ofthe Selm a Voting Rights M ovem ent.

         M arch 9 - Joined by clergy from a1Ioverthe country w ho responded to
      his urgent appealsforreinforcem ents in Selm a,King leadsa second
      attem ptto crossthe Pettus Bridge.Although am assed law enforcem ent
      personnelare ordered to draw backw hen the protesters nearthe footof
      the bridge on the otherside,King responds by telling the m archers to turn
      around,and they return to Brown Chapelnearby.He thereby obeysajust-
      m inted federalorderprohibiting the group from w alking the highw ay to
      M ontgom ery.

          M arch 15 - President Lyndon Johnson usesthe phrase ''W e Shall
      Overcom e''in a speech before Congressto urge passage ofthe voting rights
      ilill.

        M arch 21- Participants in the third and successfulSelm a to M ontgom ery
      m arch stepped offon a five-day 54-m ile m arch to M ontgom ery,Alabam a's
      capitol.

        M arch 25 - Afterthe successfulcom pletion ofthe Selm a to M ontgom ery
      M arch,and afterDr.King has delivered his ''How Long,NotLong''speech
      on the steps ofthe state capitol,a w hite volunteer,Viola Liuzzo,is shotand


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      killed by KKK m em bers in Alabam a,one ofw hom w asan FBIinform ant.

        June 2 - Black deputy sheriffO nealM oore is m urdered in Varnado,
      Louisiana.

        July 2 - EqualEm ploym entOpportunity Com m ission beginsoperations.

        August6 - Voting Rights Actof 1965 is signed by PresidentJohnson.It
      providesforfederaloversightand enforcem entofvoterregistration in
      statesand individualvoting districts w ith a history ofdiscrim inatory tests
      and underrepresented populations.It prohibitsdiscrim inatory practices
      preventing African Am ericans and otherm inoritiesfrom registering and
      voting,and electoralsystem sdiluting theirvote.

        August11-15- Follow ing the accusations ofm istreatm ent and police
      brutality by the Los Angeles Police Departm enttow ardsthe city'sAfrican-
      Am erican com m unity,W atts riotseruptin South CentralLosAngeles w hich
      Iastoverfive days.Over34 are killed,1,032 injured,3,438 arrested,and
      costover$40 millionin propertydamage.
        Septem ber- Raylaw niBranch and Gw endolyn Elaine Arm strong becom e
      the firstAfrican-Am erican students to attend the University ofSouthern
      M ississippi.

        Septem ber24 - PresidentJohnson signs Executive O rder11246 requiring
      EqualEm ploym entO pportunity by federalcontractors.




        January 10- NAACP localchapterpresidentVernon Dahm erisinjured by
      a bom b in Hattiesburg,M ississippi.He diesthe nextday.

        June 5 - Jam es M eredith begins a solitary M arch AgainstFearfrom
      M em phis,Tennessee to Jackson,M ississippi.Shortly afterstarting,he is
      shotwith birdshotand injured.CivilrightsIeadersand organizationsrally
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      and continue the m arch leading to,on June 16,Stokely Carm ichaelfirst
      using the slogan Black pow erin a speech.Tw enty-five thousand m archers
      entered the capital.

        Sum m er- The Chicago O pen Housing M ovem ent,led by M artin Luther
      King,Jr.,Jam es Beveland AlRaby,includes a Iarge rally,m arches,and
      dem andsto M ayorRichard J.Daley and the City ofChicago w hich are
      discussed in a m ovem ent-ending Sum m itConference.

        October- Black PantherPartyfounded by Huey P.Newton and Bobby
      Seale in Oakland,California.




      April4 - M LK delivers ''Beyond Vietnam ''speech,calling fordefeatof''the
      gianttripletsof racism ,m aterialism ,and m ilitarism l'.

        June 12 - In Loving v.Virginia,the U.S.Suprem e Courtrules that
      prohibiting interracialm arriage is unconstitutional.

        In the trialofaccused killers in the m urdersofChaney,Goodm an,and
      Schwerner,thejury convicts7 of18 accused m en.ConspiratorEdgarRay
      Killen is laterconvicted in 2005.

        June -August- Over150 com m unitiesburn duringthe Long,Hot
      Sum m erof 1967.The Iargestand deadliest riots ofthe sum m ertake place
      in New ark,New Jersey and Detroitw ith 26 fatalities reported in New ark
      and 43 people Iosing theirIives in the M otorCity.

        October2 - Thurgood M arshallis sw orn in asthe firstAfrican-Am erican
      justice ofthe United StatesSupreme Court.




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        February 1- Tw o M em phissanitation w orkers are killed in the Iine of
      duty,exacerbating Iabortensions.

         February 8 - The Orangeburg M assacre occurs during university protest
      in South Carolina.

        February12- Firstdayofthe(wildcat)M emphisSanitationStrike.
        April3 - King returnsto M em phis;delivers''M ountaintop''speech in
      supportofthe w orkers.

        April4 - M artin LutherKing,Jr.isshot and killed in M em phis,Tennessee.

        April4-8 and one on M ay 1968 - Riots break outin Chicago,W ashington,
      D.C.,Baltim ore,Louisville,KansasCity,and m ore than 150 U.S.cities in
      response to the assassination of M artin LutherKing,Jr.

         April11- CivilRightsActof1968 is signed.The FairHousing Act isTitle
      VIlIofthis CivilRightsAct,and bansdiscrim ination in the sale,rental,and
      financing ofhousing.The Iaw is passed follow ing a seriesofO pen Housing
      cam paigns throughoutthe urban North,the m ostsignificant being the 1966
      Chicago O pen Housing M ovem entand the organized events in M ilw aukee
      during 1967-68.In both cities,angry w hite m obs had attacked nonviolent
      protesters.

        M ay 12 - Poor People's Cam paign encam ps on the NationalM allin
      W ashington,DC.

        O ctober 16 - In M exico City,African-Am erican athletes Tom m ie Sm ith
      and John Carlos raise theirfists in a black pow ersalute afterw inning,
      respectively,the gold and bronze m edals in the Olym pic m en's200 m etres.

         ln Pow e v.M iles,a federalcourtholdsthatthe portionsofprivate
      collegesthatare funded by public m oney are subjectto the CivilRightsAct.



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                      CIVILRIGHTS M OVCM CNT TIM kINC


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                                  PO LICE BRUTA LITY


      EXIBIT VII.

      Police brutality is one ofseveralform s ofpolice m isconductw hich involves
      undue violence by police m em bers.W idespread police brutality exists in
      m any countriesand territories,even those thatprosecute it.Although
      illegal,it can be perform ed underthe colorofIaw .

      The term ''police brutality''w as in use in the Am erican press asearly as
      1872,w hen the Chicago Tribune reported on the beating ofa civilian under
      arrestatthe Harrison StreetPolice Station.



      The origin of'm odern'policing based on the authority ofthe nation state is
      com m only traced back to developm ents in seventeenth and 18th centuw
      France,w ith m odern police departm ents being established in m ostnations
      by the nineteenth and early tw entieth centuries.Cases ofpolice brutality
      appearto have been frequentthen,w ith ''the routine bludgeoning of
      citizensby patrolm en arm ed w ith nightsticksorblackjacks''.Large-scale
      incidents ofbrutality w ere associated w ith Iaborstrikes,such as the G reat
      Railroad Strike of1877,the Pullm an Strike of1894,the Law rence textile
      strike of1912,the Ludlow m assacre of 1914,the Steelstrike of 1919,and
      the Hanapepe m assacre of 1924.



      Portions ofthe populations m ay perceive the police to be oppressors.In
      addition,there isa perception thatvictim s ofpolice brutality often belong
      to relatively pow erlessgroups,such as m inorities,the disabled,the young,
      and the poor.



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      Hubert Locke w rites,

          W hen used in printorasthe battle cry in a black pow errally,police
      brutality can by im plication covera num berofpractices,from calling a
      citizen by his orherfirstnam e to a death by a policem an's bullet.W hatthe
      average citizen thinks ofw hen he hearsthe term ,how ever,issom ething
      m idw ay betw een these tw o occurrences,som ething m ore akin to w hatthe
      police profession know sas ''alley court''- the w anton vicious beating ofa
      person in custody,usually w hile handcuffed,and usually taking place
      som ew here betw een the scene ofthe arrest and the station house.



      In M arch 1991,m em bers ofthe LosAngeles Police Departm entharshly
      beatan African Am erican suspect,Rodney King,w hile a w hite civilian
      videotaped the incident,Ieading to extensive m edia coverage and crim inal
      charges againstseveralofthe officers involved.In April1992,hours after
      the fourpolice officers involved w ere acquitted attrial,the Los Angeles
      riotsof1992 com m enced,causing 53 deaths,2,383 injuries,m ore than
      7,000fires,damageto 3,100businesses,and nearly$1billion infinancial
      Iosses.Afterfacing federaltrial,tw o ofthe fourofficersw ere convicted and
      received 32-m onth prison sentences.The case w asw idely seen asa key
      factorin the reform ofthe Los Angeles Police Departm ent.



      Accordingto datareleased bythe BureauofJusticeStatistics(2011),
      betw een 2003 and 2009 atIeast4,813 people died in the processofbeing
      arrested by Iocalpolice.Ofthe deaths classified as Iaw enforcem ent
      hom icides,2,876 deaths occurred ofw hich 1,643 or57.1% ofthe people
      w ho died w ere ''people ofcolor''.



       Police brutalitv in the United States
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      ln the United States,majorpoliticaland socialmovem ents have involved
      excessive force by police,including the civilrights m ovem entofthe 1960s,
      anti-w ardem onstrations,the W aron Drugs,and the GlobalW aron
      Terrorism .In 2014,the UN Com m ittee againstTorture condem ned police
      brutality and excessive use offorce by Iaw enforcem ent in the US,and
      highlighted the ''frequentand recurrent police shootingsorfatalpursuits of
      unarm ed black individualsa''According to a 2016 report by the United
      Nations'W orking Group ofExperts on People ofAfrican Descent,
      ''contem porary police killings and the traum a thatthey create are
      rem iniscentofthe past racialterrorof Iynchinga''



      Seven m em bersofthe United States M aryland m ilitary police w ere
      convicted forthe Abu G hraib torture and prisonerabuse incidentsin Iraq.
      Detaineeswere abused within the prison by being forced to jump on their
      naked feet,being videotaped in sexually exploited positions,having chains
      around theirneckforphotos,and being kept naked fordays.



      The United States has developed a notorious reputation forcases ofpolice
      brutality,having reported farm ore incidents ofkillings by police officers
      than the restofthe W estern w orld.According to an FBlhom icide report
      from 2012,w hile blacks represent 13% ofthe US population,they
      am ounted for31% ofthose killed by police.

      Police officersare Iegally perm itted to useforce,and theirsuperiors- and
      the public - expectthem to do so.According to Jerom e HerbertSkolnick,
      in dealing Iargely w ith disorderly elem ents ofthe society,som e people
      w orking in Iaw enforcem ent m ay gradùally develop an attitude orsense of
      authority oversociety,particularly undertraditionalreaction-based policing
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      m odels;in som e casesthe police believe thatthey are above the Iaw .



      There are m any reasons asto w hy police officers can som etim es be
      excessively aggressive.Itisthoughtthat psychopathy m akessom e officers
      m ore susceptible to the use ofexcessive force than others.In one study,
      police psychologists w ere surveyed on officers w ho had used excessive
      force.The inform ation obtained allow ed the researchersto develop five
      unique typesofofficers,only one ofw hich w assim ilarto the bad apple
      stereotype.These include personalitydisorders,previoustraum aticjob-
      related experience,young inexperienced orauthoritarian officers;officers
      w ho Iearn inappropriate patrolstyles,and officers w ith personalproblem s.
      Schrivers categorizesgroups ofofficers,separating the group thatm ost
      Iikely use excessive force.How ever,this ''bad apple paradigm ''is
      considered by some to be an ''easyw ay outl'.A broad reportcom m issioned
      by the RoyalCanadian M ounted Police on the causesofm isconduct in
      policing calls it ''a sim plistic explanation thatperm itsthe organization and
      seniorm anagem entto blam e corruption on individualsand individual
      faults- behavioural,psychological,background factors,and so on,rather
      than addressing system ic factors.''The reportgoeson to discuss the
      system ic factors,w hich include:



         Pressuresto conform to certain aspects of''police culture'',such asthe
      Blue Code ofSilence,w hich can ''sustain an oppositionalcrim inal
      subculture protecting the interests of police w ho violate the Iaw ''and a
      '''w e-they'perspective in w hich outsidersare view ed w ith suspicion or
      distrust''

        Com m and and controlstructures w ith a rigid hierarchicalfoundation
      (''resultsindicatethatthemore rigidtheauthoritarianhierarchy,theIower
      the scores on a m easure ofethicaldecision-m aking''concludes one study

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      review ed in the reportand deficiencies in internalaccountability
      mechanisms(includinginternalinvestigation processes).


      Police use offorce isnotkeptin check in m any jurisdictionsbythe issuance
      ofa use offorce continuum .A use offorce continuum sets Ievels offorce
      considered appropriate in directresponse to a victim s behavior.This pow er
      isgranted by the governm ent,w ith few ifany lim its setout in statutory Iaw
      asw ellascom m on Iaw .



      Violence used by police can be excessive despite being Iaw ful,especially in
      the context of politicalrepression.Indeed,''police brutality''isoften used
      to referto violence used by the policeto achieve politically desirable ends
      (terrorism)and,therefore,whennone should beusedataIIaccordingto
      widelyheldvaluesand culturalnormsinthesociety(ratherthanto referto
      excessiveviolenceusedwhereatIeastsome maybeconsideredjustifiable).


      Studies show thatthere are officersw ho believe the Iegalsystem they
      serve isfailing and that itistheirduty to pick up the slack.This is know n as
      ''vigilantism '',w here the officerinvolved m ay think the suspectdeserves
      m ore punishm entthan w hatthey m ay have to serve underthe court
      system .



       During high-speed pursuitsofsuspects,officerscan becom e angry and
      filledwithadrenaline,whichcan affecttheirjudgmentwhentheyfinally
      assaultthe victim .The resulting Iossofjudgm entand heightened
      em otionalstate can result in inappropriate use offorce.The effectis
      colloquially know n as ''high-speed pursuitsyndrom e.''


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      Effetts of Police brutality in Am erica



      Police brutality isthe m isuse ofpow erby police force to intentionally harm
      individuals.The excessive force im posed by police officers hasgrow n
      dram atically overthe pastdecade,causing socialm isinterpretations ofthe
      role that police officers play in the com m unity.



      In 2015,the percentage ofpeople w ho have confidence in the police hitits
      Iow estsince 1993 at52 percent.Ofthis 52 percentdem ocrats saw the
      biggestdrop in confidence.Dem ocrats'confidence in police dropped 13
      percentage pointsoverthe Iasttw o years com pared w ith 2012-2013,a
      Iargerchange than forany othersubgroup.Overthe sam e period,
      lndependents'and Republicans'confidence in police has notchanged.As a
      result,Democrats(42%)now have Iessconfidence in policethan
      independents(51%)and remainmuch Iessconfidentthan Republicans
      (69%).M ostimportantlyhoweveristhe num berofBlackpeoplethathave
      Iosttrust in the police overthe Iasttw o years:Black people's confidence in
      police has averaged 30 percent,w ellbelow the nationalaverage of53%
      and m uch Iow erthan forany othersubgroup.Black people'sconfidence is
      dow n six pointsfrom 2012 to 2013,sim ilarto the four-point drop am ong aII
      Am ericans.



      The sam e study found thatthe num berofW hite people w ho identify as
      dem ocrathave Iostthe sam e am ount ofconfidence in the police as Black
      people,as W hite Dem ocrats'confidence declined 11 pointsoverthe Iast
      tw o years,sim ilarto the l4-pointdecline am ong non-W hite Dem ocratsthe
      sam ple sizes are notlarge enough to break outBlack Dem ocrats separately,

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      butthe lim ited data suggesttheirconfidence declined no m ore than thatof
      W hite Dem ocrats.This decreased confidence in police officers is harm ing
      relationsand affecting how m any people dealw ith and respond to police
      w hich in turn leads to m ore hostility from police in the United States.This
      hasalso Iead to m any cities m aking police w earbody arm orand cam eras
      on them at alItim es.



      The repercussionsofpolice officers'''excessive force''ofthose w ho find
      them selves in confrontation w ith authorities are non-existent.Authorities
      have Iegalright overhow the respond and treatsuspects,police officers
      m ayjustifiably escalate the use offorce w ith m ere com m ands...but
      com m ands from w ho? Therefore,police officers receive little to no
      punishm entforw illingly and forcefully hurting civilians.



      Hands Up Don'tShoot



      The Constitution states that police officers are legally allow ed to shoot in
      the instance thattheyfeelthe need to protecttheirIivesoran innocentIife
      orto preventthe suspectfrom escaping and posing a dangerous threatto
      the ofbystanders in society.The Suprem e CourtDecision ofTennessee v.
      Garnerm ade it possible to shoot a fleeing suspectO NLY ifthey m ay cause
      harm to innocentpeople so thatauthoritiesare notjustshootevery
      suspectthattriesto escape.



      In the United Statesthere are one hundred sixty m illion m ore Caucasian
      people than there are Black people.How ever,being thirteen percentofthe
      country'spopulation,Black people are tw enty fourpercent ofthe num ber
      ofpeople killed by cops as of2015.Due to the increased rate ofthe
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      num berofBlack people killed by the police there has been an increased
      distrustofthe police in the United States.



      Society w ould like to believe thatpolice officers and protectors are not
      biased tow ardsthe victim sofpolice brutality,w e hope thateverything Iaw
      enforcem entdoesisto betterprotectus.Ashistory repeatsand m ore and
      m ore Black Am ericans Iose theirIives,this gives reason to believe that
      differentgeographic locations carry differentpoliticaland socialview s,
      therefore police officers are biased tow ardsthose they decide to abuse,
      instead ofallowing thejustice system to properly servejustice.


      Stereotvpes



      Lorie Fridell,Associate Professorofcrim inology at University ofSouth
      Florida statesthat ''racialprofiling w asthe num berone issue facing police
      (inthe 1990's).''W hich Ieadsherto understandtwothings:''biasinpolicing
      wasnotjusta few officersin a few departm entsand,overw helm ingly,the
      police in thiscountry are w ell-intentioneda''The countw as a w hole sets
      stereotypesas w ellas biasesagainst Black Am ericansw hich inevitably
      Ieadsto socialm isinterpretation ofthe safety ofA m ericansw hen a Black
      person is present.



      An experim entdone in M ekaw iduring 2014 conducted on W hite
      undergraduate fem ale studentssuggests thatthere is a higherdegree of
      fearofracialm inorities w hich gives reason forauthorities to believe racial
      m inorities are dangerous,hence so m any shootings ofm inorities.The
      experim entexem plifiesthe dehum anization and Iack ofem pathetic

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      concern forminoritiesdisplayed by citizen ofracialmajority.
      Protest m arch in response to the Jam arClark shooting,M inneapolis,
      M innesota



      Incidents resulting in high profile deathsof innocent Black m en such Iike
      Eric Garnerin New York City,Tam irRice in Cleveland,and Freddie Gray in
      Baltim ore show s the Black com m unity thatthey can no Iongertrustthe
      police force.As a resultofthis lack oftrust in police officers,the Black
      society have form ulated m any socialorganizations;founded in 2013,the
      Black Lives M atterM ovem entm ade a socialim pacton the w orld in a
      response the violentand system atic racism thatBlack people stillface by
      police officers.



      W hile the Justice Departm ent reported thatCleveland police officers used
      ''excessive deadly force,including shootingsand head strikes w ith im pact
      w eapons;unnecessary,excessive,and retaliatory force,including Tasers,
      chem icalsprays,and theirfists''on the victim ,there w as no real
      repercussions from theiractions.



      Black Am ericansV.US Police Departm ent



      Anotherreportreleased concerning the M ichaelBrow n shooting in
      Ferguson,M issouri,the Justice Departm entadm itsto the pattern ofracial
      bias ofthe Police Departm entin Ferguson.The departm entarguesthat it is
      typically an effortto ticket as m any Iow -incom e Black residentsas possible
      in an attem ptto raise Iocalbudgetrevenue through finesand courtfees.
      The Justice Departm entexplains,police encounters could getdow nright

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      abusive when the person being questioned bythe police officersgets
      disrespectfulorchallengestheirauthority.



     In addition,The Departm ent ofJustice released a statem entthat confronts
     police officers'susceptibility to im plicit bias:One ofthe thingsthey Iooked
     atisw hatthey called threatperception failure.The officerbelieved that
     the person w asarm ed and itturned out notto be the case.And these
     failureswere more Iikelyto occurw hen the subjectw as Black.


      Statistics



     ln the United Statesin the Iate 2010sthere hasbeen a increase in the
     num berof police brutality cases.The num berofdeaths caused by a police
     officerhave slightly increased from 397 to 426 deaths in the Iast reporting
     yearw hich w as 2013.



      In addition,In a study done by Research Triangle Institute in 2015,Arrest
      Related Deaths w ere ranked higherthan Supplem entary Hom icide Reports
      in US deathsby approxim ately 4% .Police officersare killing m ore citizensat
      a higherrate than citizensare killing each other.



      In the yearof2017 there w ere 1,147 deathsaccounted forby police,13 of
      w hich police officers w ere charged w ith a crim e.640 ofthe deaths caused
      by police officersthatyear,w ere responsesto non-violentoffensesand no
      crim e w as reported.149 people killed by the police w ere unarm ed.



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      Also,studies have show n that''Black people are three tim esm ore likely to
      be killed by police in the United Statesthan W hite people.M ore unarm ed
      Black people w ere killed by police than unarm ed W hite people Iastyear,''
      give.the factthatonly 14% ofthe population are Black people.




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                                   Police Brutalitv




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                              RACIAL DISCRIM INATIO N



      EXIBIT IX.



      Racialdiscrim ination refersto discrim ination againstindividualson the
      basisoftheirrace.Policies ofracialsegregation m ay form alize it,but itis
      also often exerted w ithout being Iegalised and also it m eansfacing
      injustice.
      Racialdiscrim ination in the United States


      W ith regard to em ploym ent,m ultiple auditstudieshavefound strong
      evidence ofracialdiscrim ination in the United States'Iaborm arket,w ith
      m agnitudesofem ployers'preferences ofw hite applicantsfound in these
      studies ranging from 50% to 240% .Othersuch studies have found
      significantevidence ofdiscrim ination in carsales,hom e insurance
      applications,provision ofm edicalcare,and hailing taxes.There issom e
      debate regarding the m ethod used to signalrace in these studies.



      Em plovm ent


      Racialdiscrim ination in the w orkplace falls into tw o basic categories:



        Disparate Treatm ent:An em ployer's policiesdiscrim inate based upon
      any im m utable racialcharacteristic,such as skin,eye orhaircolor,and

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      certain facialfeatures;

        Disparate Im pact:Although an em ployerm ay notintend to discrim inate
      based on racialcharacteristics,its policies nonetheless have an adverse
      effect based upon race.



      Discrim ination m ay occuratany point in the em ploym entprocess,
      including pre-em ploym entinquiries,hiring practices,com pensation,w ork
      assignm entsand conditions,privileges granted to em ployees,prom otion,
      em ployee discipline and term ination.



      Researchers M arianne Bertrand and SendhilM ullainathan,atthe University
      ofChicago and M IT found in a 2004 study,thatthere w asw idespread racial
      discrim ination in the w orkplace.In theirstudy,candidates perceived as
      having ''w hite-sounding nam es''w ere 50% m ore Iikely than those w hose
      nam esw ere m erely perceived as ''sounding black''to receive callbacks for
      interview s.The researchersview these results as strong evidence of
      unconscious biases rooted in the United States'Iong history of
      discrimination (e.g.,Jim Crow Iaws,etc.)


      Devah Pager,a sociologist at Princeton University,sent m atched pairs of
      applicantsto apply forjobsin M ilwaukee and New York City,finding that
      black applicantsreceived callbacksorjob offersathalfthe rate ofequally
      qualified w hites.Anotherrecent audit by UCLA sociologistS.M ichael
      Gaddisexam inesthe job prospectsofblackand white college graduates
      from elite private and high quality state highereducation institutions.This
      research findsthatblacksw ho graduate from an elite schoolsuch as
      Harvard have aboutthe sam e prospectofgetting an interview as w hites
      w ho graduate from a state schoolsuch as UM ass Am herst.

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      A 2001 study ofw orkplace evaluation in a Iarge U.S.com pany show ed that
      black supervisors rate w hite subordinates Iow erthan average and vice
      Versa.




      HousinR discrim ination (United States)


      M ultiple experim entalauditstudies conducted in the United States have
      found that blacks and Hispanics experience discrim ination in aboutone in
      five and one in fourhousing searches,respectively.



      A 2014 study also found evidence ofracialdiscrim ination in an Am erican
      rentalapartm ent m arket.



      Effects on health


      Studies have show n an association betw een reported racialdiscrim ination
      and adverse physicaland m entalhealth outcom es.This evidence has com e
      from m ultiple countries,including the United States,the United Kingdom ,
      and New Zealand.



      Racism in healthcare svstem


      Racialbiasexists in the m edicalfield affecting the w ay patients are treated
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      and the w ay they are diagnosed.There are instances w here patients'w ords
      are nottaken seriously,an exam ple w ould be the recent case w ith Serena
      W illiam s.Afterthe birth ofherdaughtervia C-section,the tennis player
      began to feelpain and shortness ofbreath.Ittook herseveraltim esto
      convince the nurse they actually took herself-said sym ptom s seriously.Had
      she notbeen persistentand dem anded a CT scan,w hich show ed a clot
      resulting in blood thinning,W illiamsm ighthave notbeen alive.Thisisjust
      one of hundred's ofcases w here system ic racism can affectw om en ofcolor
      in pregnancy com plications.



      O ne ofthe factorsthat Iead to higherm ortality ratesam ongstblack
      m others isthe poorly conditioned hospitals and Iack ofstandard healthcare
      facilities.Along w ith having deliveries done in underdeveloped areas,
      situation becom es com plicated w hen the pain dealt by patientsare not
      taken seriously by healthcare providers.Pain heard from patients ofcolor
      are underestim ated by doctors com pared to pain told by patients w ho are
      w hite Ieading them to m isdiagnose.



      M any say thatthe education Ievelofpeople affectw hetherornotthey
      adm itto healthcare facilities,Ieaning to the argum entthatpeople ofcolor
      purposefully avoid hospitals com pared to w hite counterparts how ever,this
      is notthe case.Even Serena W illiam s,à w ell-know n athlete,w as nottaken
      seriously w hen she described herpain.ltis true thatthe experiencesof
      patients in hospitalsettings influence w hetherornotthey return to
      healthcare facilities.Black people are Iess Iikely to adm itto hospitals
      how everthose thatare adm itted have Iongerstays than w hite people .



      The Iongerhospitalization ofblack patients doesnotim prove care
      conditions,itm akesitw orse,especially w hen treated poorly by faculty.Not
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      a Iotofm inorities are adm itted into hospitals and those thatare receive
      poorconditioned treatm entand care.Thisdiscrim ination results in
      m isdiagnosis and m edicalm istakesthat Iead to high death rates.



      Although the M edicaid program w as passed to ensure African Am ericans
      and otherm inorities received the healthcare treatm entthey deserved and
      to Iim itdiscrim ination in hospitalfacilities,there stillseem sto be an
      underlying cause forthe Iow num berofblack patients adm itted to
      hospitals,Iike not receiving the properdosage ofm edication.Infant
      m ortality rates and Iife expectancies ofm inoritiesare m uch low erthan that
      ofw hite people in the United States.Illnesses Iike cancerand heart
      diseasesare m ore prevalent in m inorities,w hich is one ofthe factorsfor
      the high m ortality rate in the group.how everare nottreated accordingly.



      Although program s Iike m edicaid existsto supportm inorities,there still
      seem sto be a large num berofpeople w ho are not insured.This financial
      draw back discourages people in the group to go to hospitalsand doctors
      offices.



      Financialand culturalinfluences can im pactthe w ay patientsare treated by
      theirhealthcare providers.W hen doctorshave a bias on a patient,itcan
      Iead to the form ation ofstereotypes,im pacting the w ay they view their
      patient'sdata and diagnosis,affecting the treatm ent plan they im plem ent.




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                              RACIALDISCRIM INATION


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              CRU ELTY AN D INJUSTICE O F AFRICA N -AM ERICAN S



      EXIBIT X.


      Inthecrueltyand injusticeofnegro slavew,inthem isery itoccasions,and
      the devastation w hich itspreadsoverthe face ofthe earth,aIIthe thinking
      partofm ankind are agreed.How is it possible there can be tw o opinions on
      the subject,when ithasIong been a m atterofpublicnotoriety,thatthe
      slaves in the W est Indiesare degradingly driven Iike cattle by the w hip at
      theirIabour,w hich,fornearly halfthe year,Iastsforone halfthe night,as
      w ellas the w hole day;thatthey are held,and dealtw ith,as property,and
      often branded as such w ith a hot iron;thatthey are liable to be sold atthe
      w illoftheirm aster,orforpaym ent ofhis debts,and the nearesttiesoflife
      arethusrentasunder;thatthey are Iiable,whetherm ale orfem ale,to be
      exposed and degradingly punished,atthe caprice,not only ofthe m asteror
      overseer,butofthe m eanestdriver;thatthey are com pelled to w ork on
      the Sabbath fortheirow n subsistence,w hich is,in fact,fortheirm aster's
      profit;thatthe advantages ofreligious instruction,and ofthe m arriage tie,
      are alm ost universally w ithheld from them ;thatthe m ostunrestrained
      Iicentiousness prevails am ongstthem ,and isexhibited in a degrading,
      disgusting,and depopulating prom iscuous intercourse,encouraged by the
      debaucheriesofthe w hites;thatthey can hold no property;theirevidence
      is not received,and hence Iaw sfortheirprotection are buta m ockery.



      The readerw illbe ready to exclaim ,''Surely there m ust be som e greatand
      palpable gain arising from thissystem ,to induce its m aintenance fora
      single hourl''Butw hatw illbe hisastonishm entto find,that instead ofgain,
      it is attended w ith greatand enorm ous Ioss;thatsuch is itsinherent
      im policy,that if ithad not been supported and protected by bounties and
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      prohibitions,itw ould Iong since have been am eliorated and finally have
      fallen.



      Had com m erce been carried on w ith enlarged and enlightened viewsof
      self-interest,and especially ifunited w ith m otivesof benevolence and
      hum anity,how w ould know ledge and civilization have m arked the steps of
      Europeans,and have been extended from the coaststo the interiorof
      Africa!Instead ofw hich,w e have spread barbarism and desolation on her
      coasts,and thereby form ed a form idable barrierto ourintercourse w ith the
      m ore civilized interior!



      Had these view s and these m otives characterized ourintercourse w ith
      India,how w ould darkness,ignorance and idolatry,have been disappearing
      am ongst hervast population? Then m ightw e,atthis day,have been
      exchanging the produce ofa vastly-extended m anufacturing industry,for
      the cheap productions ofvoluntary labouron the fertile soilsofAfrica and
      ofIndia.



      Buthow w idely different has been ourconduct!W hat butabsolute
      infatuation could have induced the Europeansto destroy the native
      inhabitants ofthe W est Indies,in orderto repeople those islands,atan
      enorm ous expense,from the coastofAfrica!And w hat butabsolute
      infatuation can ithave been,w hich in thiscountry has actually Ied usto
      rejectsugar,ifproduced bythe Iabourofthe African on hisnative soil;and
      atthe sam e tim e to give a bounty on the produce ofhisIabour,w hen
      converted into a slave,and forced to cultivate the now-exhausted soilsof
      ourW est India islands!
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       Such istruly the state ofthings;and how lam entable is it,that after
       condem ning and abolishing the African slave trade,w e should stillbe
       supporting,w ith enorm ous pecuniary sacrifices,the rem nant ofour
       w ickednessand folly!



       Ifthe change from slaveryto freedom wasattended both w ith dangerand
       w ith Ioss,w ho w ould even then be found to advocate the continuance of
       slavery? Butw hen its policy has been so fully proved,let us hope thatthe
       enlightened partofthe W estlndiansthem selvesw illunite w ith usto
       extirpate thisevil.W ho can entertain anydoubt,thatifthe subjectwas
       properly investigated,and the interestsand claim softhe planters,and
       those oftheiroppressed slavesfairly taken into consideration,a plan m ight
       be devised and adopted which would prove greatly beneficialalike to
       planters,to the slaves,and to the country at Iarge?



      Do notthese thingscallforinvestigation? Can any individual,w ho feels an
      interest in the prosperity ofhiscountry,orin the happinessof hisfellow -
      creatures,refuse to exam ine w hetherthey are true? And,ifconvinced of
      theirtruth,shallw e be guiltless ifw e hold ourpeace,orrelax ourefforts
      untilthe w hole m assofthis iniquitous system ,w ith aIIits ruinouseffects,is
      understood and felt by the country?
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                              CRUELTY AN; INJQSTICE


       REFEMENCE
       The Gaurdian




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                          REPA RATIO NS FO R SLA VERY


       ExibitXI.



            Reparationsforslavery is a proposalthat som e type ofcom pensation
       should be provided to the descendantsofenslaved people in the United
       States,in consideration ofthe forced and uncom pensated labortheir
       ancestors perform ed overcenturies.This com pensation has been proposed
       in a variety ofform s,from individualm onetary paym entsto Iand-based
       com pensation related to independence.The idea rem ains highly
       controversialand no broad consensusexistsasto how itcould be
       im plem ented.There have been sim ilarcallsforreparationsfrom som e
       Caribbean countriesand elsewhere in theAfrican diaspora,and some
       African countries have called forreparationsto theirstatesforthe Ioss of
       theirpopulation.



       U .S.HistoricalContext


          The argum entssurrounding reparations are based on the form al
      discussion about m any different reparations,and actualIand reparations
      received by African Am ericansw hich w ere Iatertaken aw ay.ln 1865,after
      the Confederate StatesofAm erica w ere defeated in the Am erican Civil
      W ar,GeneralW illiam Tecum seh Sherm an issued SpecialField O rders,No.
      15 to both ''assure the harm ony ofaction in the area ofoperations''and to
      solve problem scaused by the m assesoffreed slaves,a tem porary plan
      granting each freed fam ily forty acres oftillable land in the sea islandsand
      around Charleston,South Carolina forthe exclusive use of black people
      w ho had been enslaved.The arm y also had a num berofunneeded m ules
                                            1
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       w hich w ere given to settlers.Around 40,000 freed slavesw ere settled on
       400,000 acres(1,600 km2)inGeorgiaand SouthCarolina.However,
       PresidentAndrew Johnson reversed the orderafterLincoln w as
       assassinated,and the Iand w as returned to itspreviousow ners.ln 1867,
       ThaddeusStevenssponsored a billforthe redistribution of land to African
       Am ericans,butitw as notpassed.



       Reconstruction cam e to an end in 1877 w ithoutthe issue ofreparations
       having been addressed.Thereafter,a deliberate m ovem entofsegregation
       and oppression arose in southern states.Jim Crow Iaw s passed in som e
       southeastern statesto reinforce the existing inequality thatslavery had
       produced.In addition w hite extrem istorganizations such asthe Ku Klux
       Klan engaged in a m assive cam paign ofterrorism throughoutthe Southeast
       in orderto keep African Am ericans in theirprescribed socialplace.For
       decadesthisassumed inequality and injustice wasruled on in court
       decisions and debated in public discourse.



       Reparation forslavery in w hatis now the United States is a com plicated
       issue.Any proposalforreparations m usttake into accountthe role ofthe
       new ly form ed United Statesgovernm ent in the im portation and
       enslavem entofAfricans,asw ellasthatofthe olderand established
       European countriesthatcreated the colonies in w hich slavery w as Iegal.
       Also relevantare theireffortsto stop the trade in slaves.It m ustalso
       considerifand how m uch m odern A m ericanshave benefited from the
       im portation and enslavem entofAfricans since the end ofthe slave trade in
       1865.



       Profitfrom slavery w as not Iim ited to the South:New England m erchants
       profited from the slave trade.ln a 2007 colum n in The New York Tim es,
                                            2
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       historian Eric Fonerw rites:



          In the Colonialera,Southern planters regularly purchased im ported
       slaves,and m erchants in New York and New England profited handsom ely
       from the trade.

         The Am erican Revolution threw the slave trade and slavery itself into
       crisis.In the run-up to w ar,Congress banned the im portation ofslaves as
       partofa broadernonim portation policy.Duringthe W arofIndependence,
       tens ofthousands ofslavesescaped to British Iines.M any accom panied the
       British outofthe country w hen peace arrived.



          Inspired by the ideals ofthe Revolution,m ostofthe new ly independent
       Am erican states banned the slave trade.But im portation resum ed to South
       Carolina and Georgia,w hich had been occupied bythe British duringthe
       w arand lostthe largest num berofslaves.



         The slave trade wasa majorsource ofdisagreementatthe Constitutional
       Convention of1787.South Carolina's delegatesw ere determ ined to protect
       slavery,and they had a pow erfulim pacton the finaldocum ent.They
       originatedthethree-fifthsclause (givingtheSouthextra representation in
       Congressbycountingpartofitsslave population)andthreateneddisunion
       ifthe slave trade w ere banned,asotherstates dem anded.



         The resultw as a com prom ise barring Congressfrom prohibiting the
       im portation ofslaves until1808.Som e Anti-Federalists,as opponents of
       ratification w ere called,cited the slave trade clause as a reason w hy the
       Constitution should be rejected,claiming itbroughtshame upon the new
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       nation.



         Asslavery expanded into the Deep South,a flourishing internalslave
       trade replaced im portation from Africa.Betw een 1808 and 1860,the
       econom ies ofolderstates Iike Virginia cam e increasingly to rely on the sale
       ofslavesto the cottonfieldsofAlabam a,M ississippiand Louisiana.But
       dem and faroutstripped supply,and the price ofslaves rose inexorably,
       placing ow nership outside the reach ofpoorerSoutherners.



       Proposals forReparations
       United Statesgovernm ent

       Som e proposals have called fordirect paym entsfrom the U.S.governm ent.
       Variousestim ates have been given ifsuch paym ents w ere to be m ade.
       Harper's M agazine estim ated thatthe totalof reparations due w as about
       ''$97trillion,based on222,505,049hoursofforced Iaborbetween 1619and
       1865,com pounded at 6% interestthrough 1993''.Should aIIorpartofthis
       am ountbe paid to the descendantsofslavesin the United States,the
       current U.S.governm entw ould only pay a fraction ofthat cost,since ithas
       been in existence only since 1789.



       The Rev.M .J.Divine,betterknow n as FatherDivine,w as one ofthe earliest
       Ieadersto argue clearly for''retroactive com pensation''and the m essage
       w as spread via InternationalPeace M ission publications.O n July 28,1951,
       FatherDivine issued a ''peace stam p''bearing the text:''Peace!AlInations
       and peoplesw ho have suppressed and oppressed the under-privileged,
       they w illbe obliged to pay the African slaves and theirdescendants foralI
       uncom pensated servitude and foraIIunjustcom pensation,w herebythey
       have been unjustly deprived ofcom pensation on the accountofprevious
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       condition ofservitude and the presentcondition ofservitude.This isto be
       accom plished in the defense ofaIlotherunder-privileged subjectsand
       m ustbe paid retroactive up-to-date''.



       Atthe firstNationalReparations Convention in Chicago in 2001,a proposal
       by HowshuaAm ariel,a Chicago socialactivist,would require the federal
       governm entto m ake reparationsto proven descendants ofslaves.In
       addition,Am arielstated ''Forthose blacks w ho w ish to rem ain in A m erica,
       they should receive reparations in the form offree education,free m edical,
       free legaland free financialaid for50 years w ith no taxes Ievied,''and ''For
       those desiring to Ieave Am erica,every black person w ould receive a m illion
       dollarsorm ore,backed by gold,in reparation.''Atthe convention Am ariel's
       proposalreceived approvalfrom the 100 orso participants,nevertheless
       the question ofw ho w ould receive such paym ents,w ho should pay them
       and in w hatam ount,has rem ained highly controversial,since the United
       States Census does nottrack descentfrom slavesorslave ow nersand relies
       on self-reported racialcategories.



       On July 30,2008,the United States House ofRepresentatives passed a
       resolution apologizing forAm erican slavery and subsequentdiscrim inatory
       law s.



       Som e states have also apologized forslavery,including M aryland,Virginia,
       and North Carolina.



       In April2010,Harvard professorHenry Louis Gates in a New York Tim es
       editorialadvised reparations activiststo considerthe African role in the

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       slave trade in regardsto w ho should shoulderthe costofreparations.

       Private institutions



       Private institutions and corporations w ere also involved in slavery.O n
       M arch 8,2000,Reuters New s Service reported that Deadria Farm er-
       Paellm ann,a Iaw schoolgraduate,initiated a one-w om an cam paign m aking
       a historic dem and forrestitution and apologiesfrom m odern com panies
       thatplayed a directrole in enslaving Africans.Aetna Inc.w as herfirsttarget
       because oftheirpractice ofw riting Iife insurance policieson the Iives of
       enslaved Africans w ith slave ow nersasthe beneficiaries.In response to
       Farm er-paellm ann'sdem and,Aetna Inc.issued a public apology,and the
       ''corporate restitution m ovem ent''w as born.



       By 2002,nine Iaw suits w ere filed around the country coordinated by
       Farm er-paellm ann and the Restitution Study Group- a New York non-
       profit.The Iitigation included 20 plaintiffs dem anding restitution from 20
       com paniesfrom the banking,insurance,textile,railroad,and tobacco
       industries.The caseswere consolidated under28 U.S.C.j 1407 to
       m ultidistrict Iitigation in the United States DistrictCourtforthe Northern
       DistrictofIllinois.The districtcourtdism issed the Iawsuitsw ith prejudice,
       and the claim ants appealed to the United States CourtofAppealsforthe
       Seventh Circuit.



       On Decem ber 13,2006,thatCourt,in an opinion w ritten by Judge Richard
       Posner,m odified the districtcourt'sjudgm entto be a dism issalw ithout
       prejudice,affirmed the majority ofthe districtcourt'sjudgment,and
       reversed the portion ofthe districtcourt'sjudgmentdism issingthe
       plaintiffs'consum erprotection claim s,rem anding the case forfurther

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       proceedings consistentw ith itsopinion.Thus,the plaintiffs m ay bring the
       law suitagain,butm ustclearconsiderable proceduraland substantive
       hurdlesfirst:



          Ifone orm ore ofthe defendantsviolated a state Iaw by transporting
       slavesin 1850,and the plaintiffscan establish standing to sue,prove the
       violation despite its antiquity,establish thatthe Iaw w as intended to
       providearemedy(eitherdirectlyorbyprovidingthebasisforacommon
       law actionforconspiracy,conversion,orrestitution)to Iawfullyenslaved
       persons ortheirdescendants,identify theirancestors,quantify dam ages
       incurred,and persuade the courtto tollthe statute ofIim itations,there
       would be no furtherobstacle to the grantofrelief.



       In October2000,California passed a Slavery Era Disclosure Law requiring
       insurance com paniesdoing businessthere to reporton theirrole in slavery.
       The disclosure Iegislation,introduced by SenatorTom Hayden,isthe
       prototype forsim ilarIaw s passed in 12 states around the United States.



       The NAACP has called form ore ofsuch Iegislation atlocaland corporate
       Ievels.Itquotes Dennis C.Hayes,CEO ofthe NAACP,as saying,''Absolutely,
       w e w illbe pursuing reparationsfrom com panies that have historicalties to
       slavery and engaging aIIparties to com e to the tablea''Brow n University,
       whose nam esakefam ily wasinvolved in the slave trade,hasalso
       established a com m ittee to explorethe issue ofreparations.In February
       2007,Brow n University announced a set ofresponses to itsSteering
       Com m ittee on Slavery and Justice.W hile in 1995 the Southern Baptist
       Convention apologized forthe ''sins''ofracism ,including slavery.



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       ln Decem ber2005,a boycottwascalled by a coalition ofreparations
       groups underthe sponsorship ofthe Restitution Study G roup.The boycott
       targetsthe studentIoan products ofbanksdeem ed com plicitin slavery-
       particularly those identified in the Farm er-paellm ann Iitigation.As partof
       the boycottstudentsare asked to choose from otherbanksto finance their
       studentIoans.''



       ln 2005,JP M organ Chase and W achovia both apologized fortheir
       connections to slavery.



       Argum entsfor rqp@r@sions
                         -




       Accum ulated w ealth

          In 2008 the Am erican Hum anistAssociation published an article w hich
       argued thatifem ancipated slaveshad been allow ed to possessand retain
       the profitsoftheirlabor,theirdescendantsm ightnow controla m uch
       Iargershare ofAm erican socialand m onetary w ealth.Notonly did the
       freedm en notreceive a share ofthese profits,butthey w ere stripped ofthe
       sm allam ountsofcom pensation paid to som e ofthem during
       Reconstruction.



       The w ealth ofthe United Statesw as greatly enhanced by the exploitation
       ofAfrican Am erican slave labor.According to this view ,reparations w ould
       be valuable prim arily asa w ay ofcorrecting m odern econom ic im balances.



       Precedents

       Underthe CivilLibertiesActof1988,signed into Iaw by PresidentRonald
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       Reagan,the U.S.governm ent apologized forJapanese Am erican
       internmentduringW orld W ar11and provided reparationsof$20,000to
       each survivor,to com pensateforlossofproperty and Iiberty duringthat
       period.Form any years,Native Am erican tribes have received
       com pensation forIands ceded to the United Statesby them in various
       treaties.Othercountries have also opted to pay reparations forpast
       grievances,such asthe Germ an governm entm aking reparationsto
       survivors ofthe Holocaust.




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       increasingly hopeless,and thatthat Ieadsto drug use,itIeads.-.to suicide,''
       he said-''

      A study confined to non-Hispanic w hites in US and England also show ed the
      effect.(Pickettand W ilkinson,TheSpiritLevel,2011,p.177)
      Countriesofsim ilarculturesand differentIevelsofequality- Spain and
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      differentculturesand w ays ofachieving equality - Nordic countriesand
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      The effectwasworseamongIow class/education Ievelin high inequality
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                              CRUELTY A ND INJUSTICE


       REFERENCE

       The Gaurdian




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       African A m ericans United Alliance
               Plaintiff

                VS.

       United States Governm ent

         Departm ent ofJustice
               Defendant




                           Dem and forReparations forSlaverv
       StandinR to sue
       African Am ericansofSlave Descendants

       Dem ands forreparations
       Release ofallAfrican Am ericans incarcerated fornon-violent drug crim es

       Dualcitizenship to ourhom eland

       Tax Exem ption

       M edicaland Debtcancellation

       24 month extensionforcurrentassistance programs(ASSISTANCE
       PROGRAM TRANSITION PERIOD)
       $100,000,000,000,000Trillion U.S.Currency Dollarsbacked bygold inthe
       form ofaBank/Treasury

                                           1
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       15,000,000 -30,000,000 + Acres ofland per50 States,7 U.S.Territory
       Islands

       Independence as a Nation




                                         2
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      ExibitXII.

                                  H.R.40 BILL


          The H.R.40 Bill,is a Billto study and Develop Reparation Proposals for
      African -Am ericans.The H.R.40 Billoriginally know n asthe H.R.3745 Bill,
      w as introduced to Congress by form erU.S.Representative John Conyers in
      January of1989 underthe Ronald Reagan and George H.W .Bush
      adm inistration.Therefore thisbillhas been sitting since 1989 w ithoutany
      furtherrecognition.

          According to the United StatesGovernm entConstitution,ifa billsits
      unsigned for m ore than the 10-day period,it becom es Iaw regardlessof
      the President'ssignature ornot.

      The sum m ary attached w ascom pleted by Shaquanna M arie Gary.




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      H.R.40 Bill-Com m ission to Study and Develop
      Reparation Proposals forAfrican-A m ericans
      The sum m ary below w asw ritten by the CongressionalResearch Service,
      w hich is a nonpartisan division ofthe Library ofCongress,and w as
      published on Jan,3 2017.

      Com m ission to Study and Develop Reparations ProposalsforAfrican-
      Am ericansAct.

      Thisbillestablishesthe Com m ission to Study and Develop Reparation
      ProposalsforAfrican-Am ericansto exam ine slavery and discrim ination in
      the coloniesand the United Statesfrom 1619 to presentand recom m end
      appropriate rem edies.
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           African Am ericans bv the N um bers

      From the U.S.Censu: Bureau


      Find inform ation on African-Am erican populations,veterans,business-
      ow ners,incom es,hom e-ow ners,and m ore,in honorof Black History
      M onth.

      Source:U.S.Census Bureau




        Black History Tim eline

        Top 50 Collegesfor Black Students

        Historically Black Colleges and Universities

        M ilestones in African-Am erican Education

        Poverty and Race

        M edian Incom e ofHouseholds

        African-Am erican Population by Region

        Citiesw ith Highest Percentage ofAfrican Am ericans

        lnterracialM arried Couples




      Population
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      2169.:!rtlillitlrl



      The num berofblacks,eitheralone orin com bination with one orm ore
      otherraces,on July 1,2014,up 1.3 percentfrom July 1,2013.

      :781.!;rllillitln



      The projected black,eitheralone orin com bination,population ofthe
      UnitedStates(includingthoseofmorethanonerace)forJuly 1,2060.On
      thatdate,accordingto the projection,blackswould constitute 17.9 percent
      ofthe nation'stotalpopulation.

      3.8 m illion



      The black population in New York,w hich Ied aI1statesas ofJuly 1,2014.
      TexashadtheIargestnumericincreasesince2013(88,000).The Districtof
      Columbia hadthe highestpercentageofblacks(50.6percent),followed by
      Mississippi(38.2percent).
      1.3 rtlillitln



      CookCounty,111.(Chicago)hadtheIargestblackpopulationofanycounty in
      2014 (1.3 million),and Harris,Texas(Houston)hadtheIargestnumeric
      increasesince 2014 (21,000).Holmes,Miss.,wasthecountywiththe
      highestpercentageofblacksinthe nation (82.5percent).
      Businesses

      2.6 m illion


                                          2
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      The num berofblack-ow ned firm s nationally in 2012,up from 1.9 m illion or
      34.5 percentfrom 2007.

      649,896



      ThenumberofAfrican-American/black-owned firmsin''otherservicesi''
      whichincludesrepairandmaintenance (automotive,consumerelectronics,
      etc.)and personal/laundryservices(hair/nailsalons,drycleaning,petcare).
      This isthe Iargestsectorofblack-ow ned businesses.The ''otherservices''
      sectorisfollowed byhealth careandsocialassistance(492,983black-
      owned firms);administrative,support,wastemanagementand
      remediation(294,977)9professional,scientificandtechnicalsupport
      (206,942);andtransportationand warehousing(184,777).
      Serving OurNation

      2.2 m illion



      Num berofblack m ilitary veterans in the United States in 2014.

      Education

      84.4%



      The percentage ofblacks 25 and overw ith a high schooldiplom a orhigher
      in 2014.

      19.7%




                                           3
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      The percentage ofblacks25 and overwho had a bachelor'sdegree or
      higherin 2014.

      1.8 m illion



      Am ong blacks 25 and over,the num berw ho had an advanced degree in
      2014.

      ;!.6)rllillitlrl



      Num berof blacks enrolled in undergraduate college in 2014 com pared w ith
      2.8 m illion in 2009,a 5.3 percentincrease.

      Voting

      17.8 m illion



      The num berofblacksw ho voted in the 2012 presidentialelection.In
      com parison to the 2008 election,about 1.7 m illion additionalblack voters
      reported going to the polls in 2012.

      66.2%



      Percentof blacksw ho voted in the 2012 presidentialelection,higherthan
      the 64.1 percent ofnon-Hispanic w hites w ho did so.This m arks the first
      tim e thatblacks have voted ata higherrate than w hitessince the Census
      Bureau started publishing statistics on voting by the eligible citizen
      population in 1996.

      Incom e,Povertv and HeaIth Insurance

                                           4
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      $35,398


      The annualm edian incom e ofblack households in 2014,com pared w ith the
      nation at$53,657.
      26.2



      Poverty rate in 2014 forblacks,w hile nationally itwas14.8 percent.

      88.2%



      Percentage ofblacksthatw ere covered by health insurance during aIIor
      partof2014.Nationally,89.6 percentofaIIraces w ere covered by health
      insurance.

      Fam ilies and Children

      61.3%



     Am ong householdsw ith a black householder,the percentage that
     contained a fam ily in 2014.There w ere 9.9 m illion black fam ily households.

      50.0%



     Am ong fam ilies w ith black householders,the percentage thatw ere m arried
     couples in 2014.

      1.2 rttillitlrl
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      Num berofblack grandparentsw ho Iived w ith theirow n grandchildren
      youngerthan 18 in 2014.Ofthis num ber,44.0 percentw ere also
      responsible fortheircare.



      28.6%



      The percentage ofcivilian em ployed blacks 16 and overw ho w orked in
      m anagem ent,business,science and artsoccupations,w hile 36.9 percent of
      the totalcivilian em ployed population w orked in these occupations.




                                         6
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                SOCIAL INDICATO RS REPO RT FO R AFRICA N AM ERICANS

     AfricanAmericansrank44th inGDPwith anannualGDPof$ 1.8trillion
      m aking usthe 15th w ealthiest Nation in the w orld outof196 countries.

      Culture,education,hum an rights,peace security,environm ents,econom ic,
      socialdevelopm ent,health,population,socialindicatorsstatistics sum m ary
      report.

      Region -United StatesofAm erica

      SurfaceAre-N/A
      Population -47 M illion

      PopDensity-N/A
     Capital-N/A
      CapitalCity-N/A
      Currency -U.S.Dollar

      United NationsM embership Date-N/A
     Trade Profile-N/A
      Environment-N/A
      SocialIndicators-N/A
      EconomicIndicators-N/A
      GDP-$ 1.8Trillion
      PPP- $836Billionperyear
                        1


      Services-Agricultural,Com m ercial,Product M anufacturing,lndustrial,
      lm portand Export.

      BalanceofPayments-$0.00
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      Harvard Law School     $44 Billion            tk81ilillitlrl
      Princeton              $30 Billion            tk3ilillitlrl
      Yale                   $25 Billion            $ 2.5 Billion
      Penn                   $ 10 Billion           tk1Esillitlrl
      Rutgers                $ N/A                  $ N/A
      Lorillard              tk(5Elillitlrl         tk1ilillitlrl
      UniversityofDelaware $N/A                     $N/A
      DartM outh             $N/A                   $N/A
      New York Life          $570 Billion           $57 Billion
      USA Today              $ N/A                  $N/A
      Casw ellM assey        $N/A                   $N/A
      Tabacco                $35 Billion            $ 10 Billion
      Cotton M ills          $N/A                   $200 Bilion
      Sugar                  $ N/A                  $ 100 Billion
      RailW aY               $ N/A                  $200 Billion
      AIG                    $65Billion             tkd$.ë;Elillitlrl
      Aetna                  $55Billion             tk!;Elillitlrl
      Fleet Boston           $197Billion            $70 Billion




                                              2
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      Com panv's that benefit from prison Iabor
      CO M PANY'S                  N ET W O RTH          A M O U NT DUE

      Am erican Airlines           $ 25 Billion          $ 2.5 Billion
      AT&T                         $ 200 Billion         $30 Billion
      M c Donalds                  $ 1O4 Billion         $ 10 Billion
      Victoria Secret              $ 12 Billion          $ 1.2 Billion
      BP(British Petroleum )       $ 38 Billion          jy6)Elillitnr,
      Bank ofAm erica              $ 2.2Trillion         $ 200 Billion
      Bayer                        $ N/A                 $ N/A
      Cargrill                     $ 114 Billion         $ 10 Billion
      Chrysler                     jy6)Elilliclr)        $ 1.8 Billion
      Costco                       $80 Billion           $ 16 Billion
      John Deere                   $ 29 Billion          jh(5Elillitlrh
      Exxon M obil                 $ 237 Billion         $ 80 Billion
      Glaxo Sm ith Kline           $ 107 Billion         $ 10 Billion
      Johnson & Johnson            $ 360 Billion         $ 36 Billion
      K-M art                      $ 25 Billion          $ 2.5 Billion
      Koch Industries              $ 48.5 Billion        $ 4.8 Billion
      M erck                       $ 201 Billion         $ 20 Billion
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      M icrosoft                   $ 739 Billion         $ 70 Billion
      M otorola                    tk(5Elillitnr)        $ 600 M illion
      Nintendo                     $ 140 Billion         $ 14 Billion
      Pfizer                       $ 210 Billion         $ 20 Billion
      Procterand Gam ble           $ 200 Billion         $ 20 Billion
      Con Agra Foods               tk:?Elillitlr)        $ 700 M illion
      Shell                        $ 70 Billion          tk:?Elilliclr)
      Star Bucks                   $ 3.3 Billion         $ 3.3 M illion
      UPS                          $ 53 Billion          j)ë;.E$Elillitlr!
      Verizon                      $ 364 Billion         $ 36 Billion
      W al-M art                   $ 386 Billion         $ 38 Billion
      W endy's                     ïkzlElillitlrt        $400 M illion
      W hole Foods                 $ 13.7 Billion        $ 1.3 Billion
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      G overning A uthorities thatow e reparations forslaverv
      Governm ent                  Netw orth              Am ountDue

      United StatesofAm erica     $269.6Trillion           $100Trillion
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      ProposalforReparations


      Then follow ing is a proposalto the United States Governm entfor
      ReparationsforAfrican Am ericansofSlave Descendants.



      ProposalforReparations
      Release ofalIAfrican Am ericans incarcerated fornon-violentdrug crim es

      Dualcitizenship to ourhom eland

      Tax Exem ption

      M edicaland Debtcancellation

      24monthextensionforcurrentassistance programs(ASSISTANCE
      PROGRAM TRANSITION PERIOD)
      $100,000,000,000,000Trillion U.S.Currency Dollarsbacked bygoldasa
      FinancialInstituion/Bank/Treasury
      15,000,000 -30,000,000 + AcresofIand per50 States ,7 U.S.Territory
      Islands

      lndependence as a Nation
